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                    Transcript of the Testimony of
                 Section 341 Meeting of Creditors


                                        Date:
                                  May 29, 2020



                                       Case:
      ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE




                                                                        EXHIBIT 5
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·1· · · · · · · UNITED STATES BANKRUPTCY COURT
·2· · · · · · · EASTERN DISTRICT OF LOUISIANA
·3
·4· ·In Re:
·5· ·THE ROMAN CATHOLIC CHURCH OF *· ·Case No. 20-10846
·6· ·THE ARCHDIOCESE OF NEW· · · ·*· ·Section "A"
·7· ·ORLEANS, debtor· · · · · · · *· ·Chapter 11
·8· ·****************************************************
·9
10
11· ·THE ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE OF NEW
12· · · · ORLEANS, SECTION 341 MEETING OF CREDITORS
13
14
15
16· · · · · · · PRESIDED BY: AMANDA B. GEORGE
17
18
19
20
21
22
23· ·TRANSCRIBED BY:
24· ·LESLEY H. CROCHET, CCR
25

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·1· ·AMANDA GEORGE:
·2· · · · Good morning, everybody.· My name is Amanda
·3· ·George.· I am a trial attorney in the office of the
·4· ·United States Trustee, which is a component of the
·5· ·US Department of Justice.
·6· · · · This is the Section 341 Meeting of Creditors
·7· ·held today, May 29, 2020, at 10:00 a.m.· We are here
·8· ·on the Chapter 11 proceeding of the Roman Catholic
·9· ·Church of the Archdiocese of New Orleans, Case No.
10· ·20-10846.· It was filed in the Bankruptcy Court for
11· ·the Eastern District of Louisiana.· This case is a
12· ·voluntary Chapter 11 proceeding that was filed on
13· ·May 1, 2020.· The first thing I would like to do is
14· ·take a count of who is here as a representative or
15· ·representatives of the debtor that will be
16· ·testifying today.· And if we could, go one by one,
17· ·stating your full name and your association with the
18· ·debtor.
19· ·MARK MINTZ:
20· · · · Ms. George, my name is Mark Mintz.· I am an
21· ·attorney at Jones Walker.· I represent the
22· ·Archdiocese of New Orleans in this bankruptcy.· What
23· ·I would like to do is introduce the representatives
24· ·who will be testifying for you on video, also point
25· ·to who they are, and hopefully you can see and we

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·1· ·can do, how that works.
·2· · · · Sitting closest to the camera is Father Patrick
·3· ·Carr, who is the vicar of -- I'm going to get this
·4· ·wrong, I'm sure -- vicar of finance and the third
·5· ·vice president for the corporation.· Next to him is
·6· ·Ms. Kathleen Zuniga, that is Z-u-n-i-g-a.· She is
·7· ·with CRI as proposed CPA and financial advisor for
·8· ·the debtors.· Or debtor.· Excuse me.
·9· · · · And next to her is Jeff Entwisle,
10· ·E-n-t-w-i-s-l-e.· Jeff is the CFO for the
11· ·Corporation.
12· ·AMANDA GEORGE:
13· · · · And who, out of the three individuals that
14· ·you've just introduced to me, who will be testifying
15· ·primarily on behalf of the debtor?
16· ·MARK MINTZ:
17· · · · Primarily, it will be Father Patrick Carr, who
18· ·is again our declarant for the first day hearings
19· ·and is the one who signed the schedules.
20· ·AMANDA GEORGE:
21· · · · But do you anticipate all three individuals
22· ·will be providing testimony?
23· ·MARK MINTZ:
24· · · · Yes.
25· ·AMANDA GEORGE:

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·1· · · · All right.· So what I would like to do is,
·2· ·because all three of you will be examined under oath
·3· ·regarding in the bankruptcy case, I would like to
·4· ·swear each of you in.· And I will start with Father
·5· ·Carr.· If you could, raise your right hand.
·6· · · · Do you solemnly swear or affirm to tell the
·7· ·truth, the whole truth, and nothing but the truth?
·8· ·FATHER PATRICK CARR:
·9· · · · I do.
10· ·AMANDA GEORGE:
11· · · · Thank you.· And then, Ms. Zuniga, am I saying
12· ·that correctly?
13· ·KATHLEEN ZUNIGA:
14· · · · Zuniga, yes.
15· ·AMANDA GEORGE:
16· · · · All right.· Ms. Zuniga, do you solemnly swear
17· ·or affirm to tell the truth, the whole truth, and
18· ·nothing but the truth?
19· ·KATHLEEN ZUNIGA:
20· · · · I do.
21· ·AMANDA GEORGE:· Thank you, Ms. Zuniga.
22· · · · And then, Mr. Entwisle, if you could, raise
23· ·your right hand.
24· · · · Do you solemnly swear or affirm that the
25· ·testimony you will provide will be the truth, the

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·1· ·whole truth, and nothing but the truth?
·2· ·JEFFREY ENTWISLE:
·3· · · · I do.
·4· ·AMANDA GEORGE:
·5· · · · Thank you.· All right.· Our proceeding is being
·6· ·recorded, and telephonically at that, so I would ask
·7· ·that you all answer questions verbally, loudly, and
·8· ·clearly so that we get a good recording of our
·9· ·meeting today.· With regard to the recording, the US
10· ·Trustee's recording is the official transcript of
11· ·this meeting.· Parties to this call should not be
12· ·broadcasting this proceeding at this time.· If
13· ·anyone would like a copy of this audio recording,
14· ·you may contact me personally and I will make it
15· ·available to you as our physical offices do remain
16· ·closed.· So if you would like a copy of the audio
17· ·recording, you can call me, (504)589-4092, or e-mail
18· ·me at Amanda.B.George@USDOJ.gov.· That's Amanda,
19· ·A-m-a-n-d-a, dot B as in bird, dot G-e-o-r-g-e at
20· ·USDOJ dot gov.
21· · · · So at this juncture, I would like to make some
22· ·opening remarks.· I anticipate we have a number of
23· ·parties on this call who may have received a notice
24· ·in the mail to call in today but may not have
25· ·participated in a meeting of creditors.· And for

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·1· ·that reason, I am going to take a few minutes and
·2· ·explain both the purpose and the scope of today's
·3· ·meeting so that this exchange is beneficial to all
·4· ·parties and interests.
·5· · · · Generally speaking, this meeting of creditors
·6· ·is the statutory forum under the bankruptcy code
·7· ·where the debtor -- in this case, the Archdiocese --
·8· ·must appear and answer questions under oath about
·9· ·the bankruptcy case.· The Court does not preside at
10· ·this meeting.· This meeting and all creditor
11· ·meetings are conducted by the office of the US
12· ·Trustee, which is also responsible for certain
13· ·administrative aspects of the case.
14· · · · With regard to who may ask questions at this
15· ·meeting, the parties who may ask questions are
16· ·myself as representative of the US Trustee,
17· ·creditors of the Archdiocese, and any indentured
18· ·trustees.· So what this means is, any party on this
19· ·call that is not a creditor or an indenture trustee
20· ·may not ask questions today.· And I will discuss how
21· ·we will handle questions in a moment.· But I first
22· ·want to talk about the scope of today's examination.
23· · · · While creditors will be allowed to ask the
24· ·debtor questions, the questions may relate only to
25· ·the administration of the bankruptcy estate, the

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·1· ·operation of the debtor's business, the plan for
·2· ·exiting bankruptcy, and the schedules and statement
·3· ·of financial affairs that were filed into the
·4· ·record.· This is not the venue to ask questions
·5· ·about your particular claim or the dischargeability
·6· ·of a particular debt.· This is not a deposition on a
·7· ·claim or a substitute for discovery.· So again,
·8· ·questions should be focused on the debtor's current
·9· ·operations and its plan for reorganization.
10· · · · To the extent anyone on the call who is a
11· ·creditor or indenture trustee that has questions
12· ·about their claim or objections to any action of the
13· ·debtor, that should be dealt with via motion
14· ·practice before Judge Grabill.· The Court holding
15· ·motion days in this case every third Thursday of the
16· ·month, and their next motion day is set for June 18,
17· ·2020.
18· · · · So with this said, if you are a creditor, an
19· ·indenture trustee, or an attorney representing
20· ·either and you wish to ask questions, in order to
21· ·deal with this telephonic meeting and the greater
22· ·elevated interest we have in this case, we are
23· ·asking that, if you would like to ask questions,
24· ·please e-mail your name, who you represent to us and
25· ·we will keep a list going during this meeting, and I

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·1· ·will give the e-mail details in a moment.· But if
·2· ·you are an attorney for a survivor, you do not need
·3· ·to disclose the name of your client in the e-mail.
·4· ·And if you are a survivor/tort claimant without an
·5· ·attorney, we want to keep your information
·6· ·anonymous.· So if you fall into that category,
·7· ·please hold tight and I will call on that group to
·8· ·ask questions separately.· If we have multiple
·9· ·attorneys on the call representing a creditor or
10· ·group of creditors, please only e-mail the name of
11· ·the attorney that will be asking questions.
12· · · · So that said, if you would like to ask
13· ·questions of the debtor, we are asking you to e-mail
14· ·Mary.Langston@USDOJ.gov during this meeting if you
15· ·are able to.· That's Mary, M-a-r-y, dot Langston,
16· ·L-a-n-g-s-t-o-n, at US DOJ dot gov.· Mary is going
17· ·to keep a list and, when we get to the creditor
18· ·questioning, I will call on you in the order in
19· ·which we receive your names, and we will have the
20· ·committee go last.· Again, that's
21· ·Mary.Langston@USDOJ.gov to get on the list, if you
22· ·are able.· If you are unable to e-mail us, I will
23· ·call on that group separately.
24· · · · Now, this is how we will proceed going forward.
25· ·First, I'm going to allow the debtor to give some

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·1· ·opening remarks as the debtor would like to address
·2· ·us all with regard to where this case is headed and
·3· ·what the plan is for paying creditors and exiting
·4· ·bankruptcy.· Second, I will ask my questions as
·5· ·representative for the acting United States Trustee.
·6· ·And after that, I will open up the floor to
·7· ·creditors that have questions.· And again, we will
·8· ·work from the list.· I will call your names as they
·9· ·are received.· And if you are unable to e-mail and
10· ·get on the list, I will call on that group after we
11· ·call on the names that are e-mailed.· Questions will
12· ·be limited to two to three questions for the debtor,
13· ·so just keep that in mind.
14· · · · All right.· So at this point, I would like to
15· ·turn over the floor to debtor's counsel to present
16· ·the debtor's opening remarks.
17· ·MARK MINTZ:
18· · · · Thank you, Ms. George.· Again, for the record,
19· ·my name is Mark Mintz.· I am an attorney at Jones
20· ·Walker.· Jones Walker is proud to be representing
21· ·the Archdiocese of New Orleans through this process,
22· ·and we do have a few opening remarks to state and
23· ·then, of course we will get into the questions.
24· · · · The Archdiocese of New Orleans has filed this
25· ·Chapter 11 with the ultimate goal of confirming a

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·1· ·100 percent plan.· What that means is that the
·2· ·Archdiocese intends to pay creditors 100 percent of
·3· ·their allowed claims.· We intend to work with the
·4· ·committee and their constituencies to develop a fair
·5· ·method of determining the allowed claim amounts and
·6· ·development and implementation of a plan to
·7· ·effectuate those payments.· We recognize that
·8· ·today's meeting is the first step on the journey
·9· ·towards that ultimate confirmation day and, like all
10· ·journeys, there are sure to be bumps in the road.
11· ·But we hope to do that with cooperation from the
12· ·creditors in this room -- well, telephonically, I
13· ·should say -- and we will make it to the end of this
14· ·process.
15· · · · We hope to work with committee counsel to
16· ·develop a method of notifying potential survivor
17· ·claimant in this case through various means.· We
18· ·want to provide the broadest possible notice in the
19· ·areas where that is appropriate, whether that be
20· ·newspapers, internet, et cetera.· This leads us to
21· ·the setting of a bar date.· Ordinarily in this
22· ·district, unless the Court orders otherwise, the bar
23· ·date -- that is, the last date that you can file a
24· ·claim --
25· · · · (Inaudible audio/background conversation.)

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·1· ·MARK MINTZ:
·2· · · · Can we please mute, if you are ...
·3· ·UNKNOWN SPEAKER:
·4· · · · I cannot hear you.
·5· ·MARK MINTZ:
·6· · · · This leads to the setting of a bar date.
·7· ·Ordinarily, in this district -- which is the last
·8· ·date to file claims.· Ordinarily, in this district,
·9· ·unless the Court orders otherwise, the bar date is
10· ·90 days from today.· That would be August 27.· We
11· ·intend to work with the committee within the
12· ·confines of the court rules to set an appropriate
13· ·bar date and provide appropriate notice of it.
14· · · · We chose this Chapter 11 as a means to address
15· ·our claims so that we can be certain that all claims
16· ·are brought forward and that all who wish to
17· ·participate in this process are able to make their
18· ·claims and that the claims can be fairly resolved
19· ·and compensated through the bankruptcy process.· We
20· ·anticipate, as has occurred in other diocesan's
21· ·cases, that we will seek, soon after the bar date, a
22· ·mediation process with the committee and the
23· ·insurance companies to try to come to an overall
24· ·resolution of the overall outcome in this case.
25· · · · We are committed to try and ultimately do this

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·1· ·in a consensual manner in an expeditious manner as
·2· ·possible.· We welcome this opportunity to discuss
·3· ·with our creditors the nature of our schedules of
·4· ·assets and liabilities as well as our statement of
·5· ·financial affairs, our financial condition, and our
·6· ·eventual plan, and I echo what Ms. George said about
·7· ·the scope of today's proceedings.· I do want to take
·8· ·a few minutes to discuss the schedules themselves in
·9· ·a way that might help clarify them.
10· · · · For those of you that went through them, you
11· ·know the schedules are extensive and we used a lot
12· ·of resources to complete them when we did.· In
13· ·preparing for this meeting, we think that, upon
14· ·reflection, we may have to amend the schedules to
15· ·fix some classifications to be sure this is a
16· ·situation on over disclosure rather than under
17· ·disclosure.· For instance, we have to take another
18· ·look at some of the entities that were identified as
19· ·affiliates, some of which may not be legal
20· ·affiliates as that term is defined in the bankruptcy
21· ·code.· Also internally -- and I think this is going
22· ·to be an important point as we go through today --
23· ·internally, we treat on our books some of the
24· ·schools that are owned by the Archdiocese as third
25· ·parties.· They are in fact part of the Archdiocese's

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·1· ·assets.· As an example, Archbishop Hannon High
·2· ·School is a part of the Archdiocese and not a
·3· ·separate legal entity unlike most of the parishes
·4· ·which are separately incorporated.· The high schools
·5· ·that we will talk about later are more akin to a
·6· ·d/b/a than a legal affiliate.· So transactions shown
·7· ·on the schedules with the high schools reflect the
·8· ·Archdiocese's internal bookkeeping entries rather
·9· ·than transactions with a third party.· We have tried
10· ·to address this in our in-notes and introductions
11· ·but think that, based on some questions that we have
12· ·received prior to this meeting, think that we may
13· ·have created some confusion that merits amendments
14· ·to the schedules which will occur shortly after this
15· ·meeting.
16· · · · We also have clarifications to make with
17· ·regards to how the captive insurance program works,
18· ·and we can discuss that further about this meeting,
19· ·and it may require some additional amendments as
20· ·well.· But again, we are ready to proceed with the
21· ·questioning from the US Trustee's office at this
22· ·point.
23· ·AMANDA GEORGE:
24· · · · All right.· Thank you, Mr. Mintz.· As Mr. Mintz
25· ·is not one of our parties under oath -- and I will

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·1· ·just direct this to Father Carr -- Father Carr, do
·2· ·you adopt those statements made by Mr. Mintz as true
·3· ·and correct?
·4· ·FATHER PATRICK CARR:
·5· · · · Yes, I do.
·6· ·AMANDA GEORGE:
·7· · · · Thank you.
·8· ·AMANDA GEORGE:
·9· · · · And Father Carr, you are the individual who
10· ·signed the petition schedules and other documents in
11· ·this case; is that correct?
12· ·FATHER PATRICK CARR:
13· · · · Yes.
14· ·AMANDA GEORGE:
15· · · · And could you state again for me your positions
16· ·with the Archdiocese?
17· ·FATHER PATRICK CARR:
18· · · · I am the vicar of finance.
19· ·AMANDA GEORGE:
20· · · · And do you have authority to act on behalf of
21· ·the Archdiocese?
22· ·FATHER PATRICK CARR:
23· · · · Yes, I do.
24· ·AMANDA GEORGE:
25· · · · Did you have authority to sign the petition

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·1· ·schedules and other documents filed in this
·2· ·proceeding?
·3· ·FATHER PATRICK CARR:
·4· · · · Yes, I do.
·5· ·AMANDA GEORGE:
·6· · · · Are you familiar with the information contained
·7· ·in those documents?
·8· ·FATHER PATRICK CARR:
·9· · · · Yes, I am.
10· ·AMANDA GEORGE:
11· · · · And did you review the documents before signing
12· ·them?· (No audible response.)· Was that a yes?                             I
13· ·didn't hear the audio.
14· ·FATHER PATRICK CARR:
15· · · · Yes.· Yes, I did.
16· ·AMANDA GEORGE:
17· · · · Thank you.· And taking into consideration the
18· ·amendments that Mr. Mintz just mentioned, to the
19· ·best of your knowledge, if the information contained
20· ·in those documents true and correct?
21· · · · Excuse me, I believe I hear somebody on the
22· ·line.· Could you please mute your phone?· Thank you.
23· · · · Father Carr, again, taking into consideration
24· ·the amendments that Mr. Mintz discussed, outside of
25· ·those items, to the best of your knowledge, is the

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·1· ·remaining information true and correct?
·2· ·FATHER PATRICK CARR:
·3· · · · Yes.· Excuse me.· Yes.
·4· ·AMANDA GEORGE:
·5· · · · Thank you.· And is the address on the petition
·6· ·still the current mailing address?· And that is the
·7· ·Walmsley Avenue address.
·8· ·FATHER PATRICK CARR:
·9· · · · Yes.
10· ·AMANDA GEORGE:
11· · · · Thank you.· All right.· So I will shift to some
12· ·administrative matters I would like to go over.· For
13· ·the record, and application to employ Jones Walker
14· ·law firm has been filed.· That is set for hearing on
15· ·June 18.· The debtors also filed an application to
16· ·employ Carr, Riggs, and Ingram as financial
17· ·advisors.· Will the financial advisor be preparing
18· ·the monthly operating reports?
19· ·FATHER PATRICK CARR:
20· · · · Yes.
21· ·AMANDA GEORGE:
22· · · · All right.· And just as a reminder, your first
23· ·monthly operating report for the Archdiocese for
24· ·May, 2020 is due on June 25.
25· · · · All right.· So shifting over to insurance, I

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·1· ·understand the debtor's insurance program includes a
·2· ·self-insurance program and some third-party
·3· ·coverage.· We received -- well, we requested
·4· ·certificates for the third-party coverage, and we
·5· ·received a certificate from the Catholic Mutual
·6· ·Relief Society.· So that was one certificate we
·7· ·received.· Are there any others or is that it?
·8· ·MARK MINTZ:
·9· · · · Amanda, this is Mark.· We have requested the
10· ·others.· It's quite possible that I have received a
11· ·couple and haven't forwarded them to you yet.· But
12· ·we are in the process of gathering them, and we will
13· ·also forward the rest to you.
14· ·AMANDA GEORGE:
15· · · · Okay.· And it just so you all know, at the end
16· ·of this meeting, I will have a list of the documents
17· ·and items that we still need.· It is going to be
18· ·filed into the record, so I will just keep track.
19· ·So that will be something that we still need, are
20· ·those remaining third-party certificates of
21· ·coverage.
22· · · · All right.· Speaking of the self-insurance
23· ·program and the third-party coverage, are those
24· ·coverages still in force today?
25· ·FATHER PATRICK CARR:

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·1· · · · Yes, they are.
·2· ·AMANDA GEORGE:
·3· · · · And so, is it your understanding that all
·4· ·property of the estate is insured?
·5· ·FATHER PATRICK CARR:
·6· · · · Yes.
·7· ·AMANDA GEORGE:
·8· · · · And does that coverage include the artifacts,
·9· ·art, and collectibles that were listed in the
10· ·schedules?
11· ·FATHER PATRICK CARR:
12· · · · Generally, yes.
13· ·AMANDA GEORGE:
14· · · · One other item that we had requested was a list
15· ·of all of the flood insurance policies of the
16· ·debtor.· Was that provided?· I didn't see it.
17· ·MARK MINTZ:
18· · · · It's very possible that it was one of the ones
19· ·I forgot to forward to you, Amanda.· So I will do
20· ·so.
21· ·AMANDA GEORGE:
22· · · · All right.· Thank you.· And I will add that to
23· ·the list.
24· · · · Shifting over to the bank accounts and
25· ·debtor-in-possession accounts, it looks, from the

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·1· ·schedules, that the Archdiocese has both school
·2· ·accounts and other accounts that total 87 accounts.
·3· ·That's the number of accounts that I was able to
·4· ·tick off on the schedules.· It looked to me that 84
·5· ·of the 87 accounts are already hosted at an
·6· ·authorized depository.· Have those accounts been
·7· ·reclassified as debtor-in-possession accounts?
·8· ·KATHLEEN ZUNIGA:
·9· · · · Yes, they have.
10· ·AMANDA GEORGE:
11· · · · All right.· And who was that speaking?
12· ·KATHLEEN ZUNIGA:
13· · · · Kathleen Zuniga.
14· ·AMANDA GEORGE:
15· · · · Thank you.· And when they were reclassified,
16· ·was a new bank authorization signature form required
17· ·or requested?
18· ·MARK MINTZ:
19· · · · No.
20· ·AMANDA GEORGE:
21· · · · Okay.· So they didn't issue a new form?
22· ·MARK MINTZ:
23· · · · Not that I'm aware of.
24· ·AMANDA GEORGE:
25· · · · So what I will need, because they didn't issue

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·1· ·a new form, can you provide us a chart with the
·2· ·account and who has signature authority on the
·3· ·account?
·4· ·MARK MINTZ:
·5· · · · Yes.
·6· ·AMANDA GEORGE:
·7· · · · All right.· The only three accounts that I took
·8· ·notice of on the schedule that are not already at an
·9· ·authorized depository -- and I will go through them
10· ·one by one.
11· · · · First was an Archdiocese account at BMO Harris
12· ·Bank, and it was classified as a corporate
13· ·checking/insurance account.· What is the status of
14· ·that account?
15· ·KATHLEEN ZUNIGA:
16· · · · It is being moved to the Whitney Bank.
17· ·AMANDA GEORGE:
18· · · · All right.· Thank you, Ms. Zuniga.· So once it
19· ·is moved, we will just need updated information with
20· ·the new account number, if they issue you a new bank
21· ·authorized signature form, and a voided check from
22· ·the account.
23· · · · All right.· The second account that I have is
24· ·an Academy of Our Lady account at Fifth District
25· ·Savings Bank.· What is the status of that account?

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·1· ·MARK MINTZ:
·2· · · · So the short answer, Amanda -- this is Mark --
·3· ·is, under our cash management motion and the
·4· ·negotiations with the Court, it is under $250,000
·5· ·and therefore under the FDIC limit.· We had hoped to
·6· ·not move it, based on that order and the
·7· ·negotiations with your office.
·8· ·AMANDA GEORGE:
·9· · · · Thank you, Mark.· That's fine.· I only brought
10· ·it up because it's getting close to the FDIC limit.
11· ·Do you expect that that account will exceed the FDIC
12· ·insurance limit?
13· ·MARK MINTZ:
14· · · · We do not.· And if it does, we will revisit
15· ·what needs to be done.
16· ·AMANDA GEORGE:
17· · · · And I will just have Ms. Zuniga confirm that,
18· ·as she is somebody I have under oath.
19· ·KATHLEEN ZUNIGA:
20· · · · That is correct.· We will monitor it.
21· ·AMANDA GEORGE:
22· · · · Thank you.· And in the last account was a St.
23· ·Scholastica account, it looked like a Raymond James
24· ·investment account, with a balance under $5,000.· So
25· ·is that another account that is just being left

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·1· ·alone?
·2· ·KATHLEEN ZUNIGA:
·3· · · · Yes, it is.
·4· ·AMANDA GEORGE:
·5· · · · Great.· Has the debtor opened any new bank
·6· ·accounts since the filing of the bankruptcy?
·7· ·KATHLEEN ZUNIGA:
·8· · · · Not -- no.
·9· ·AMANDA GEORGE:
10· · · · All right.· For the record, the debtor has
11· ·provided our office with a copy of the 2018 federal
12· ·and state tax returns for the debtor.· Are the
13· ·copies of those returns provided to our office true
14· ·and correct copies of what was filed with the IRS
15· ·and the state of Louisiana?
16· ·KATHLEEN ZUNIGA:
17· · · · Yes.
18· ·AMANDA GEORGE:
19· · · · All right.· Now I want to shift and discuss the
20· ·insiders or officers of the --
21· ·MARK MINTZ:
22· · · · Ms. George, this is Mark.
23· ·AMANDA GEORGE:
24· · · · Yes.
25· ·MARK MINTZ:

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·1· · · · Can I ask just one, a second time, we are
·2· ·getting a lot of feedback at least.· Ask people
·3· ·again to mute their phones, please?
·4· ·AMANDA GEORGE:
·5· · · · Yes, of course.· Can everyone on the call
·6· ·except for the debtor's representatives and counsel
·7· ·please mute your phones so that we can have a good
·8· ·recording and continue this meeting?· We are still
·9· ·getting feedback.· Can everyone that is on the call
10· ·please mute your phones so that we can proceed with
11· ·our meeting?
12· · · · All right.· Thank you.· Moving forward, there
13· ·were five individuals that were designated on the
14· ·petition, the corporate resolution authorizing the
15· ·filing of the case, and I would just like to go one
16· ·by one through the individuals and discuss any
17· ·compensation that they are paid in the regular
18· ·course.
19· · · · And I will start with Archbishop Aymond, as he
20· ·was listed on the petition, or the attachment to the
21· ·petition, as well as the statement of financial
22· ·affairs as an officer of the debtor.· And I would
23· ·like to just identify payments that he receives in
24· ·the regular course from the Archdiocese.· The
25· ·statement of financial affairs noted that he

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·1· ·received a housekeeping payment of around $400 a
·2· ·month, payroll of $2175 a month, it looked like a
·3· ·monthly stipend of $600 a month.· Then there was a
·4· ·payment that the Archdiocese made to a Barclay
·5· ·credit card in various amounts on his behalf.· What
·6· ·is that credit card used for?
·7· ·FATHER PATRICK CARR:
·8· · · · That's -- business expense.
·9· ·AMANDA GEORGE:
10· · · · What type of business expense?
11· ·FATHER PATRICK CARR:
12· · · · Lunches and various other things that are
13· ·associated with his office.
14· ·AMANDA GEORGE:
15· · · · There's also a Cox cable payments, Entergy
16· ·payments.· Are there any other payments that the
17· ·Archdiocese makes on Archbishop Aymond's behalf in
18· ·the regular course?
19· ·FATHER PATRICK CARR:
20· · · · I'm not aware of any.
21· ·AMANDA GEORGE:
22· · · · And this is Father Carr that is testifying; is
23· ·that correct?
24· ·FATHER PATRICK CARR:
25· · · · That's correct.

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·1· ·AMANDA GEORGE:
·2· · · · And has he been paid in the regular course
·3· ·since the bankruptcy case was filed?
·4· ·FATHER PATRICK CARR:
·5· · · · Yes.
·6· ·AMANDA GEORGE:
·7· · · · All right.· And I will move on to the Father
·8· ·Cheri?· Am I saying that right?
·9· ·FATHER PATRICK CARR:
10· · · · Cheri.
11· ·AMANDA GEORGE:
12· · · · Cheri.· Thank you.
13· ·FATHER PATRICK CARR:
14· · · · Yes.
15· ·AMANDA GEORGE:
16· · · · And he is also listed in the statement of
17· ·financial affairs as an officer of the debtor.· Can
18· ·you describe for me his day-to-day role?
19· ·FATHER PATRICK CARR:
20· · · · Yes.· He is the -- he is a bishop that assists
21· ·the Archbishop in the day-to-day affairs of the
22· ·Archdiocese.
23· ·AMANDA GEORGE:
24· · · · All right.· And it looked like he is paid a
25· ·housekeeping expense of $400, payroll of $2,154.

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·1· ·The Archdiocese pays Cardmember Services credit card
·2· ·in his behalf in various amounts.· What is that card
·3· ·used for?
·4· ·FATHER PATRICK CARR:
·5· · · · His business expenses.
·6· ·AMANDA GEORGE:
·7· · · · So that's lunches and travel and other
·8· ·expenses, like the same as Archbishop Aymond.
·9· ·FATHER PATRICK CARR:
10· · · · Correct.
11· ·AMANDA GEORGE:
12· · · · All right.· There were also some expense
13· ·reimbursements, Cox cable payments, Entergy
14· ·payments.· Is Bishop Cheri paid anything else in the
15· ·ordinary course?
16· ·FATHER PATRICK CARR:
17· · · · Not that I'm aware of.
18· ·AMANDA GEORGE:
19· · · · Okay.· And has he been paid in the regular
20· ·course since the case was filed?
21· ·FATHER PATRICK CARR:
22· · · · Yes.
23· ·AMANDA GEORGE:· All right then.· I know I am going
24· ·to mess this up.· I will move to Father Akpoghiran?
25· ·Is that correct?

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·1· ·MARK MINTZ:
·2· · · · That's a good try.· I'm not sure we have an
·3· ·answer either.· Just, yeah.· We know who you are
·4· ·talking about.
·5· ·FATHER PATRICK CARR:
·6· · · · We know who you are talking about.
·7· ·AMANDA GEORGE:
·8· · · · All right.· And what is his day-to-day role in
·9· ·the Archdiocese?
10· ·FATHER PATRICK CARR:
11· · · · He is head of the tribunal.
12· ·AMANDA GEORGE:
13· · · · All right.· And it looks like, according to the
14· ·statement of financial affairs, he is paid a payroll
15· ·of $2,059 a month, a monthly expense of $600, some
16· ·expense reimbursements in various amounts, Cox
17· ·cable.· Is he paid anything else in the ordinary
18· ·course from the Archdiocese?
19· ·FATHER PATRICK CARR:
20· · · · Not that I'm aware of.
21· ·AMANDA GEORGE:
22· · · · Okay.· And has he been paid in the regular
23· ·course since the case was filed?
24· ·FATHER PATRICK CARR:
25· · · · Yes.

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·1· ·AMANDA GEORGE:
·2· · · · All right.· And I will move to Mr. Entwisle,
·3· ·who is designated as the CFO of the debtor.· He also
·4· ·signed the debtor's tax return.· So what is
·5· ·Mr. Entwisle's day-to-day role in the Archdiocese?
·6· ·FATHER PATRICK CARR:
·7· · · · I will defer to him.
·8· ·JEFFREY ENTWISLE:
·9· · · · I am -- this is Jeff Entwisle.· And chief
10· ·financial officer, so I oversee all of the financial
11· ·administrative insurance and things along those
12· ·lines.
13· ·AMANDA GEORGE:
14· · · · All right.· And it looks like, Mr. Entwisle,
15· ·you are paid $6,664.74 twice a month.· Is that
16· ·correct?
17· ·JEFFREY ENTWISLE:
18· · · · I believe that's correct.
19· ·AMANDA GEORGE:
20· · · · And then it looked like there were also some
21· ·mileage reimbursements in varying amounts.· Are you
22· ·paid anything else by the Archdiocese in the regular
23· ·course?
24· ·JEFFREY ENTWISLE:
25· · · · No.

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·1· ·AMANDA GEORGE:
·2· · · · And have you been paid in the regular course
·3· ·since the case was filed?
·4· ·JEFFREY ENTWISLE:
·5· · · · I have.
·6· ·AMANDA GEORGE:
·7· · · · All right.· And then I will shift to Father
·8· ·Carr.
·9· ·FATHER PATRICK CARR:
10· · · · Yes.
11· ·AMANDA GEORGE:
12· · · · Father Carr, there was no payroll listed in the
13· ·statement of financial affairs.· Are you paid a
14· ·regular payroll amount?
15· ·FATHER PATRICK CARR:
16· · · · Yes, but not from the administrative office.
17· ·AMANDA GEORGE:
18· · · · Okay.· So you are not paid by the Archdiocese?
19· ·FATHER PATRICK CARR:
20· · · · That's correct.· The administrative office.
21· ·That's correct.· I am not paid from the
22· ·administrative office.
23· ·AMANDA GEORGE:
24· · · · Okay.· So you are not paid payroll or the
25· ·monthly $600 stipend; is that right?

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·1· ·FATHER PATRICK CARR:
·2· · · · From -- that's correct.
·3· ·AMANDA GEORGE:
·4· · · · From the Archdiocese?
·5· ·FATHER PATRICK CARR:
·6· · · · That's correct.
·7· ·MARK MINTZ:
·8· · · · Amanda, to be clear, from the debtor entity.
·9· ·It's, Archdiocese from a corporate standpoint means
10· ·something, and it is the corporate entity that is
11· ·filed.· Archdiocese from an ecclesiastical or
12· ·religious standpoint means something slightly
13· ·different, and so I think that's a little bit of
14· ·what Father Carr is talking about.
15· ·AMANDA GEORGE:
16· · · · Okay.
17· ·MARK MINTZ:
18· · · · So the answer is, he is paid as a parish
19· ·priest.· He does perform services for the
20· ·Archdiocese.· But his payments come not through the
21· ·Archdiocese.· It's a legal entity.
22· ·AMANDA GEORGE:
23· · · · Okay.· So let me be clear:· I was using
24· ·Archdiocese interchangeably for the debtor.                           I
25· ·clearly shouldn't do that, because it's --

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·1· ·MARK MINTZ:
·2· · · · No, you absolutely should.· It's fine.· I'm
·3· ·actually educating Father Carr.
·4· ·AMANDA GEORGE:
·5· · · · All right.· So I will say:· Father Carr is not
·6· ·paid by the debtor; is that correct?· Is that a fair
·7· ·statement?
·8· ·FATHER PATRICK CARR:
·9· · · · That's a fair statement.
10· ·AMANDA GEORGE:
11· · · · Okay.· The tax return listed an individual,
12· ·Kathy Hebert, as COO on the tax return.· Is she an
13· ·officer of the debtor?
14· ·FATHER PATRICK CARR:
15· · · · No, she is not.
16· ·AMANDA GEORGE:
17· · · · All right.· So she is not being paid by the
18· ·debtor since the case has been filed; is that
19· ·correct?
20· ·FATHER PATRICK CARR:
21· · · · She is being paid.
22· ·AMANDA GEORGE:
23· · · · She is paid?· All right.· But not as --
24· ·MARK MINTZ:
25· · · · She's not an officer --

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·1· ·AMANDA GEORGE:
·2· · · · But not as an officer?
·3· ·FATHER PATRICK CARR:
·4· · · · She's not an officer.
·5· ·AMANDA GEORGE:
·6· · · · Okay.· What is her role?
·7· ·FATHER PATRICK CARR:
·8· · · · She is, again, the chief operating officer, and
·9· ·she oversees the accounting function of the
10· ·Archdiocese.
11· ·AMANDA GEORGE:
12· · · · Are there any other officers or board members
13· ·that are paid in the regular course by the
14· ·Archdiocese that we have not discussed, or by the
15· ·debtor that we have not discussed?
16· ·MARK MINTZ:
17· · · · There is one more, Amanda.
18· ·AMANDA GEORGE:
19· · · · Okay.
20· ·MARK MINTZ:
21· · · · It is the vicar general.· And his name is --
22· ·AMANDA GEORGE:
23· · · · Who?
24· ·MARK MINTZ:· Vicar general.
25· ·SANDRA ROBERTS:

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·1· · · · No, I'm Sandra Roberts.
·2· ·AMANDA GEORGE:
·3· · · · Ms. Roberts, can you please mute your phone?
·4· ·SANDRA ROBERTS:
·5· · · · Yeah, I'm at my phone.
·6· ·AMANDA GEORGE:
·7· · · · I need you to mute your phone so we can proceed
·8· ·with our examination.
·9· ·SANDRA ROBERTS:
10· · · · Okay.
11· ·AMANDA GEORGE:
12· · · · Thank you.· Okay.· The vicar general?
13· ·MARK MINTZ:
14· · · · Yes.
15· ·AMANDA GEORGE:
16· · · · All right.· And his name?
17· ·MARK MINTZ:
18· · · · Father Pat Williams.
19· ·AMANDA GEORGE:
20· · · · All right.· And he is paid in the regular
21· ·course by the debtor.
22· ·FATHER PATRICK CARR:
23· · · · No.
24· ·AMANDA GEORGE:
25· · · · Okay.

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·1· ·MARK MINTZ:
·2· · · · So Amanda, this is Mark.· Let's do this,
·3· ·because there is some confusion in this room a
·4· ·little bit about this.· The short answer is:· We are
·5· ·researching if he is considered a corporate officer
·6· ·or not.· We will update as is appropriate and get
·7· ·back to you and, if it needs an amendment, we will
·8· ·provide it.
·9· ·AMANDA GEORGE:
10· · · · Okay.· I will make a note.· And so the reason I
11· ·am going through this -- and this may be a question
12· ·for Mr. Mintz -- does the debtor plan to file a
13· ·motion for authorization to pay insiders?
14· ·MARK MINTZ:
15· · · · Yes.
16· ·AMANDA GEORGE:
17· · · · Yes.
18· ·MARK MINTZ:
19· · · · To the extent that -- to the extent we need to.
20· ·We are still looking at if we need to, based on the
21· ·rules.· But yes, I mean, we have no problem with
22· ·doing that.
23· ·AMANDA GEORGE:
24· · · · Okay.· Great.· According to the wage motion
25· ·that is docket entry seven, at the time of filing,

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·1· ·the debtor employed 602 full-time employees and 197
·2· ·part-time employees, and the motion stated that the
·3· ·payroll processors work Crescent Payroll and Prime
·4· ·Pay.· Are those third-party payroll processors?
·5· ·FATHER PATRICK CARR:
·6· · · · Yes.
·7· ·AMANDA GEORGE:· Okay.· And is the debtor current on
·8· ·its post-petition payroll obligations?
·9· ·FATHER PATRICK CARR:
10· · · · Yes.
11· ·AMANDA GEORGE:
12· · · · All right.· I'm almost done with my questions.
13· ·I just want to make a comment for all who are on the
14· ·call regarding the global notes.· This is a document
15· ·that is affixed to the front of the schedules and
16· ·statement of financial affairs, and there are some
17· ·statements in the global notes that give us concern.
18· ·It's our position that the global notes document
19· ·does not override the schedules and statements
20· ·despite its claim to do so in paragraph 20.· The
21· ·global notes are not official bankruptcy forms.
22· ·They are not signed under penalty of perjury.· And
23· ·the legal weight that it grants itself, it's our
24· ·position it is not based in the bankruptcy code in
25· ·the bankruptcy rules.· And our position is that they

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·1· ·are not binding on the US trustees or the parties in
·2· ·this case.· We have Father Carr's testimony that the
·3· ·documents are true and correct to the best of his
·4· ·knowledge, considering the amendments that we
·5· ·discussed and that Mr. Mintz discussed at the very
·6· ·beginning of this hearing -- of this meeting -- and
·7· ·these global notes do not override this testimony,
·8· ·or the signatures to that effect.· And so putting
·9· ·the disclaimer statements aside, I do have a few
10· ·questions that stem from the statements in the
11· ·global notes.
12· · · · In item three, where the debtor discusses the
13· ·net book value of assets, that is page three,
14· ·paragraph three.· And it states that, Assets that
15· ·have fully depreciated or were expensed for
16· ·accounting purposes may not appear in schedules and
17· ·statements if they have no net book value.
18· · · · And I was wondering:· What type of assets are
19· ·we talking about here?· Are there any general
20· ·categories of assets?
21· ·KATHLEEN ZUNIGA:
22· · · · Mostly furniture and equipment.· Things that
23· ·are extremely old that have been fully depreciated.
24· ·AMANDA GEORGE:
25· · · · All right.· But this doesn't include buildings

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·1· ·or anything like that, does it?
·2· ·KATHLEEN ZUNIGA:
·3· · · · No.· No.
·4· ·AMANDA GEORGE:
·5· · · · All right.· And then paragraph six, which is on
·6· ·page four, there is a statement that -- this is with
·7· ·regard to excluded assets and liabilities.· And it
·8· ·states that, Assets excluded include accrued
·9· ·salaries and accrued benefits.
10· · · · Can you just tell me what that means?
11· ·MARK MINTZ:
12· · · · Honestly -- Amanda, this is Mark Mintz.· We
13· ·didn't excluded.· That was a general statement that
14· ·was done as a catchall.· Nothing has been excluded
15· ·based on paragraph six.
16· ·AMANDA GEORGE:
17· · · · Okay.· And does Ms. Zuniga or Father Carr agree
18· ·with that statement?
19· ·FATHER PATRICK CARR:
20· · · · Yes.
21· ·AMANDA GEORGE:
22· · · · Thank you.· And I only have a handful of
23· ·questions left before I turn it over to our
24· ·creditors.
25· · · · Generally speaking, with regard to the

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·1· ·schedules, and the pleadings that have been filed in
·2· ·this case seem to state the same, the debtor is
·3· ·excluding the assets of the 112 parishes and those
·4· ·parish schools from the disclosed assets; is that
·5· ·correct?
·6· ·KATHLEEN ZUNIGA:
·7· · · · Yes.
·8· ·MARK MINTZ:
·9· · · · And Amanda, Mark Mintz again.· To be clear, it
10· ·is the debtor's position, and we think the correct
11· ·position, that the 112 assets and -- 112 parishes
12· ·and the parish schools are not debtor entities.
13· ·AMANDA GEORGE:
14· · · · And I understand that position.· I just want to
15· ·make sure that, you know, we are stating that
16· ·clearly for the record.
17· · · · Are there any other broad categories of assets
18· ·and liabilities that have been excluded from the
19· ·schedules, or does that pretty much cover it?
20· ·MARK MINTZ:
21· · · · I'll chip in.· I don't understand the question,
22· ·Amanda, just to be very -- I'm not trying to be
23· ·difficult.· I'm saying, we included all of the
24· ·assets that belong to the debtor, or that we believe
25· ·belonging to the debtor, as explained in the

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·1· ·statements, and may have over included.· But we did
·2· ·not include assets that belonged to other parties.
·3· ·AMANDA GEORGE:
·4· · · · And does Father Carr or Ms. Zuniga agree with
·5· ·that statement.
·6· ·FATHER PATRICK CARR:
·7· · · · Yes.
·8· ·AMANDA GEORGE:
·9· · · · All right.· On Schedule AB, item 10, with
10· ·regards to accounts receivable -- that is on page 24
11· ·of the schedules -- there is accounts receivable
12· ·listed from parishes and accounts receivable listed
13· ·from high schools.· What are these accounts
14· ·receivable?· What do they represent?· Are they
15· ·assessments or, could you just explain to me what
16· ·that is?
17· ·KATHLEEN ZUNIGA:
18· · · · Sure, yes.· So the accounts receivable from
19· ·parishes are primarily comprised of the assessments
20· ·related to a church assessment tax that is charged
21· ·each of the parishes to support the operations of
22· ·the administrative offices, and these are recurring
23· ·assessments.· Assessments for property, casualty,
24· ·and workmen's comp insurance and other insurances.
25· ·And then there is a third assessment that is done in

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·1· ·the parishes for priest health insurance and related
·2· ·costs for priests.
·3· ·AMANDA GEORGE:
·4· · · · And that is for the parish assessment,
·5· ·Ms. Zuniga?
·6· ·KATHLEEN ZUNIGA:
·7· · · · Yes.
·8· ·AMANDA GEORGE:
·9· · · · All right.· And what about the high school
10· ·accounts receivable?· Is it the same?
11· ·KATHLEEN ZUNIGA:
12· · · · Let me look, pull the schedule first real
13· ·quick.
14· ·AMANDA GEORGE:
15· · · · Sure.· And this is on page 24.· And I just ask
16· ·because they are separately categorized.
17· ·MARK MINTZ:
18· · · · And when you say page 24, Amanda, I just want
19· ·to make sure we are looking at the same thing.· You
20· ·mean from the top filing page or do you mean the
21· ·bottom --
22· ·AMANDA GEORGE:
23· · · · Yes.· I'm sorry.· The top filing page.· 24 of
24· ·1298.
25· ·MARK MINTZ:

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·1· · · · And you are on the schedule; correct?
·2· ·AMANDA GEORGE:
·3· · · · Correct.· So it's item -- I guess it is item
·4· ·11a.
·5· ·KATHLEEN ZUNIGA:
·6· · · · Those are going to be -- those are from the
·7· ·loan and deposit fund receivables.· So those are the
·8· ·loans that were made to the high schools primarily
·9· ·for, under the loan and deposit fund, it could be
10· ·for capital, operating, or maintenance.
11· ·FATHER PATRICK CARR:
12· · · · Correct.· That's correct.
13· ·AMANDA GEORGE:
14· · · · Okay.· Got it.· With regard to the real
15· ·property that is listed --
16· · · · · · · ·(Background music playing.)
17· ·AMANDA GEORGE:
18· · · · Can parties please mute their phones and not
19· ·place the call on hold?
20· ·FATHER PATRICK CARR:
21· · · · They probably cannot hear you because they are
22· ·now on hold.
23· ·AMANDA GEORGE:
24· · · · Right, yeah.
25· ·JAMES STANG:

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·1· · · · Amanda, this is Jim Stang.· (Inaudible)
·2· ·possibly calling back in because that person doesn't
·3· ·know that we are hearing their music.
·4· ·AMANDA GEORGE:
·5· · · · I'm sorry.· You're going to have to shout into
·6· ·your phone for me to hear you.
·7· ·UNKNOWN SPEAKER:
·8· · · · (Inaudible) for everyone to call back.
·9· ·AMANDA GEORGE:
10· · · · Yeah.· Well, we can do that.· Would you all
11· ·like to hang up and call back in?· This is
12· ·prohibitively -- okay, yeah.· We can't go on like
13· ·this.· So if all parties can hang up and call back
14· ·into the line, and we will proceed from there.
15· · · · · · · · ·(Break in proceedings.)
16· ·AMANDA GEORGE:
17· · · · Hi.· This is Amanda George from the US trustee
18· ·again.· Do we have the debtor on yet?
19· · · · All right.· If I could have all parties to the
20· ·call, please mute your phones and do not place the
21· ·call on hold so that we get a good recording of our
22· ·meeting today.
23· ·UNKNOWN SPEAKER:
24· · · · The debtor is back.
25· ·AMANDA GEORGE:

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·1· · · · Great.· All right.· And again, I will remind
·2· ·all parties, please mute your phones except for the
·3· ·debtor and the debtor's representatives.· And we
·4· ·will pick back --
·5· ·MARK MINTZ:
·6· · · · And please do not place on hold.
·7· ·AMANDA GEORGE:
·8· · · · Yeah.· And please do not place your calls on
·9· ·hold.· Despite the lovely classical music, we would
10· ·like to finish our recording.
11· · · · I had a question about the real property listed
12· ·in the schedules, and that is Schedule AB, number
13· ·55, and it's on page 38.· And it's really a general
14· ·question:· Is the Archdiocese assessed ad valorem
15· ·taxes on these parcels?
16· ·FATHER PATRICK CARR:
17· · · · No.
18· ·AMANDA GEORGE:
19· · · · No?· Okay.· And then on Schedule D, page 83,
20· ·there is a secured claim listed for the Bank of New
21· ·York Trust Company.· Can you just describe for me
22· ·the basis of that claim?
23· ·FATHER PATRICK CARR:
24· · · · Yield.
25· ·MARK MINTZ:

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·1· · · · Yeah.· Amanda, this is Mark Mintz.· We believe
·2· ·that it -- this was listed, and again, as something
·3· ·that, if you ran a UCC, you would see.· It is, we
·4· ·think, a leftover related to an old bond that is no
·5· ·longer there.· But we are continuing to look at it,
·6· ·which is why it was marked as contingent,
·7· ·unliquidated, and it disputed at this point.
·8· ·AMANDA GEORGE:
·9· · · · And Father Carr or Ms. Zuniga, do you adopt
10· ·that testimony?
11· ·KATHLEEN ZUNIGA:
12· · · · Yes.
13· ·FATHER PATRICK CARR:
14· · · · Yes.
15· ·AMANDA GEORGE:· All right.· And then, let's see.· On
16· ·Schedule F, and this is another general question,
17· ·every claim listed on Schedule F -- and that's all
18· ·975 claims -- are listed as disputed, contingent,
19· ·unliquidated, or some combination thereof.· Is there
20· ·a basis for listing every claim as disputed,
21· ·contingent, or unliquidated?
22· ·MARK MINTZ:· The short answer is -- again, Mark
23· ·Mintz, and I will ask the debtor to confirm this.
24· ·But the short answer is, in order to get these
25· ·filed, we went ahead and marked it, just to not to

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·1· ·the admission at this time.· We will amend to undo
·2· ·it.· We do not intend to have literally everyone at
·3· ·$275 file a proof of claim.· That is not our thing.
·4· ·But at this point, what we had to list was literally
·5· ·what was in our accounts payable system, and we have
·6· ·not had a chance to review every single invoice to
·7· ·make sure that it is accurate or that we agree with
·8· ·it.· So that's why it is listed that way, and it
·9· ·will be amended as we move forward.
10· ·AMANDA GEORGE:
11· · · · When do you plan to make the amendment?
12· ·MARK MINTZ:
13· · · · Along with the other ones.· I think we would
14· ·probably need, for that one itself, probably need
15· ·another 30 days.
16· ·AMANDA GEORGE:
17· · · · Okay.· All right.· And Father Carr, do you
18· ·agree with those statements made by counsel?
19· ·FATHER PATRICK CARR:
20· · · · I do.
21· ·AMANDA GEORGE:
22· · · · All right.· Shifting to the Statement of
23· ·Financial Affairs, and I am specifically looking at
24· ·Statement of Financial Affairs, number 13, this is
25· ·docket 103, page 585 of 656.· What is the Holy

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·1· ·Trinity Land Drive Corporation?
·2· ·KATHLEEN ZUNIGA:
·3· · · · The Holy Trinity Land Drive Corporation is a
·4· ·supporting organization that was set up under the
·5· ·SID.· So it is separately incorporated, and it is --
·6· ·it was set up to create a lease for the lease of
·7· ·land for funeral homes.· I'm sorry.· Nursing homes.
·8· ·AMANDA GEORGE:
·9· · · · I'm sorry.· Could you say that -- lease of land
10· ·for what?
11· ·KATHLEEN ZUNIGA:
12· · · · A nursing home.
13· ·AMANDA GEORGE:
14· · · · Okay.· And the transfer -- so I'm asking
15· ·because there is a transfer listed of $2,548,560 on
16· ·June 15, 2018.· So what was the purpose of that
17· ·transfer?· Was that to acquire the land?
18· ·KATHLEEN ZUNIGA:
19· · · · It was really more for the purpose of limiting
20· ·the liability of the exposure to the administrative
21· ·offices, to separately incorporate it out.· I'm not
22· ·sure that that number, that dollar amount, is
23· ·correct though.
24· ·AMANDA GEORGE:
25· · · · Okay.· At this time, those are all of my

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·1· ·questions.· Thank you very much for your
·2· ·cooperation.· It was very helpful.
·3· · · · At this time, I would like to open the floor to
·4· ·creditors or creditor attorneys who would like to
·5· ·ask questions.· As we previously discussed, only
·6· ·creditors, indenture trustees, and their attorneys
·7· ·or proxies may ask questions.· Questions must be
·8· ·limited to the assets, liabilities, financial
·9· ·condition, and reorganizing plan of the debtor as
10· ·this meeting will not serve as a substitute for a
11· ·deposition.· If you would like to participate and
12· ·you haven't yet done so, please e-mail your name
13· ·into your represents to Mary.Langston,
14· ·L-a-n-g-s-t-o-n, @USDOJ.gov.· If you are an attorney
15· ·for a survivor tort claimant, do not include the
16· ·name of your client.· And if you are a survivor tort
17· ·claimant here without an attorney, you do not need
18· ·to e-mail us.· Just sit tight until I call upon that
19· ·group.
20· · · · I need everyone to please keep their phones
21· ·muted.· Do not place your phone on hold.· And when I
22· ·call on you, please unmute your phone, state your
23· ·name, if you are an attorney or a creditor who is
24· ·not a victim tort claimant, and you can proceed with
25· ·your questions.· Given the format and amount of

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·1· ·people participating today, and again, each party
·2· ·should limit themselves to two to three questions.
·3· ·And I will start with Mr. Adams.
·4· ·JAMES ADAMS:
·5· · · · Yes.· Good morning.· Thank you, Ms. George, for
·6· ·the opportunity to participate in this morning's
·7· ·meetings.
·8· ·AMANDA GEORGE:
·9· · · · Sure.
10· ·JAMES ADAMS:· And thank you, Ms. Zuniga,
11· ·Mr. Entwisle, and Father Carr for being here to help
12· ·us better understand the position and the financial
13· ·actions of the Archdiocese in lead-up to this
14· ·bankruptcy filing.· And Father Carr, on a personal
15· ·note, just a thanks to you, to your vocation.
16· · · · My name is James Adams.· I am a victim survivor
17· ·of sexual abuse by a priest named Father James
18· ·Calleri that occurred at Saint Ann's Church in the
19· ·1980s.· Currently, I have the honor of
20· ·representing many victim survivors of clergy sexual
21· ·abuse by serving as the chair of the unsecured
22· ·creditors committee in this bankruptcy proceeding.
23· · · · My questions will focus on some areas of
24· ·concern to all victim survivors.· And certainly, out
25· ·of respect to everyone's time, I will try to be

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·1· ·brief.
·2· · · · So Father Carr, in an interview given to FOX8
·3· ·on May 1 of this year referring to the bankruptcy
·4· ·and, more specifically, to victim survivors,
·5· ·Archbishop Aymond said the following:· He said, I
·6· ·wish, quote, to assure them that my prayers -- my
·7· ·prayer is that they will find peace and hope in
·8· ·God's comfort because this really is about them and
·9· ·treating them respectfully and treating them fairly.
10· · · · The Archbishop went on to say, quote, the
11· ·reason we are doing this is twofold.· One, so that
12· ·we can reach out to victims and survivors, and so
13· ·that we treat them equally and fairly.· And it's not
14· ·just some who will get compensation.· We want to
15· ·make sure that we reach out to all of them, and we
16· ·do that in a way that is fair.
17· · · · So I guess my question there is:· Would you
18· ·agree that Archbishop Aymond here explicitly states
19· ·that he wants all survivors, victim survivors, to
20· ·get compensation through this bankruptcy proceeding?
21· ·KATHLEEN ZUNIGA:
22· · · · He said what he said.
23· ·JAMES ADAMS:
24· · · · Father Carr?
25· ·FATHER PATRICK CARR:

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·1· · · · He said what he said.
·2· ·JAMES ADAMS:
·3· · · · He said what he said.· In an article by Peter
·4· ·Finney on May 1, the Archbishop also said, We will
·5· ·be paying the people that we owe money two,
·6· ·100 percent of what we owe, because we are not
·7· ·bankrupt financially.
·8· · · · And so for those two statements to be true, you
·9· ·would have to agree that the Archdiocese intends to
10· ·pay all sex abuse survivors 100 percent of what they
11· ·are owed; is that correct.
12· ·FATHER PATRICK CARR:
13· · · · We said we would pay 100 percent of all allowed
14· ·claims.
15· ·JAMES ADAMS:
16· · · · Well, let me touch upon, rather than with the
17· ·Archbishop said, maybe -- on the website of the
18· ·Archdiocese is placed, under renewing our
19· ·commitment, the following statement is given by the
20· ·vicar of finance for the Archdiocese.· Yourself
21· ·there, Father Carr.
22· · · · It says, quote, Very importantly, this action,
23· ·taken -- I'm sorry.
24· · · · Very importantly, taking this action will allow
25· ·us to address remaining clergy abuse claims, all of

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·1· ·which stem from allegations dating back several
·2· ·decades ago, in a way that will allow funds to go
·3· ·directly to victims instead of costly litigation.
·4· · · · So I guess my question there is:· In these
·5· ·statements, and Archbishop Aymond has previously
·6· ·said similarly, that there is publicly committing
·7· ·here that funds shall go directly to the victims.
·8· ·It stands to reason that, if all cases stem from
·9· ·several decades ago and then clearly all victims are
10· ·from several decades ago, therefore in order to be
11· ·sure that the funds go directly to victims as
12· ·promised, my concern here is wanting to make sure
13· ·that the Archdiocese is committing here that they
14· ·will not apply prescription to any of these cases in
15· ·an attempt to have these cases thrown out.
16· ·MARK MINTZ:
17· · · · I think that is a question that has gone well
18· ·beyond what is needed for a 341 meeting at this
19· ·point.· But we appreciate your comment.
20· ·JAMES ADAMS:
21· · · · Well, I guess it works to the operation of the
22· ·business, the intent of how they are going to
23· ·continue forward during this bankruptcy proceeding
24· ·as these claims are certainly part of it and, if not
25· ·the catalyst of the bankruptcy.

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·1· ·MARK MINTZ:
·2· · · · We are going to look at the claims and process
·3· ·the claims within the process of the bankruptcy
·4· ·court and within the process of litigation as may be
·5· ·required.· It is our hope, as I said at the
·6· ·beginning, that we do not have to go through costs
·7· ·of costly litigation, and that is why we want to do
·8· ·the mediation and we want to work with claimants to
·9· ·get to a fair resolution.
10· ·AMANDA GEORGE:
11· · · · And Father Carr, do you agree with that
12· ·statement?
13· ·FATHER PATRICK CARR:
14· · · · Yes, I do.
15· ·AMANDA GEORGE:
16· · · · All right, Mr. Adams.· Could you wrap up for
17· ·me, please?
18· ·JAMES ADAMS:
19· · · · Sure.· I guess this is another area of concern.
20· ·Archbishop Aymond, he is offered multiple assurances
21· ·of increasing transparency as a result of this
22· ·bankruptcy.· And in the letter dated May 1, entitled
23· ·God Will Guide Us in Helping Abuse Victims to Heal,
24· ·this was posted in the May 9 Clarion Herald
25· ·commentary.· Archbishop Aymond says, I, along with a

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·1· ·team of advisors, believe that reorganization will
·2· ·create an opportunity for us to renew our commitment
·3· ·to the faithful and to the New Orleans community by
·4· ·restructuring our financials, increasing
·5· ·transparency, and creating a path forward.
·6· · · · And other Chapter 11 cases where dioceses have
·7· ·sought Chapter 11 protection, there have been
·8· ·agreements to disclose and make public documents
·9· ·referable to clergy abuse within that diocese.· For
10· ·example, the Archdiocese of Santa Fe, Archbishop
11· ·John Wester of Santa Fe has pledged to open sealed
12· ·records related to priests' child sexual abuse cases
13· ·and victims.· And cases that the victims and
14· ·attorneys and others pushed for more transparency.
15· · · · So I guess to increase transparency, as our
16· ·Archbishop has promised, will the Archdiocese of New
17· ·Orleans commit to making public all of its documents
18· ·that show, identify evidence of clergy abuse?
19· ·MARK MINTZ:
20· · · · This is Mark Mintz again.· I will -- I can
21· ·answer that question to the extent that the
22· ·Archdiocese will provide the information as is
23· ·required under law and under the bankruptcy court
24· ·and through negotiations with the unsecured
25· ·creditors committee as to what is appropriate and

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·1· ·when it is appropriate.
·2· ·AMANDA GEORGE:
·3· · · · And Father Aymond, do you agree with that?                             I
·4· ·mean, I'm sorry.· Father Carr, do you agree with
·5· ·that statement?
·6· ·FATHER PATRICK CARR:
·7· · · · I do, yes.
·8· ·AMANDA GEORGE:
·9· · · · All right.· Thank you.· Thank you, Mr. Adams.
10· ·We are going to need to move on down our list.                             I
11· ·appreciate your participation.
12· · · · Next, I will call upon Darryl Landwehr.· If you
13· ·could, state your name and who you represent, so
14· ·long as it is not a victim survivor.
15· ·DARRYL LANDWEHR:
16· · · · Darryl Landwehr, representing Merle Noullet,
17· ·N-o-u-l-l-e-t.· I just have a couple of quick
18· ·questions.
19· · · · First, does the Archdiocese own or lease the
20· ·property or premises at 306 St. Mary Street in
21· ·Madisonville, Louisiana, which I believe is the
22· ·Saint Anselm Church?
23· ·MARK MINTZ:
24· · · · Darryl, this is Mark Mintz.· First of all, nice
25· ·to hear your voice again.· I haven't heard it -- we

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·1· ·haven't talked in a while.· Second, is there a
·2· ·specific spot you were looking out or is that just a
·3· ·general question?
·4· ·DARRYL LANDWEHR:
·5· · · · No, it is specific.· My client, I understand,
·6· ·has a personal injury claim, a fall at these
·7· ·premises.· I stand the property address is 306
·8· ·St. Mary Street in Madisonville, which I believe is
·9· ·the Saint Anselm Church.· And all I am trying to
10· ·find out, Mark, is if the Archdiocese actually owns
11· ·or does it lease that premises?
12· ·MARK MINTZ:
13· · · · I don't believe we do.· However, we will get
14· ·back to you, because there is a very large -- as you
15· ·saw from Schedule 55 -- as you saw from AB55, we
16· ·have a very large amount of property.· I am being
17· ·told in here that we do not own that building.· But,
18· ·if there is something else, we will get back to you
19· ·on that.
20· ·DARRYL LANDWEHR:
21· · · · Okay.· And then Mark, just my other two
22· ·questions, just briefly, I'm just trying to find out
23· ·if -- whether it's owned or leased by the
24· ·Archdiocese; and then secondly, does the Archdiocese
25· ·carry liability insurance coverage for that premises

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·1· ·and, if so, who is that insurer, or is there some
·2· ·sort of an arrangement by and between the
·3· ·Archdiocese and Saint Anselmo Church with respect to
·4· ·providing liability insurance coverage for that
·5· ·property?
·6· ·MARK MINTZ:
·7· · · · I understand, Darryl.· Why don't we do this --
·8· ·and I'm not trying to cut you off.· I want you to
·9· ·ask the questions that you want to ask.· But we can
10· ·provide you that information I think off-line in a
11· ·better form.
12· ·DARRYL LANDWEHR:
13· · · · Great.· Thank you, Mark.· That's all the
14· ·questions I have.
15· ·MARK MINTZ:
16· · · · Thank you.
17· ·AMANDA GEORGE:
18· · · · All right.· Thank you, Mr. Landwehr.· We
19· ·appreciate your participation today.· Next, I will
20· ·call upon Soren Giselson.· And if everybody else
21· ·could, please keep your microphones muted so that we
22· ·get a clean recording and we can hear each other
23· ·talk.· Thank you.· Mr. Giselson?
24· ·SOREN GISELSON:
25· · · · Thank you, Ms. George.· I've got a question for

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·1· ·Father Carr.
·2· · · · Isn't it true that the Archdiocese believes it
·3· ·has a moral obligation to pay credibly accused
·4· ·priests retiree benefits?
·5· ·FATHER PATRICK CARR:
·6· · · · No, we -- no.
·7· ·SOREN GISELSON:
·8· · · · Do you agree that the Archdiocese owes a moral
·9· ·obligation to abuse victims to make them whole.
10· ·MARK MINTZ:
11· · · · Soren, this is Mark Mintz.· I think my one
12· ·response is, to the extent the word moral means
13· ·something under law or something else, that's -- I
14· ·mean, I think the question is a little far afield
15· ·from what we need to be getting into at the moment.
16· ·Certainly, ask your questions.· But I want to be
17· ·very clear that, you know, I don't know if the word
18· ·moral means something else that is being meant in
19· ·different ways, and so that is what I want to be
20· ·just -- I'm kind of concerned about the question in
21· ·that sense.· With that said, obviously ask your
22· ·question to Father Carr as you are permitted.
23· ·SOREN GISELSON:
24· · · · Father Carr, do you agree that the Archdiocese
25· ·owes a moral obligation to abuse victims to make

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·1· ·them whole?
·2· ·FATHER PATRICK CARR:
·3· · · · No, I don't agree.
·4· ·SOREN GISELSON:
·5· · · · Do you agree that the Archdiocese owes a moral
·6· ·obligation to abuse victims to make them whole --
·7· ·I'm sorry -- to compensate them fully?
·8· ·FATHER PATRICK CARR:
·9· · · · I don't understand what you mean by a moral
10· ·obligation.
11· ·SOREN GISELSON:
12· · · · So do you have an understanding of moral
13· ·obligation?
14· ·FATHER PATRICK CARR:· No.
15· ·SOREN GISELSON:
16· · · · All right.· I'm going to switch topics right
17· ·quick.· Isn't it true that Hayden Glade offered more
18· ·than $103 million to purchase property owned by
19· ·Christopher Homes.
20· ·MARK MINTZ:
21· · · · That is not a debtor entity.
22· ·SOREN GISELSON:
23· · · · I'm sorry.· Was that Father Carr who answered?
24· ·MARK MINTZ:
25· · · · That was Mark Mintz.

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·1· ·SOREN GISELSON:
·2· · · · All right.· I need Father Carr to answer.
·3· ·FATHER PATRICK CARR:
·4· · · · He is correct.
·5· ·SOREN GISELSON:
·6· · · · Isn't it true that -- okay.· Will the
·7· ·Archdiocese and/or Christopher Homes accept that
·8· ·$103 million offer?
·9· ·MARK MINTZ:
10· · · · It is not a debtor entity.
11· ·SOREN GISELSON:
12· · · · I'm sorry.· Was that Father Carr?
13· ·FATHER PATRICK CARR:
14· · · · It is not a debtor entity.
15· ·SOREN GISELSON:
16· · · · Was that Father Carr?
17· ·FATHER PATRICK CARR:
18· · · · That is Father Carr.
19· ·AMANDA GEORGE:
20· · · · Yes.
21· ·SOREN GISELSON:
22· · · · All right.· Putting that aside, will the
23· ·Archdiocese or Christopher Homes accept the offer?
24· ·MARK MINTZ:
25· · · · Soren, I don't think we -- I cannot answer a

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·1· ·question as to a non-debtor entity.· This is about
·2· ·the debtor.· If Christopher Homes --
·3· ·SOREN GISELSON:
·4· · · · Mark, the question wasn't asked to you.· The
·5· ·question was asked to Father Carr.
·6· ·AMANDA GEORGE:
·7· · · · And this is Amanda George.· Father Carr, if you
·8· ·don't know the answer, that's an acceptable response
·9· ·as well.
10· ·FATHER PATRICK CARR:
11· · · · This is Father Carr.· I do not know the answer.
12· ·AMANDA GEORGE:
13· · · · All right.· Mr. Giselson, can you wrap up for
14· ·me, please?
15· ·SOREN GISELSON:
16· · · · Ms. George, I believe those are all the
17· ·questions that I have.· Thank you for your time.
18· ·AMANDA GEORGE:
19· · · · All right.· Thank you so much.· Thank you for
20· ·participating.· Again, if everyone can, keep their
21· ·phones on mute until you are called upon.· Next, I
22· ·will call upon John Denenea.
23· ·JOHN DENENEA:
24· · · · Yes, good morning.· Thank you, Amanda, and
25· ·thank you, everyone.

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·1· · · · Father Carr, in response to a question a moment
·2· ·ago from Mr. Adams regarding statements by
·3· ·Archbishop Aymond, your response was he said what he
·4· ·said.· My question is:· In response to that answer,
·5· ·can the victim survivors accept that what Archbishop
·6· ·Aymond says to the media regarding the
·7· ·reorganization plan and statements dealing with the
·8· ·bankruptcy are true?
·9· ·FATHER PATRICK CARR:
10· · · · I can't speak for the Archbishop.
11· ·JOHN DENENEA:
12· · · · I am asking you as on behalf of the
13· ·representative of the Archdiocese, does the
14· ·Archdiocese believe that what Archbishop Aymond says
15· ·to the media and in public regarding its
16· ·reorganization and bankruptcy is true information.
17· ·FATHER PATRICK CARR:
18· · · · Yes.
19· ·JOHN DENENEA:
20· · · · And in follow-up to a couple of other questions
21· ·raised about documents, do you agree that the
22· ·disclosure of documents in the possession of the
23· ·Archdiocese dealing with clergy abuse would go
24· ·towards the healing of victim survivors throughout
25· ·this reorganization and bankruptcy?

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·1· ·FATHER PATRICK CARR:
·2· · · · Maybe.
·3· ·JOHN DENENEA:
·4· · · · And why do you say maybe?
·5· ·FATHER PATRICK CARR:
·6· · · · Because I'm not -- I'm not really certain.
·7· ·Just, maybe.· That's the answer.
·8· ·JOHN DENENEA:
·9· · · · Would you agree that, throughout this
10· ·reorganization plan, if victim survivors were able
11· ·to review certain documents and learn everything
12· ·that the Archdiocese knew about the priests that
13· ·violated them, it would go toward a healing process
14· ·for that victim survivor?
15· ·FATHER PATRICK CARR:
16· · · · I can't speak for victim survivors.
17· ·JOHN DENENEA:
18· · · · As a pastoral priest, wouldn't you agree, sir,
19· ·that the healing process involved with a victim
20· ·survivor would be that the individual would want to
21· ·know all of the true information about the person
22· ·that victimized him?
23· · · · Is that Father Carr whispering or is that
24· ·Mr. Mintz whispering?
25· ·MARK MINTZ:

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·1· · · · It is not Mr. Mintz.
·2· ·JOHN DENENEA:
·3· · · · What is your answer, Father Carr?
·4· ·FATHER PATRICK CARR:
·5· · · · Again, I can't speak for the victim.
·6· ·JOHN DENENEA:
·7· · · · And one last follow-up, Father Carr.· In not
·8· ·revealing any personal information in response to
·9· ·that sort of conditional answer, I assume in your
10· ·experience -- well, let me ask you this:· How long
11· ·have you been a priest, Father Carr.
12· ·FATHER PATRICK CARR:· Four years.
13· ·JOHN DENENEA:
14· · · · And how long have you been the vicar's general
15· ·of finance?
16· ·FATHER PATRICK CARR:
17· · · · I am not the vicar's general.· I am vicar of
18· ·finance.
19· ·JOHN DENENEA:
20· · · · The vicar of finance.· Excuse me.
21· ·FATHER PATRICK CARR:
22· · · · How long have I been?
23· ·JOHN DENENEA:
24· · · · Yes.
25· ·FATHER PATRICK CARR:

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·1· · · · Since July.· Last July.
·2· ·JOHN DENENEA:
·3· · · · Okay.· And since you have been a priest for the
·4· ·last three years or so, sir, I assume you have had
·5· ·changes to counsel individual victim survivors,
·6· ·haven't you, sir.
·7· ·FATHER PATRICK CARR:
·8· · · · I can't disclose anything like that.
·9· ·JOHN DENENEA:
10· · · · I'm not asking you to give me a name, sir.· I'm
11· ·trying to get a follow-up to my question where you
12· ·conditionally answered my question.· And I would
13· ·assume you have talked to individuals.· Assuming you
14· ·have, wouldn't you agree that that individual you
15· ·counseled would have a certain healing benefit to
16· ·know the information about his or her victimizer?
17· ·FATHER PATRICK CARR:
18· · · · Again, I can't speak for the victim.
19· ·AMANDA GEORGE:
20· · · · All right, Mr. Denenea, I think he has answered
21· ·the question.
22· ·JOHN DENENEA:
23· · · · I don't think he has, Ms. George.
24· ·AMANDA GEORGE:
25· · · · Well, I think you're going to get the --

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·1· ·JOHN DENENEA:
·2· · · · But I'm finished.· That's fine.· I'm finished.
·3· ·Thank you.
·4· ·AMANDA GEORGE:
·5· · · · Thank you.· Again, I think you are going to get
·6· ·the answer that you got.· So now I will move on.
·7· ·And thank you, Mr. Denenea, for participating.                             I
·8· ·will move on and call upon Mr. Baldone.
·9· ·DAMON BALDONE:
10· · · · Yes.· Hi.· My name is Damon Baldone.                          I
11· ·represent George Coulon, who is a member of the
12· ·committee, as well as some other potential unsecured
13· ·victims.
14· · · · When we decide to make a claim as a debtor,
15· ·Father Carr, y'all defined it as y'all will pay
16· ·claims that are allowed claims.· What is your
17· ·definition of an allowed claim?· Are these people
18· ·who have been victimized in the past, even though
19· ·their statute of limitations has run?
20· ·FATHER PATRICK CARR:
21· · · · It is in accordance with what the bankruptcy
22· ·code means.
23· ·DAMON BALDONE:
24· · · · What is your understanding of the bankruptcy
25· ·code for allowed claims as it pertains to victim

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·1· ·survivors?
·2· ·MARK MINTZ:
·3· · · · It means what -- this is Mark Mintz.· It means
·4· ·what the bankruptcy code means as to that,
·5· ·Mr. Baldone.· It is a legal term.· It means what the
·6· ·bankruptcy code means.
·7· ·DAMON BALDONE:
·8· · · · Okay.· No further questions.
·9· ·AMANDA GEORGE:
10· · · · All right.· Thank you, Mr. Baldone.· Do I have
11· ·any parties on the line who wanted to ask questions
12· ·who were not able to send in an e-mail?· All right.
13· ·Hearing none.
14· ·MARK MINTZ:
15· · · · Amanda?
16· ·AMANDA GEORGE:
17· · · · Yes.
18· ·AMANDA GEORGE:
19· · · · If we are about to move to the committee, and I
20· ·assume Mr. Stang or Mr. Boldissar is going to have
21· ·some longer questions, can I request a five minute
22· ·break?· Just, a personal break?
23· ·AMANDA GEORGE:
24· · · · Yeah.· I don't see why not.
25· ·MARK MINTZ:

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·1· · · · Okay.· Can we come back on in five minutes?
·2· ·AMANDA GEORGE:
·3· · · · Yeah, yeah.· We can do that.· All right.· So we
·4· ·are going to come back --
·5· ·JAMES STANG:
·6· · · · This is Mr. Stang.· Are we going to hang up and
·7· ·dial back in, or do you want us to stay on the line?
·8· ·AMANDA GEORGE:
·9· · · · No.· Actually, Mark, is there any way we can
10· ·just finish this out?
11· ·MARK MINTZ:
12· · · · We can go.· That's fine.
13· ·AMANDA GEORGE:
14· · · · I'm only asking -- I'm mentioning because of
15· ·our technological capabilities over here and our
16· ·recording equipment.· Our dinosaur equipment, I
17· ·don't think we can pause and come back, especially
18· ·with our phone line.
19· ·MARK MINTZ:
20· · · · I was simply trying to give everyone a few
21· ·minutes.· We had been on for an hour and 15, or
22· ·about that.
23· ·AMANDA GEORGE:
24· · · · No, I understand.· I understand, and I
25· ·appreciate all of your endurance.· And let's just

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·1· ·maybe try and tough it out.· So next, I will call
·2· ·upon Mr. Trahant.
·3· ·RICHARD TRAHANT:
·4· · · · Good morning, everybody.· Mr. Entwisle, how
·5· ·much money has the Archdiocese paid out in sex abuse
·6· ·settlements?
·7· ·JEFFREY ENTWISLE:
·8· · · · I don't know the answer to that.
·9· ·RICHARD TRAHANT:
10· · · · Approximately how much?
11· ·JEFFREY ENTWISLE:
12· · · · Again, I don't know the answer to that.
13· ·RICHARD TRAHANT:
14· · · · Approximately how much has been paid out in the
15· ·past 10 years?
16· ·JEFFREY ENTWISLE:
17· · · · Again, I don't know the answer to that.
18· ·RICHARD TRAHANT:
19· · · · Who would?· Please don't whisper the answer.                              I
20· ·am asking Mr. Entwisle the questions.
21· · · · Mr. Entwisle, somebody whispered to you.· Who
22· ·was that?
23· ·MARK MINTZ:
24· · · · His counsel is giving him advice on how to
25· ·answer questions.

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·1· ·RICHARD TRAHANT:
·2· · · · I would prefer you not to do that.
·3· ·MARK MINTZ:
·4· · · · This is not a deposition, Mr. Trahant.
·5· ·RICHARD TRAHANT:
·6· · · · He is under oath, and I am asking him
·7· ·questions, Mark.· Not you.
·8· · · · Do you have an answer, Mr. Entwisle?
·9· ·JEFFREY ENTWISLE:
10· · · · I don't know.
11· ·RICHARD TRAHANT:
12· · · · How much was paid out in sex abuse settlements
13· ·for the calendar year 2019?
14· ·JEFFREY ENTWISLE:
15· · · · I don't know.
16· ·RICHARD TRAHANT:
17· · · · Who would know?
18· ·JEFFREY ENTWISLE:
19· · · · I don't --
20· ·RICHARD TRAHANT:
21· · · · Who would know?
22· ·JEFFREY ENTWISLE:
23· · · · I don't know.
24· ·RICHARD TRAHANT:
25· · · · You have no idea who would have a running

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·1· ·tabulation of payments to sex abuse victims?· You
·2· ·are saying under oath, sir, that you just don't
·3· ·know?
·4· ·JEFFREY ENTWISLE:
·5· · · · We would have to research that.
·6· ·RICHARD TRAHANT:
·7· · · · And so prior to filing the bankruptcy, you are
·8· ·telling me that for the calendar year 2019, the
·9· ·Archdiocese has no idea how much it paid out in sex
10· ·abuse settlements; correct?
11· ·MARK MINTZ:
12· · · · That is not what he said, Mr. Trahant.
13· ·RICHARD TRAHANT:
14· · · · Well, answer the question I just asked, please.
15· ·JEFFREY ENTWISLE:
16· · · · To answer the question, I don't know that
17· ·answer.
18· ·RICHARD TRAHANT:
19· · · · How much was paid out in attorneys fees in the
20· ·last year?
21· ·MARK MINTZ:
22· · · · Is on the schedules, Mr. Trahant if you would
23· ·like to --
24· ·RICHARD TRAHANT:
25· · · · I want to see if know what he knows.· How much?

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·1· ·JEFFREY ENTWISLE:
·2· · · · I do not know, off the top of my head.
·3· ·RICHARD TRAHANT:
·4· · · · Okay.· Where do those funds come from,
·5· ·Mr. Entwisle?
·6· ·JEFFREY ENTWISLE:
·7· · · · Where does what comes from?
·8· ·RICHARD TRAHANT:
·9· · · · The funds to pay for sex abuse claims, related
10· ·costs, and attorneys fees.
11· ·JEFFREY ENTWISLE:
12· · · · We have a number of sources of funds that come
13· ·in.· As a for-instance, we have captive insurance
14· ·dividends.· We have insurance relief payments.· We
15· ·have sales of properties and things along those
16· ·lines.
17· ·RICHARD TRAHANT:
18· · · · What properties have been sold to pay off any
19· ·of the money?
20· ·JEFFREY ENTWISLE:
21· · · · I do not have that right now.
22· ·RICHARD TRAHANT:
23· · · · Could you get that for me?
24· ·JEFFREY ENTWISLE:
25· · · · We could pull something together.· It wouldn't

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·1· ·necessarily have a one-to-one relationship.
·2· ·RICHARD TRAHANT:
·3· · · · Thank you.· As any person or entity not related
·4· ·to the Archdiocese paid any of these monies, whether
·5· ·for settlements, attorneys fees, or related costs?
·6· ·JEFFREY ENTWISLE:
·7· · · · Not to the best of my knowledge.
·8· ·RICHARD TRAHANT:
·9· · · · How much did the Archdiocese spend last year on
10· ·counseling for abuse survivors?
11· ·JEFFREY ENTWISLE:
12· · · · I don't know the answer to that.
13· ·AMANDA GEORGE:
14· · · · Mr. Trahant, can you wrap up for me please?
15· ·RICHARD TRAHANT:
16· · · · I will, thank you.
17· ·MARK MINTZ:
18· · · · And Mr. Trahant, by the way, to answer your
19· ·last question, that information is already in the
20· ·record.· Mr. Entwisle didn't know it, but just to
21· ·provide you that information, that was filed in
22· ·motion a couple of days ago.
23· ·RICHARD TRAHANT:
24· · · · Did you review that information, Mr. Entwisle?
25· ·JEFFREY ENTWISLE:

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·1· · · · It's 2,000 pages.· I did not review every page.
·2· ·RICHARD TRAHANT:
·3· · · · Okay.· I have one final question for you.
·4· ·Would you agree with me, Mr. Entwisle, that for
·5· ·purposes of paying benefits to retired priests, the
·6· ·composition of the November 2, 2018 Archdiocese list
·7· ·of credibly accused clergy is important?
·8· ·JEFFREY ENTWISLE:
·9· · · · I'm not sure I am understanding the question.
10· ·RICHARD TRAHANT:
11· · · · Well, in order to pay claims -- and I think you
12· ·know there has been some dispute with respect to
13· ·acknowledged pedophiles who remain on the payroll;
14· ·correct?
15· ·JEFFREY ENTWISLE:
16· · · · I know there has been some dispute.
17· ·RICHARD TRAHANT:
18· · · · Okay.· And so you would agree with me, that
19· ·being an issue, the composition of how that list was
20· ·created and who is on that list for that issue would
21· ·be important; correct?
22· ·JEFFREY ENTWISLE:
23· · · · Again, I'm still not -- I'm not following the
24· ·question.
25· ·RICHARD TRAHANT:

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·1· · · · Okay.· Ms. George, can I just break this down
·2· ·and finish it up?
·3· ·AMANDA GEORGE:
·4· · · · Sure.· You can take one last crack at it and
·5· ·then we will move on.
·6· ·RICHARD TRAHANT:
·7· · · · So the question I am asking is:· If the Court
·8· ·has to use that list in order to determine who does
·9· ·or does not get paid as a retired priest, you would
10· ·agree with me that the composition of that list is
11· ·important?
12· ·JEFFREY ENTWISLE:
13· · · · Again, I'm not -- whatever the Court decides is
14· ·what we would go with.
15· ·RICHARD TRAHANT:
16· · · · Okay.· So I am not going to get an answer out
17· ·of you on that question.
18· ·AMANDA GEORGE:
19· · · · All right.· Thank you Mr. Trahant.
20· ·MARK MINTZ:
21· · · · At this point, I don't even understand your
22· ·question.· But that's fair.
23· ·AMANDA GEORGE:
24· · · · All right.· Well, let's --
25· ·RICHARD TRAHANT:

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·1· · · · I think everybody else on the line probably
·2· ·does, Mark.
·3· ·AMANDA GEORGE:
·4· · · · All right.· Let's move a long.· And I would
·5· ·like to move now to the unsecured creditors
·6· ·committee.
·7· · · · And Mr. Stang, you can proceed with questions
·8· ·on behalf of the committee.
·9· ·JAMES STANG:
10· · · · Thank you, Ms. George.· Ms. George, just a
11· ·couple of, I guess one might call ground rules, that
12· ·I would like to have for my questioning.· We have
13· ·three witnesses, and sometimes one is answering the
14· ·questions and sometimes another person is answering
15· ·the questions.· Can you instruct or adopt a ground
16· ·rule that, if one person answers and the other
17· ·witnesses disagree, that they must speak up or else
18· ·they are going to be deemed to have incorporated
19· ·that testimony?
20· ·AMANDA GEORGE:
21· · · · Sure, yeah.· Generally, do I have the three
22· ·witnesses agreement that, if you disagree with what
23· ·one witness is stating, you will make your
24· ·disagreements known and object on the record?
25· ·MARK MINTZ:

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·1· · · · I'm not sure it's an objection, Ms. George, but
·2· ·we understand.
·3· ·AMANDA GEORGE:
·4· · · · Well, a clarification.· I mean, we are not in a
·5· ·deposition.· We are not in court.· But you will
·6· ·clarify what your position is if it is different
·7· ·from one of your co-witnesses.· Is that fair?
·8· ·KATHLEEN ZUNIGA:
·9· · · · Yes.
10· ·FATHER PATRICK CARR:
11· · · · Yes.
12· ·JEFFREY ENTWISLE:
13· · · · Yes.
14· ·AMANDA GEORGE:
15· · · · Thank you.
16· ·JAMES STANG:
17· · · · And Ms. George, the other thing I would like,
18· ·Father Carr affirmed the statement that Mr. Mintz
19· ·made at the beginning of this, but the other two
20· ·witnesses did not.· I would like to know if
21· ·Mr. Entwisle and Ms. Zuniga would affirm what
22· ·Mr. Mintz said in his opening comments.
23· ·KATHLEEN ZUNIGA:
24· · · · I affirm what Mr. Mintz said in his opening
25· ·comments.

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·1· ·AMANDA GEORGE:
·2· · · · And that is Ms. Zuniga; correct.
·3· ·KATHLEEN ZUNIGA:
·4· · · · Yes.
·5· ·JEFFREY ENTWISLE:
·6· · · · And this is Mr. Entwisle.· I affirm also.
·7· ·JAMES STANG:
·8· · · · And we are going to ask anyone who is on the
·9· ·phone to please be on mute.· I will save Ms. George
10· ·that statement.
11· ·AMANDA GEORGE:
12· · · · Thank you.
13· ·JAMES STANG:
14· · · · Father Carr, my name is Jim Stang.· I am the
15· ·attorney -- I am one of the attorneys for the
16· ·official creditors committee, and Gavin Boldissar,
17· ·who also represents the committee, is on the line as
18· ·well.· But I will be taking the lead today and
19· ·asking questions.· So I guess, good morning.
20· · · · Father Carr, are you in the same room with
21· ·Ms. Zuniga and Mr. Entwisle?
22· ·FATHER PATRICK CARR:
23· · · · Yes.
24· ·JAMES STANG:
25· · · · And is Mr. Mintz with you as well?

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·1· ·FATHER PATRICK CARR:
·2· · · · Yes.
·3· ·JAMES STANG:
·4· · · · And is there anyone else in the room with you?
·5· ·FATHER PATRICK CARR:
·6· · · · Yes.
·7· ·JAMES STANG:
·8· · · · Who else is in the room with you?
·9· ·FATHER PATRICK CARR:
10· · · · We have Susan Zeringue.
11· ·JAMES STANG:
12· · · · Who is she?
13· ·FATHER PATRICK CARR:
14· · · · She is the in-house counsel for the
15· ·Archdiocese.
16· ·JAMES STANG:
17· · · · All right.· Is there anyone else besides her?
18· ·FATHER PATRICK CARR:
19· · · · Yes.· There is Todd Gennardo.
20· ·JAMES STANG:
21· · · · And who is Mr. Gennardo in relation to this
22· ·case?
23· ·FATHER PATRICK CARR:
24· · · · He is our outside counsel.
25· ·JAMES STANG:

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·1· · · · And what firm is he employed by?
·2· ·FATHER PATRICK CARR:
·3· · · · Denechaud.
·4· ·JAMES STANG:
·5· · · · And what is their role in the representation of
·6· ·the Archdiocese?· What do they do for the
·7· ·Archdiocese?· Do you know, Father Carr?
·8· ·FATHER PATRICK CARR:
·9· · · · Outside legal counsel.
10· ·JAMES STANG:
11· · · · And I understand that.· But what kind of advice
12· ·do they provide to you?· Are they defense counsel in
13· ·personal injury matters?· Are they corporate
14· ·counsel?· What generally is their --
15· ·FATHER PATRICK CARR:
16· · · · I do not know.· I do not know.
17· ·JAMES STANG:
18· · · · And just so you understand, when I hear I don't
19· ·know, I am assuming the other two witnesses don't
20· ·know either.· That's part of that ground rule.
21· ·KATHLEEN ZUNIGA:
22· · · · Mr. Stang, this is Ms. Zuniga.· Denechaud and
23· ·Denechaud has assisted the Archdiocese in various
24· ·matters with respect -- legal matters throughout the
25· ·years, is my understanding, and primarily more as

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·1· ·corporate counsel.
·2· ·JAMES STANG:
·3· · · · Thank you.· Anyone else in the room besides the
·4· ·additional folks, Father Carr, that you have
·5· ·identified?
·6· ·FATHER PATRICK CARR:
·7· · · · Yes.· There is Lee Eagan.
·8· ·JAMES STANG:
·9· · · · Okay.· I don't know if Lee Eagan is a man or a
10· ·woman, but what is that person's relationship to the
11· ·Archdiocese?
12· ·FATHER PATRICK CARR:
13· · · · Well, I can say, he is a man.· And he is on
14· ·the -- he heads the special committee for the
15· ·Archdiocese.
16· ·JAMES STANG:
17· · · · And what is the function of that special
18· ·committee?
19· · · · · · · ·(Background music playing.)
20· ·FATHER PATRICK CARR:
21· · · · It's to look at various finances for the
22· ·Archdiocese.
23· ·AMANDA GEORGE:
24· · · · I'm sorry, Mr. Stang.· It appears we have been
25· ·put on hold again.· I had to ask everyone this, but

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·1· ·can we hang up and call back and proceed with the
·2· ·questioning?
·3· ·JAMES STANG:
·4· · · · It's heavenly music.· It's very appropriate.
·5· ·AMANDA GEORGE:
·6· · · · Maybe it's a sign.· Okay.· So let's all hang up
·7· ·and call back in.· And I appreciate your patience
·8· ·and accommodation.
·9· · · · · · · (Short break in proceedings.)
10· ·AMANDA GEORGE:
11· · · · Hello, everyone.· This is Amanda George from
12· ·the US Trustee's office.· Do we have the debtor
13· ·present?· It looks like they are dialing in.· While
14· ·they dial in, may I remind everyone to please place
15· ·your phones on mute.· Do not place your phones on
16· ·hold.· It interrupts our recording as your hold
17· ·music, while lovely, makes it impossible for us to
18· ·continue with our meeting today.
19· · · · Do we have the debtor connected?· Mr. Stang,
20· ·are you connected?
21· ·JAMES STANG:
22· · · · I am, Ms. George.
23· ·AMANDA GEORGE:
24· · · · Thank you.· And thank you all for your
25· ·patience.

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·1· ·GERALD MEUNIER:
·2· · · · Ms. George, can you hear me?
·3· ·AMANDA GEORGE:
·4· · · · Yes.
·5· ·GERALD MEUNIER:
·6· · · · This is Jerry Meunier.· I am representing one
·7· ·of the abuse victims who is a member of the
·8· ·creditors committee.· I sent an an e-mail, and I am
·9· ·not sure I am in the queue for questioning.                           I
10· ·thought we would all be asking questions before
11· ·Mr. Stang.
12· ·AMANDA GEORGE:
13· · · · I'm sorry.· I did not have your name on the
14· ·list, Mr. Meunier.· And I apologize for that.
15· ·JAMES STANG:
16· · · · Ms. George, I would be happy to yield to
17· ·Mr. Meunier so he can ask his questions.
18· ·AMANDA GEORGE:
19· · · · Okay.· And I think we are still --
20· ·GERALD MEUNIER:
21· · · · I just have a few.
22· ·AMANDA GEORGE:
23· · · · I don't know if we have -- do we have the
24· ·debtor on the line yet?· All right.· It looks like
25· ·they haven't connected yet.· Mr. Meunier, I

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·1· ·apologize.· But we will let you go as soon as the
·2· ·debtor is connected.
·3· ·GERALD MEUNIER:
·4· · · · Thank you.
·5· ·MARK MINTZ:
·6· · · · I apologize.· We are back.· The debtor is back.
·7· ·AMANDA GEORGE:
·8· · · · Great.· So Mr. Meunier, who represents a
·9· ·survivor, got passed over, so Mr. Stang has very
10· ·generously allowed him to hop in and ask his few
11· ·questions before we jump back to Mr. Stang.
12· · · · So Mr. Meunier, can you state your full name
13· ·and then proceed?
14· ·GERALD MEUNIER:
15· · · · Yes.· This is Gerald Meunier with the law firm
16· ·of Gainsburgh Benjamin, and I represent Pat Moody, a
17· ·clergy abuse survivor who is a member of the
18· ·unsecured creditors committee.
19· ·AMANDA GEORGE:
20· · · · All right.· You can proceed.
21· ·GERALD MEUNIER:
22· · · · Yeah, I just have a few questions, really
23· ·dealing with clarification on the reference to
24· ·allowed claims.
25· · · · First, in the bankruptcy petition, section 14,

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·1· ·there is an estimated number of creditors checked by
·2· ·the Archdiocese.· Is that estimated number of
·3· ·between 10,000 and 25,000 creditors based on the
·4· ·number of creditors expected to have allowed claims
·5· ·in the bankruptcy?
·6· ·FATHER PATRICK CARR:
·7· · · · I just, I don't know that answer.
·8· ·AMANDA GEORGE:
·9· · · · And who is speaking, please?
10· ·GERALD MEUNIER:
11· · · · I'm sorry, who was responding?
12· ·FATHER PATRICK CARR:
13· · · · This is Father Carr.
14· ·GERALD MEUNIER:· And is it true that all of the
15· ·other witnesses today would likewise respond that
16· ·they do not know the answer to my question?
17· ·KATHLEEN ZUNIGA:
18· · · · And not readily, no.
19· ·JEFFREY ENTWISLE:
20· · · · That is correct.
21· ·GERALD MEUNIER:
22· · · · Father Carr, when you signed the petition then,
23· ·you did not know the basis for that estimate between
24· ·10,000 and 25,000 creditors.
25· ·MARK MINTZ:

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·1· · · · That is not what he testified to.· This is
·2· ·Mr. Mintz.
·3· ·GERALD MEUNIER:
·4· · · · Well, I am just asking for clarification.· Did
·5· ·you not know the basis for the estimate at the time
·6· ·you signed the petition?
·7· ·FATHER PATRICK CARR:
·8· · · · Did not.
·9· ·GERALD MEUNIER:
10· · · · Likewise, in section 16 of the petition that
11· ·you signed, Father Carr, you estimate liabilities
12· ·between 100- and 500,000,000.· Did that estimate
13· ·have, as a basis, the number of creditors expected
14· ·to have allowed claims?
15· ·FATHER PATRICK CARR:
16· · · · Yes.
17· ·GERALD MEUNIER:
18· · · · In connection with the commitment of the
19· ·Archdiocese debtor to pay 100 percent of allowed
20· ·claims of sex abuse survivors and that term, allowed
21· ·claims, as defined in the bankruptcy code, does the
22· ·Archdiocese intend to reserve its statute of
23· ·limitation defenses in those cases?
24· ·FATHER PATRICK CARR:
25· · · · I don't know.· I don't know that answer.

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·1· ·GERALD MEUNIER:
·2· · · · Is that Father Carr saying I don't know?
·3· ·FATHER PATRICK CARR:
·4· · · · Yes.· Yes, it is.
·5· ·MARK MINTZ:
·6· · · · Yes.
·7· ·GERALD MEUNIER:
·8· · · · And do the other witnesses join in the response
·9· ·of, I don't know the answer to that question?
10· ·KATHLEEN ZUNIGA:
11· · · · Correct.· I do not know.· This is Ms. Zuniga.
12· ·JEFFREY ENTWISLE:
13· · · · This is Jeff Entwisle.· Yes, I agree with that.
14· ·GERALD MEUNIER:
15· · · · Final question:· In the plan for
16· ·reorganization, will the Archdiocese recognized the
17· ·medical and scientific authority validating the
18· ·phenomenon of repressed memory, specifically in
19· ·cases where a minor has been subjected to sexual
20· ·abuse?
21· ·FATHER PATRICK CARR:
22· · · · I don't know.
23· ·GERALD MEUNIER:
24· · · · I'm sorry.· Is that Father Carr saying I don't
25· ·know?

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·1· ·FATHER PATRICK CARR:
·2· · · · Yes.· Father Carr.
·3· ·GERALD MEUNIER:
·4· · · · And the other witnesses also say I don't know
·5· ·to that question?
·6· ·KATHLEEN ZUNIGA:
·7· · · · Yes.
·8· ·JEFFREY ENTWISLE:
·9· · · · That's correct.
10· ·GERALD MEUNIER:
11· · · · Is there some point in these proceedings when,
12· ·Father Carr, you expect to know the answer to these
13· ·questions?
14· ·FATHER PATRICK CARR:
15· · · · I don't know.
16· ·GERALD MEUNIER:
17· · · · Thank you, Ms. George.· That's all I have.
18· ·AMANDA GEORGE:
19· · · · All right.· Thank you, Mr. Meunier.· We
20· ·appreciate your participation.· And now we will give
21· ·the floor back to Mr. Stang on behalf of the
22· ·unsecured creditor committee.
23· ·JAMES STANG:
24· · · · Thank you, Ms. George.· Father Carr, I think we
25· ·left off with you telling me that Lee Eagan was in

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·1· ·the room with you and the other witnesses and
·2· ·Mr. Mintz.· What is Mr. Eagan's relationship to the
·3· ·Archdiocese?
·4· ·FATHER PATRICK CARR:
·5· · · · He is the chairperson of the special committee
·6· ·on finances.
·7· ·JAMES STANG:
·8· · · · Is that his only relationship to the
·9· ·Archdiocese?
10· ·FATHER PATRICK CARR:
11· · · · He is also on the finance committee.
12· ·JAMES STANG:
13· · · · And those are his two capacities; is that
14· ·correct?
15· ·FATHER PATRICK CARR:
16· · · · That is correct.
17· ·JAMES STANG:
18· · · · Is Mr. Eagan a director of the captive
19· ·insurance company of the Archdiocese?
20· ·FATHER PATRICK CARR:
21· · · · Yes.
22· ·JAMES STANG:
23· · · · Do you think that that is a relationship that
24· ·he has with the Archdiocese?
25· ·FATHER PATRICK CARR:

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·1· · · · Could you repeat that question again?
·2· ·JAMES STANG:
·3· · · · Well, I asked you what his relationships were
·4· ·with the Archdiocese.· You gave me two instances.
·5· ·You have now indicated you knew he was also the
·6· ·director of the indemnity company.· And my question
·7· ·is:· Do you think that that role, being a director
·8· ·of the indemnity corporation, which I understand is
·9· ·wholly owned by the Archdiocese, is a relationship
10· ·that he has with the Archdiocese?
11· ·FATHER PATRICK CARR:
12· · · · The captive is not a debtor entity.
13· ·JAMES STANG:
14· · · · I understand that.· That's not what I asked
15· ·you.· I asked you if he had a relationship with the
16· ·Archdiocese.· You gave me two instances.· You did
17· ·not tell me he was a director of the indemnity
18· ·company.· I'm asking you if you consider that a
19· ·relationship with the Archdiocese.
20· ·FATHER PATRICK CARR:
21· · · · It's -- I -- it's not a debtor entity, so I --
22· ·that's my answer.
23· ·JAMES STANG:
24· · · · Okay.· In my understanding, you said no, you
25· ·don't think that's a relationship with the

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·1· ·Archdiocese.· Is there anyone else in the room with
·2· ·you besides the people you have identified?
·3· ·FATHER PATRICK CARR:
·4· · · · There is one more.· Wayne Zeringue.
·5· ·JAMES STANG:
·6· · · · And what is Mr. Zeringue's relationship to the
·7· ·Archdiocese?
·8· ·FATHER PATRICK CARR:
·9· · · · He is an attorney for Jones Walker.
10· ·JAMES STANG:
11· · · · Got it.· Father Carr, have you or any of the
12· ·witnesses at today's meeting received any written
13· ·notes from anyone in the room who is not a lawyer?
14· ·FATHER PATRICK CARR:
15· · · · No.
16· ·JAMES STANG:
17· · · · Okay.· If you do receive any written notes from
18· ·anyone in the room who is not a lawyer on behalf of,
19· ·an Archdiocese lawyer, I would ask that you maintain
20· ·those notes as a document of the Archdiocese.
21· · · · So Father Carr, your declaration -- I'm sorry.
22· ·It anyone disagrees with that request, I guess I
23· ·would like to know that.
24· · · · Okay.· Father Carr, your declaration didn't
25· ·tell us much about your background.· Can you tell me

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·1· ·what your post high school education is?
·2· ·FATHER PATRICK CARR:
·3· · · · Yes.· I went to -- I graduated with a bachelor
·4· ·in accounting.
·5· ·JAMES STANG:
·6· · · · From what school?
·7· ·FATHER PATRICK CARR:
·8· · · · LSU.· Louisiana State University.
·9· ·JAMES STANG:
10· · · · Do you have any professional certificates or
11· ·licenses outside of those you may have as a priest?
12· ·FATHER PATRICK CARR:
13· · · · I do.
14· ·JAMES STANG:
15· · · · What are those?
16· ·FATHER PATRICK CARR:
17· · · · I am a CPA.· A certified public accountant.
18· ·JAMES STANG:
19· · · · Okay.· Was there someone who occupied the role
20· ·of vicar of finance before you were appointed to
21· ·that position?
22· ·FATHER PATRICK CARR:
23· · · · No.
24· ·JAMES STANG:
25· · · · And why did the Archdiocese create that

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·1· ·position back in July when I understand you took on
·2· ·that office?
·3· ·FATHER PATRICK CARR:
·4· · · · They just, the Archbishop felt like they needed
·5· ·someone to oversee the finances as a whole.
·6· ·JAMES STANG:
·7· · · · And how does your responsibility differ from
·8· ·Mr. Entwisle's?
·9· ·FATHER PATRICK CARR:
10· · · · He is more day-to-day, and I am more of just an
11· ·overall picture, looking at it.
12· ·JAMES STANG:
13· · · · So given your experience, given your education
14· ·and your CPA license, can you give me an analogous
15· ·position in the corporate world to the function you
16· ·serve in the Archdiocese as vicar of finance?
17· ·FATHER PATRICK CARR:
18· · · · No.· Not really.
19· ·AMANDA GEORGE:
20· · · · Mr. Stang, I hate to interrupt, but can
21· ·everyone mute their phones please?· We can hear some
22· ·typing in the background.· Thank you.
23· ·JAMES STANG:
24· · · · Father Carr, what parish are you associated
25· ·with?

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·1· ·FATHER PATRICK CARR:
·2· · · · St. Peter Parish in Covington, Louisiana.
·3· ·JAMES STANG:
·4· · · · And do you have an office in the chancery
·5· ·building?
·6· ·FATHER PATRICK CARR:
·7· · · · I do.
·8· ·JAMES STANG:
·9· · · · And do you have an office at the parish?
10· ·FATHER PATRICK CARR:
11· · · · I do.
12· ·JAMES STANG:
13· · · · Okay.· Father Carr, who asked you to be the
14· ·authorized officer as defined in the corporate
15· ·resolution that is attached to the bankruptcy
16· ·petition?
17· ·FATHER PATRICK CARR:
18· · · · The Archbishop.
19· ·JAMES STANG:
20· · · · And why did he ask you to have that role as
21· ·opposed to, say, Mr. Entwisle?
22· ·FATHER PATRICK CARR:
23· · · · I don't know.
24· ·JAMES STANG:
25· · · · Did you ask him why he was asking you to serve

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·1· ·in that capacity?
·2· ·FATHER PATRICK CARR:
·3· · · · I never asked him why.
·4· ·JAMES STANG:
·5· · · · Okay.· Father Carr, who approves archdiocesan
·6· ·settlements with -- who at the Archdiocese approves
·7· ·archdiocesan settlements with sexual abuse
·8· ·survivors.
·9· ·FATHER PATRICK CARR:
10· · · · I don't know that.
11· ·JAMES STANG:
12· · · · Again, I am assuming that none of the witnesses
13· ·know when Father Carr says he doesn't know.· And so
14· ·I just, I thought that was an important question,
15· ·and an important answer, and so I just wanted to
16· ·reiterate my understanding of how we are proceeding
17· ·today.
18· ·KATHLEEN ZUNIGA:
19· · · · I don't know --
20· ·JAMES STANG:
21· · · · Father Carr, do you -- I'm sorry.
22· ·KATHLEEN ZUNIGA:
23· · · · Just, I don't know.· This is Ms. Zuniga.
24· ·JEFFREY ENTWISLE:
25· · · · This is Mr. Entwisle.· Typically, that would

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·1· ·run through legal.
·2· ·JAMES STANG:
·3· · · · Well, I asked about who at the Archdiocese
·4· ·approves the settlement.· So what is it -- who is,
·5· ·quote, at legal, who is an employee of the
·6· ·Archdiocese?
·7· ·JEFFREY ENTWISLE:
·8· · · · As we stated earlier, Susie Zeringue.
·9· ·AMANDA GEORGE:
10· · · · And who is speaking?
11· ·JEFFREY ENTWISLE:
12· · · · This is Jeff Entwisle.
13· ·AMANDA GEORGE:
14· · · · Thank you.
15· ·JAMES STANG:
16· · · · I'm sorry, Mr. Entwisle.· Remind me who she is?
17· ·JEFFREY ENTWISLE:
18· · · · I'm sorry?
19· ·JAMES STANG:
20· · · · Remind me who that person is.
21· ·JEFFREY ENTWISLE:
22· · · · She is our in-house legal counsel.
23· ·JAMES STANG:
24· · · · Got it.· Does the archdiocesan finance
25· ·committee consult with her regarding the

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·1· ·settlements?
·2· ·JEFFREY ENTWISLE:
·3· · · · This is Jeff Entwisle.· They do not.
·4· ·JAMES STANG:
·5· · · · Does the bishop consult with her regarding the
·6· ·settlements?
·7· ·JEFFREY ENTWISLE:
·8· · · · I don't know the answer to that.
·9· ·JAMES STANG:
10· · · · Does anyone who is a layperson -- does any
11· ·nonattorney at the Archdiocese consult with her
12· ·regarding sex abuse settlements?
13· ·JEFFREY ENTWISLE:
14· · · · Again, I do not know the answer to that.
15· ·JAMES STANG:
16· · · · Okay.· Father Carr, are you aware that the
17· ·committee asked Bishop Aymond to be at the meeting
18· ·today?
19· ·FATHER PATRICK CARR:
20· · · · I was -- I am not aware.
21· ·JAMES STANG:
22· · · · Anyone else was the witness aware that we --
23· ·that the committee asked Bishop Aymond to appear?
24· ·KATHLEEN ZUNIGA:
25· · · · This is Ms. Zuniga.· I was aware that he was

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·1· ·asked to appear.
·2· ·JEFFREY ENTWISLE:
·3· · · · And this is Jeff Entwisle.· I was not aware.
·4· ·JAMES STANG:· Okay.· Ms. Zuniga, or any of you, do
·5· ·you know where Bishop Aymond is this morning?
·6· ·KATHLEEN ZUNIGA:
·7· · · · I do not know.
·8· ·JEFFREY ENTWISLE:
·9· · · · This is Mr. Entwisle.· I do not know either.
10· ·JAMES STANG:
11· · · · Father Carr, do you know if Bishop Aymond
12· ·reviewed the schedules of assets and liabilities
13· ·before they were filed in the bankruptcy court?
14· ·FATHER PATRICK CARR:
15· · · · I do not know.
16· ·JAMES STANG:
17· · · · And do you know if he reviewed the statement of
18· ·financial affairs before they were filed with the
19· ·bankruptcy court?
20· ·FATHER PATRICK CARR:
21· · · · I do not know.
22· ·JAMES STANG:
23· · · · Father Carr, I heard Ms. George's statements
24· ·about the impact of the global notes and that the US
25· ·Trustees did not consider them part of the schedules

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·1· ·and part of the statement of financial affairs.· Is
·2· ·it the debtor's intention to amend either of those
·3· ·documents on the basis of her statement that the
·4· ·global notes are not applicable?
·5· ·FATHER PATRICK CARR:
·6· · · · No.
·7· ·JAMES STANG:
·8· · · · Okay.· So when there was testimony that fully
·9· ·depreciated -- the global notes say, for example,
10· ·fully depreciated assets are not scheduled.· The
11· ·schedules require that the Archdiocese disclose all
12· ·of its assets.· Is the Archdiocese intending to
13· ·amend the schedules to add these fully depreciated
14· ·assets?
15· ·FATHER PATRICK CARR:
16· · · · If you would like us to, Mr. Stang, we
17· ·certainly can.
18· ·JAMES STANG:
19· · · · Well, no.· I'm asking you what you intend to
20· ·do.· I'm not asking you what I would like you to do.
21· ·I know what I would like you to do.
22· ·MARK MINTZ:
23· · · · It is not our intention to do so, Mr. Stang.
24· ·That's Mr. Mintz.
25· ·JAMES STANG:

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 ·1· · · · And by the way, because we don't have the
 ·2· ·opportunity to see any of you folks, and I'm
 ·3· ·starting to hear the distinction in your voices; but
 ·4· ·Mr. Mintz, if you could at least identify yourself
 ·5· ·so that anyone who transcribes this tape understands
 ·6· ·when you are speaking, since you are not sworn in, I
 ·7· ·would appreciate that.
 ·8· · · · So Father Carr, is the Archdiocese insolvent?
 ·9· ·FATHER PATRICK CARR:
 10· · · · No, it is not insolvent.
 11· ·JAMES STANG:
 12· · · · Why did it file bankruptcy if it was not
 13· ·insolvent?
 14· ·FATHER PATRICK CARR:
 15· · · · Our intent was to pay 100 percent of all
 16· ·allowed claims.· That's right.
 17· ·JAMES STANG:
 18· · · · Do you need to be in bankruptcy to pay
 19· ·100 percent of -- well, actually, I would like to
 20· ·hold that question for a moment.· That term, allowed
 21· ·claims, has been used repeatedly.· You have affirmed
 22· ·the statement right Mr. Mintz that he made at the
 23· ·beginning.· You have used it in response to other
 24· ·questions, and you just used it in response to my
 25· ·question.· What is your understanding of an allowed

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 ·1· ·claim?
 ·2· ·FATHER PATRICK CARR:
 ·3· · · · It is a claim allowed by the courts, according
 ·4· ·to the bankruptcy code.
 ·5· ·JAMES STANG:
 ·6· · · · Okay.· Well, you answered my question by --
 ·7· ·you're asking for a definition by using the same
 ·8· ·term.
 ·9· · · · What is an allowed -- what is your
 10· ·understanding of an allowed claim?
 11· ·FATHER PATRICK CARR:
 12· · · · Mr. Stang, that is my answer right there.
 13· ·That's my understanding.
 14· ·JAMES STANG:· Okay.· What are the terms -- what are
 15· ·the considerations of the bankruptcy court in
 16· ·determining whether a claim is allowed?
 17· ·KATHLEEN ZUNIGA:
 18· · · · Mr. Stang, this is Ms. Zuniga.· I would like to
 19· ·respond to that.
 20· ·JAMES STANG:
 21· · · · Sure.
 22· ·KATHLEEN ZUNIGA:
 23· · · · You know, there are accountants and there are
 24· ·lawyers, and there is a very fine line when you are
 25· ·an accountant, especially a CPA, with practicing

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 ·1· ·law.· We do not practice law, and that is why we
 ·2· ·have attorneys present to help us and advise us and
 ·3· ·work with the bankruptcy court to help determine and
 ·4· ·define the bankruptcy code and what is an allowed
 ·5· ·claim.
 ·6· ·JAMES STANG:
 ·7· · · · Thank you.· Father Carr, do you know what
 ·8· ·considerations the Court takes -- what the Court
 ·9· ·considers in determining whether or not a claim is
 10· ·allowed?
 11· ·FATHER PATRICK CARR:
 12· · · · I do not know.
 13· ·JAMES STANG:
 14· · · · Okay.· Are you aware that the court can
 15· ·consider prescription in determining whether or not
 16· ·a claim is allowed?
 17· ·FATHER PATRICK CARR:
 18· · · · I am not aware.
 19· ·JAMES STANG:
 20· · · · Okay.· Who at the Archdiocese will make the
 21· ·decision as to whether or not prescription will be
 22· ·raised as a defense to the sexual abuse claims?
 23· ·FATHER PATRICK CARR:
 24· · · · I don't know that answer.
 25· ·JAMES STANG:

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 ·1· · · · Okay.· Who at the Archdiocese, other than
 ·2· ·counsel, makes the decision regarding defending
 ·3· ·pending sexual abuse litigation?
 ·4· ·FATHER PATRICK CARR:
 ·5· · · · I don't know.· I don't know that answer.
 ·6· ·JAMES STANG:
 ·7· · · · So none of the witnesses today know who at the
 ·8· ·Archdiocese makes the decision regarding legal
 ·9· ·defenses to filed claims outside of counsel.· Is
 10· ·that -- I just want to make sure I understand that,
 11· ·no one knows who does that?
 12· ·FATHER PATRICK CARR:
 13· · · · That's correct.
 14· ·JAMES STANG:
 15· · · · So Father Carr, the Archdiocese is solvent
 16· ·insofar as allowed claims are concerned.· What does
 17· ·the Bankruptcy Court -- what does the bankruptcy
 18· ·process do about --
 19· ·FATHER PATRICK CARR:
 20· · · · This is --
 21· ·JAMES STANG:
 22· · · · Well, I'm sorry.· Let me change the question,
 23· ·please.
 24· · · · If the Archdiocese was not in bankruptcy, would
 25· ·it be solvent?

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 ·1· ·FATHER PATRICK CARR:
 ·2· · · · Yes.
 ·3· ·JAMES STANG:
 ·4· · · · So it is solvent outside of the bankruptcy
 ·5· ·process and it is solvent given the possible outcome
 ·6· ·of the bankruptcy process?
 ·7· ·FATHER PATRICK CARR:
 ·8· · · · Yes.
 ·9· ·JAMES STANG:
 10· · · · And I know I asked you this question before,
 11· ·but we've had a few questions in between and I just
 12· ·want to ask you one time again:· Why did the
 13· ·Archdiocese file bankruptcy if it was solvent
 14· ·without the bankruptcy process?
 15· ·FATHER PATRICK CARR:
 16· · · · Like I said once before, to pay 100 percent of
 17· ·our allowed claims.
 18· ·JAMES STANG:
 19· · · · Why couldn't you pay 100 percent of the
 20· ·claims --
 21· ·FATHER PATRICK CARR:
 22· · · · Mr. Stang, I'm not an attorney.· I can't answer
 23· ·that.
 24· ·JAMES STANG:
 25· · · · I'm not asking you a legal question.· I'm

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 ·1· ·asking you why -- I don't think I am.· I'm asking
 ·2· ·you why the Archdiocese could not pay its
 ·3· ·liabilities without the bankruptcy process.
 ·4· ·FATHER PATRICK CARR:
 ·5· · · · Again, Mr. Stang, I don't know that answer.
 ·6· ·JAMES STANG:
 ·7· · · · All right.· Thank you.· In the global notes --
 ·8· ·no, I'm just going to follow up on a couple of the
 ·9· ·questions people asked.
 10· · · · What is the relationship with Christopher Homes
 11· ·to the Archdiocese?
 12· ·FATHER PATRICK CARR:
 13· · · · Christopher Homes is an independent agency.
 14· ·They are separately incorporated.
 15· ·JAMES STANG:
 16· · · · And is there anyone -- so is there a
 17· ·relationship between Christopher Homes and the
 18· ·Archdiocese at all?
 19· ·FATHER PATRICK CARR:
 20· · · · Define the Archdiocese.
 21· ·JAMES STANG:
 22· · · · Well, I heard before that the Archdiocese is a
 23· ·Louisiana corporation, so let's start with that one.
 24· ·FATHER PATRICK CARR:
 25· · · · There's two separately independent

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 ·1· ·corporations.
 ·2· ·JAMES STANG:
 ·3· · · · Okay.· Are there any overlapping officers?
 ·4· ·FATHER PATRICK CARR:
 ·5· · · · Yes.
 ·6· ·JAMES STANG:
 ·7· · · · Okay.· Who are they?
 ·8· ·FATHER PATRICK CARR:
 ·9· · · · I don't know.
 10· ·JAMES STANG:
 11· · · · Is the Archbishop one of them?
 12· ·FATHER PATRICK CARR:
 13· · · · I don't know that answer.
 14· ·JAMES STANG:
 15· · · · And I assume none of the witnesses in the room
 16· ·are overlapping officers of Christopher Homes?· Is
 17· ·that correct?
 18· ·MARK MINTZ:
 19· · · · That is correct.
 20· ·JAMES STANG:
 21· · · · Are there any overlapping directors between
 22· ·Christopher Homes and the Archdiocese?
 23· ·JEFFREY ENTWISLE:
 24· · · · Yes.· I am.· This is Jeff Entwisle.
 25· ·JAMES STANG:

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 ·1· · · · Okay.· And Mr. Entwisle, what is the mission or
 ·2· ·the business of Christopher Homes?
 ·3· ·JEFFREY ENTWISLE:
 ·4· · · · Affordable housing for the elderly.
 ·5· ·JAMES STANG:
 ·6· · · · Is the Archdiocese responsible for any of the
 ·7· ·debts or liabilities of Christopher Homes?
 ·8· ·JEFFREY ENTWISLE:
 ·9· · · · No.· The Archdiocese is not.
 10· ·JAMES STANG:
 11· · · · So if Christopher Homes property -- does the
 12· ·Christopher Homes property have any secured debt
 13· ·against its assets?
 14· ·JEFFREY ENTWISLE:
 15· · · · Yes.· It's had loans against the assets.
 16· ·JAMES STANG:
 17· · · · Okay.· And if Christopher Holmes' assets were
 18· ·sold for a value in excess of the claims against it,
 19· ·what happens to that proceeds of sale?
 20· ·MARK MINTZ:
 21· · · · Mr. Stang, can I ask the question -- this is
 22· ·Mr. Mintz -- as to why we are talking about a
 23· ·non-debtor entity at this point, especially about
 24· ·how it would use its assets?
 25· ·JAMES STANG:

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 ·1· · · · Sure.· I would be happy to.· Someone before
 ·2· ·asked if there was any interest or if the
 ·3· ·Archdiocese had responded to any offers for the sale
 ·4· ·of Christopher Homes, and I'm trying to understand
 ·5· ·the relationship between Christopher Homes and the
 ·6· ·Archdiocese.
 ·7· ·MARK MINTZ:
 ·8· · · · And I think we have given you that.· So --
 ·9· ·JAMES STANG:
 10· · · · I know.· That's why I'm asking.
 11· ·MARK MINTZ:
 12· · · · I guess my concern is, if we have not given you
 13· ·what that relationship is, if we really need to go
 14· ·into how all of its finances work and how it
 15· ·received different pieces -- or how it would deal
 16· ·with monies that it may or may not receive.
 17· ·JAMES STANG:
 18· · · · Well, frankly, I had found that some of my
 19· ·questions seemed to elicit responses.· For example,
 20· ·the role of the Mr. Eagan was not included in the
 21· ·initial answers to the relationship, and it turns
 22· ·out that he is the director of the captive insurance
 23· ·company.· So I am asking these questions to see if I
 24· ·can prod any memories of the witnesses if it doesn't
 25· ·occur to them in response to my initial question.

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 ·1· ·That's why I am asking.
 ·2· · · · But let's move on to the schedules themselves.
 ·3· ·I just want to make sure -- okay.· Sorry.· I just
 ·4· ·wanted to check to see if there was anything.
 ·5· · · · Father Carr, do you have any training in the
 ·6· ·area of -- I'm sorry.· Do you have any specialized
 ·7· ·training in consulting with sexual abuse survivors.
 ·8· ·FATHER PATRICK CARR:
 ·9· · · · I do not.
 10· ·JAMES STANG:
 11· · · · All right.· I would like to turn to the global
 12· ·notes for a moment.· Paragraph three refers to the
 13· ·net book value of assets.· Can you tell me -- and it
 14· ·makes a distinction between net book values and fair
 15· ·market values.· Can you tell me what definition you
 16· ·use for net book value?· And when I say you, I meant
 17· ·the Archdiocese.
 18· ·KATHLEEN ZUNIGA:
 19· · · · So net book value is the recorded value that is
 20· ·on the books of the debtor.
 21· ·JAMES STANG:
 22· · · · And is that recorded value based on the value
 23· ·at the time that the Archdiocese acquired an
 24· ·interest in the property?
 25· ·KATHLEEN ZUNIGA:

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 ·1· · · · That would be based on the value at the time.
 ·2· ·Exactly.
 ·3· ·JAMES STANG:
 ·4· · · · So just a hypothetical:· If the Archdiocese
 ·5· ·received a piece of property in 1962 and in 1962 it
 ·6· ·was worth $100,000, assuming it still owns that
 ·7· ·property, is that property still reflected as net
 ·8· ·book value of $100,000?
 ·9· ·KATHLEEN ZUNIGA:
 10· · · · That is correct.· That is what gap would
 11· ·require.
 12· ·JAMES STANG:
 13· · · · Okay.· Mr. Mintz made a comment at the
 14· ·beginning that lots of resources were used to do the
 15· ·schedules, and each of you has said that you agree
 16· ·with that statement.· When I look at the schedule of
 17· ·real estate owned by the Archdiocese, perhaps there
 18· ·are one or two exceptions, but substantially all of
 19· ·them say that the value is undetermined.
 20· · · · Father Carr, would you please tell me what
 21· ·resources the Archdiocese used, if any, to determine
 22· ·the value of any of the property that is scheduled
 23· ·in that matter?
 24· ·FATHER PATRICK CARR:
 25· · · · I would like to defer to Kathleen Zuniga.

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 ·1· ·KATHLEEN ZUNIGA:
 ·2· · · · So the book value to us, as we started
 ·3· ·preparing these schedules, really didn't have a lot
 ·4· ·of meaning, given a lot of these properties date
 ·5· ·back to the late 19th, early 20th century.· And so,
 ·6· ·the Archdiocese has actually engaged both an
 ·7· ·appraisal company and an abstract company to value
 ·8· ·the company and to ensure -- you know, there are
 ·9· ·no -- because there are no property tax bills, the
 10· ·Archdiocese isn't subject to paying ad valorem tax,
 11· ·there are no current assessed values of all of these
 12· ·properties.· And so we don't have those.· Due to
 13· ·Covid-19 and, you know, the six weeks that we had to
 14· ·put these schedules together, we were not able to,
 15· ·just due to the limited operations of the Court and
 16· ·the various resources available that would be
 17· ·required to pull fair value or get an updated value
 18· ·of these properties, we did not -- we were not able
 19· ·to put that value yet.· But we intend to update and
 20· ·obtain more current real estate fair values for
 21· ·these properties.
 22· ·JAMES STANG:
 23· · · · What court resources are necessary for the
 24· ·Archdiocese to determine the fair market value of
 25· ·these properties?

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 ·1· ·KATHLEEN ZUNIGA:
 ·2· · · · And appraisal company and an abstract company
 ·3· ·is my ...
 ·4· ·JAMES STANG:
 ·5· · · · No.· But prior to the bankruptcy.
 ·6· ·KATHLEEN ZUNIGA:
 ·7· · · · There was no need to determine fair value
 ·8· ·prior.· We don't pay ad valorem -- or, the
 ·9· ·Archdiocese doesn't pay property tax.
 10· ·JAMES STANG:
 11· · · · Got it.· I understand.· Thank you.· I'm not
 12· ·familiar with the term abstract company.· Is that a
 13· ·title company?
 14· ·KATHLEEN ZUNIGA:
 15· · · · Yes.
 16· ·JAMES STANG:
 17· · · · Okay.· And what function would a title company
 18· ·have in determining the fair market value of a piece
 19· ·of property?
 20· ·KATHLEEN ZUNIGA:
 21· · · · It was the intention to confirm that the
 22· ·administrative offices held title, and confirmed
 23· ·legally these properties.
 24· ·JAMES STANG:
 25· · · · What is the distinction between the Archdiocese

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 ·1· ·as a Louisiana nonprofit corporation in the
 ·2· ·Archdiocese administrative offices?
 ·3· ·KATHLEEN ZUNIGA:
 ·4· · · · I don't know the answer to that question.
 ·5· ·JAMES STANG:
 ·6· · · · Okay.· And I apologize if it is on the docket.
 ·7· ·I don't -- I don't remember seeing it.· Has the
 ·8· ·Archdiocese filed a motion with the bankruptcy court
 ·9· ·to approve the employment of an appraiser?
 10· ·MARK MINTZ:
 11· · · · This is Mark Mintz.· It has not filed that yet.
 12· ·JAMES STANG:
 13· · · · Thank you.· Father Carr, who at the Archdiocese
 14· ·is responsible for the employment of an appraiser?
 15· ·FATHER PATRICK CARR:
 16· · · · I don't know that answer.
 17· ·JAMES STANG:
 18· · · · Okay.· Paragraph 7 of the notes referred to the
 19· ·definition of insider.· And in that definition, at
 20· ·subsection C, it includes equity holders in excess
 21· ·of 5 percent of the voting securities of the debtor.
 22· · · · Father Carr, does the Archdiocese, are there
 23· ·any voting securities of the debtor?
 24· ·FATHER PATRICK CARR:
 25· · · · I don't know the answer.

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 ·1· ·JAMES STANG:
 ·2· · · · Are there any shareholders of the debtor?
 ·3· ·JEFFREY ENTWISLE:
 ·4· · · · This is Jeff Entwisle.· No, there are not.
 ·5· ·JAMES STANG:
 ·6· · · · Okay.· So I'm going to take that that
 ·7· ·definition was part of the boilerplate that
 ·8· ·Mr. Mintz alluded to previously that some of these
 ·9· ·global notes may incorporate.
 10· · · · Paragraph 10 of the global notes says that the
 11· ·schedules and statements are without reference to
 12· ·any materialmen's or mechanic's liens.· Father Carr,
 13· ·walked to the schedules and statements not include
 14· ·those kinds of liens?
 15· ·MARK MINTZ:
 16· · · · If I may answer the question, Mr. Stang, and
 17· ·then you can confirm the answer.· Essentially, to
 18· ·the extent that they existed without us knowing, we
 19· ·wouldn't know that.· So that would be why.· There is
 20· ·possibility that there were possessory liens that we
 21· ·don't know about or didn't realize existed, and we
 22· ·just wanted to be clear about it.
 23· ·JAMES STANG:
 24· · · · So Father Carr, the note says without
 25· ·consideration of any of materialmen's liens.· It

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 ·1· ·doesn't say of any known materialmen's liens.· Were
 ·2· ·there any known materialmen's liens or mechanic's
 ·3· ·liens that were not included in the schedules or
 ·4· ·statements?
 ·5· ·FATHER PATRICK CARR:
 ·6· · · · I can't answer that question.
 ·7· ·KATHLEEN ZUNIGA:
 ·8· · · · Not to my knowledge.
 ·9· ·JEFFREY ENTWISLE:
 10· · · · Not to my knowledge.
 11· ·JAMES STANG:
 12· · · · To save the rest of you, whenever Father Carr
 13· ·says he doesn't know or not to his knowledge, I am
 14· ·going to assume that that covers both of you, so you
 15· ·don't necessarily have to say that.· But I do
 16· ·appreciate the fact that you said that.
 17· · · · All right.· Under paragraph 17, there is the
 18· ·definition of intercompany.· And my question
 19· ·there -- and it refers to obligations between the
 20· ·debtor and any affiliate of the debtor.· Are the
 21· ·parishes considered, for purposes of the schedules
 22· ·and statement of financial affairs, are the parishes
 23· ·considered an affiliate?
 24· ·KATHLEEN ZUNIGA:
 25· · · · The parishes are considered an affiliate.· But

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 ·1· ·I think the intention of this intercompany was
 ·2· ·referring to the debtor entities.· The entities that
 ·3· ·are considered the debtor entities.
 ·4· ·JAMES STANG:
 ·5· · · · Well, it actually says by the debtor -- between
 ·6· ·the debtor or any affiliate of the debtor.· So is
 ·7· ·this global note incorrect or is the schedule
 ·8· ·incorrect?
 ·9· ·KATHLEEN ZUNIGA:
 10· · · · Let me read it one more time.
 11· ·JAMES STANG:
 12· · · · Sure.· Of course.
 13· ·KATHLEEN ZUNIGA:
 14· · · · I do not believe the note is incorrect.
 15· ·JAMES STANG:
 16· · · · Okay.· Well, I guess that's okay.· Because
 17· ·apparently they don't count.· Let's see.
 18· · · · Further in the note, there are specific
 19· ·disclosures regarding individual items in the
 20· ·schedules.· And in response to schedule AB11, it
 21· ·says, Accounts receivable do not include
 22· ·intercompany receivables.
 23· · · · What other companies are -- can you identify
 24· ·those other companies that are not reflected?
 25· ·KATHLEEN ZUNIGA:

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 ·1· · · · So accounts receivable do include -- so I'm
 ·2· ·going to clarify it.· I believe that that statement
 ·3· ·is incorrect.· And we went back and forth on this in
 ·4· ·preparing the schedules.· In the spirit of
 ·5· ·transparency, we tried to mark each of the
 ·6· ·schedules.· For example, receivables between the
 ·7· ·debtor entities and receivables between affiliates
 ·8· ·or disclosed, but they were marked as such.
 ·9· ·JAMES STANG:
 10· · · · Okay.· Again, the notes of schedule AB55 says
 11· ·that the debtor did limited searches of the public
 12· ·conveyance records.· Could you describe for me,
 13· ·Father Carr, what those limited searches consisted
 14· ·of?
 15· ·FATHER PATRICK CARR:
 16· · · · I will defer to Kathleen.· Ms. Zuniga.
 17· ·KATHLEEN ZUNIGA:
 18· · · · Which number was that?· I'm sorry.
 19· ·JAMES STANG:
 20· · · · It says schedule A/B55.
 21· ·KATHLEEN ZUNIGA:
 22· · · · I believe title searches were performed, or are
 23· ·in the process of being performed.
 24· ·JAMES STANG:
 25· · · · Okay.· And then, the note -- well, we can pass

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 ·1· ·on from that.· Okay.· So schedule G -- I'm sorry.
 ·2· · · · There is a note for schedule G.· We are now, if
 ·3· ·you will, on pages eight and nine of the global
 ·4· ·notes, at least as numbered by the Court.· And it
 ·5· ·goes from page eight onto page nine.· And on page
 ·6· ·nine, in the first full paragraph, it says, Certain
 ·7· ·confidentiality and nondisclosure agreements may not
 ·8· ·be listed on schedule G.
 ·9· · · · Father Carr, the agreements that are not
 10· ·listed, would those include agreements with sexual
 11· ·abuse survivors?
 12· ·KATHLEEN ZUNIGA:
 13· · · · Yes.· This is Kathleen Zuniga.· Yes.
 14· ·JAMES STANG:
 15· · · · Okay.· Does the debtor intend to enforce
 16· ·confidentiality and nondisclosure agreements against
 17· ·sexual abuse survivors?
 18· ·KATHLEEN ZUNIGA:
 19· · · · I don't know.
 20· ·JAMES STANG:
 21· · · · Father Carr, are you aware of the fact that the
 22· ·United States Conference of Catholic Bishops
 23· ·recommends that sexual abuse survivor settlements
 24· ·not include confidentiality or nondisclosure
 25· ·agreements --

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 ·1· ·FATHER PATRICK CARR:
 ·2· · · · I am not aware of that.
 ·3· ·JAMES STANG:
 ·4· · · · -- advocated by a diocese?
 ·5· ·FATHER PATRICK CARR:
 ·6· · · · I am not aware of that.
 ·7· ·JAMES STANG:
 ·8· · · · Several dioceses around the country have said
 ·9· ·that they don't intend to hold survivors to such
 10· ·agreements, obviously thus leaving it up to the
 11· ·survivor.· Does this Archdiocese have a policy that
 12· ·is consistent with that position?
 13· ·FATHER PATRICK CARR:
 14· · · · I don't know.
 15· ·JAMES STANG:
 16· · · · Okay.· All right.
 17· ·JAMES STANG:
 18· · · · Father Carr, are you familiar with the
 19· ·archdiocesan policy manuals?
 20· ·FATHER PATRICK CARR:
 21· · · · No.· I -- no, I'm not.
 22· ·JAMES STANG:
 23· · · · Okay.· One of the sections of the archdiocesan
 24· ·policy manual is labeled finance.· Are you familiar
 25· ·with the provisions of that part of the manual?

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 ·1· ·FATHER PATRICK CARR:
 ·2· · · · I am not.
 ·3· ·JAMES STANG:
 ·4· · · · Mr. Entwisle, are you?
 ·5· ·JEFFREY ENTWISLE:
 ·6· · · · I am.
 ·7· ·JAMES STANG:
 ·8· · · · Okay.· There is a reference in, I believe it is
 ·9· ·section 17.9 of that policy manual, that long-term
 10· ·savings of the parishes are to be invested in the
 11· ·archdiocesan investment pool.· Are you aware of that
 12· ·provision?
 13· ·JEFFREY ENTWISLE:
 14· · · · I am.
 15· ·JAMES STANG:
 16· · · · Where does the archdiocesan investment pool
 17· ·appear in the schedules of assets and liabilities,
 18· ·if anywhere?
 19· ·JEFFREY ENTWISLE:
 20· · · · For the schedule, I am going to defer to
 21· ·Ms. Zuniga.
 22· ·JAMES STANG:
 23· · · · And Ms. Zuniga, maybe I can cut through.· If
 24· ·the answer is it is Portfolio A or Portfolio B, that
 25· ·would be an answer that I would understand.

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 ·1· ·KATHLEEN ZUNIGA:
 ·2· · · · Yes.· It would be Portfolio A.
 ·3· ·JAMES STANG:
 ·4· · · · Okay.· And then the 17.9 of the finance manual
 ·5· ·also says that short-term savings of the parish are
 ·6· ·on deposit with the Archdiocese, or are to be
 ·7· ·deposited with the Archdiocese.
 ·8· ·KATHLEEN ZUNIGA:
 ·9· · · · Yes.
 10· ·JAMES STANG:
 11· · · · Where do those deposits appear on the
 12· ·schedules?
 13· ·KATHLEEN ZUNIGA:
 14· · · · So those deposits for -- so those are accounted
 15· ·for in the loan and deposit fund on the Archdiocese
 16· ·books.· The depositors which -- you know, the loan
 17· ·and deposit fund operates as an internal bank for
 18· ·the archdiocesan entities; and the depositors, they
 19· ·are on a schedule, and I will have to give you the
 20· ·exact number.· But they appear as funds held for
 21· ·affiliates.
 22· ·JAMES STANG:
 23· · · · Yes, I saw them.· So that would be Portfolio B?
 24· ·KATHLEEN ZUNIGA:
 25· · · · Portfolio B is a hybrid cash management fund

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 ·1· ·that has funds pooled with excess Archdiocese
 ·2· ·operational cash as well as funds from the loan
 ·3· ·deposit funds, which are invested in cash or near
 ·4· ·cash equipment.· In portfolio --
 ·5· ·JAMES STANG:
 ·6· · · · And so B -- I'm sorry.· I apologize.
 ·7· ·KATHLEEN ZUNIGA:
 ·8· · · · No, that's okay.
 ·9· ·JAMES STANG:
 10· · · · So Portfolio B is both DLS money, deposited
 11· ·loan fund money, and archdiocesan money?
 12· ·KATHLEEN ZUNIGA:
 13· · · · Yes.
 14· ·JAMES STANG:
 15· · · · And Portfolio A also has some archdiocesan
 16· ·money in it as well; is that correct.
 17· ·KATHLEEN ZUNIGA:
 18· · · · Yes.
 19· ·JAMES STANG:
 20· · · · Okay.· So the pool is -- I'm sorry.· Help me
 21· ·here.
 22· · · · The pool is both DLF money -- pool D is DLF
 23· ·money and archdiocesan money?
 24· ·KATHLEEN ZUNIGA:
 25· · · · Yes.

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 ·1· ·JAMES STANG:
 ·2· · · · Okay.· So let's go to Portfolio A for a moment.
 ·3· ·If I ask you to show me a statement generated by an
 ·4· ·outside institution -- a bank, an investment manager
 ·5· ·firm -- for Portfolio A, is there such a single
 ·6· ·unitary document?
 ·7· ·KATHLEEN ZUNIGA:
 ·8· · · · So the investments in Portfolio A, just to give
 ·9· ·you a background, the name of the account is
 10· ·Archdiocese of New Orleans Custody Account, and they
 11· ·are held at Whitney.· Hancock Whitney Bank.· It is a
 12· ·pooled investment portfolio which consists of about,
 13· ·you know, 300, if you will, individual accounts or
 14· ·funds that are tracked between the Archdiocese --
 15· ·archdiocesan entities and the other entities that
 16· ·are not debtor entities within the diocese.· There
 17· ·are separately managed investments within this
 18· ·portfolio among 14 asset managers.· The trustee is
 19· ·Hancock Whitney, and the custodian.· They do not --
 20· ·they would not do the tracking or the calculation of
 21· ·the individual interests within this account.· That
 22· ·is actually tracked separately in a separate
 23· ·software.
 24· ·JAMES STANG:
 25· · · · Okay.· So if I'm looking at a monthly statement

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 ·1· ·for this account, all of the investments -- all of
 ·2· ·the amounts on deposit, regardless of who manages
 ·3· ·the particular -- well, let me step back for a
 ·4· ·moment.· I'm sorry.
 ·5· · · · You said there were multiple investment
 ·6· ·managers.
 ·7· ·KATHLEEN ZUNIGA:
 ·8· · · · Yes.
 ·9· ·JAMES STANG:
 10· · · · Does each investment manager generate its own
 11· ·report for the investments it's handling.
 12· ·KATHLEEN ZUNIGA:
 13· · · · Yes.
 14· ·JAMES STANG:
 15· · · · And is there a process by which those -- I
 16· ·thought you said 14, so I will just use that number.
 17· ·Is there a process by which those 14 statements are
 18· ·consolidated into one statement.
 19· ·KATHLEEN ZUNIGA:
 20· · · · Yes.· There is a master statement at Hancock
 21· ·Whitney that consolidates those investments into a
 22· ·master custody account.
 23· ·JAMES STANG:
 24· · · · Okay.· You have described the accounts to me.
 25· ·It is the Archdiocese of New Orleans, something like

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 ·1· ·that, custody account.· Who is the account holder?
 ·2· ·KATHLEEN ZUNIGA:
 ·3· · · · So the Archdiocese -- it's in the name of
 ·4· ·Archdiocese of New Orleans Custody Account.· I'm not
 ·5· ·sure what you mean by account holder.· The
 ·6· ·individual interest in the funds, obviously there
 ·7· ·are about 300 individual funds, or a little over 300
 ·8· ·funds, that are tracked within that pooled
 ·9· ·investment portfolio.
 10· ·JAMES STANG:
 11· · · · I got it.· So if I opened a custody account, I
 12· ·would have to put my name on it.· It would say James
 13· ·Stang Custody Account, but I would have to sign a
 14· ·document opening that account.· Who opened that
 15· ·account?
 16· ·KATHLEEN ZUNIGA:
 17· · · · I don't -- I don't know.
 18· ·JAMES STANG:
 19· · · · Okay.· Is there -- the investment management
 20· ·function is allocated across 14 advisors.· Are
 21· ·discrete depositor accounts given to investment
 22· ·manager number one and other accounts are given to
 23· ·investment manager number two and -- (crosstalk)
 24· ·KATHLEEN ZUNIGA:
 25· · · · No.· No.

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 ·1· ·JAMES STANG:
 ·2· · · · -- or they just pick up a bunch of money and
 ·3· ·say, Manage it?
 ·4· ·JEFFREY ENTWISLE:
 ·5· · · · They do not have discrete accounts go to them.
 ·6· ·It is just an allocation of funds.· I'm sorry, and
 ·7· ·that was Jeff Entwisle.
 ·8· ·JAMES STANG:
 ·9· · · · Thank you, Jeff.· Thank you, Mr. Entwisle.· I'm
 10· ·sorry.· I didn't mean to use your first name.
 11· ·JEFFREY ENTWISLE:
 12· · · · You can call me Jeff.
 13· ·JAMES STANG:
 14· · · · Is there -- when an entity deposits money into
 15· ·the custody account, is there an agreement between
 16· ·the account owner and the depositor?· A written
 17· ·document that evidences that relationship?
 18· ·KATHLEEN ZUNIGA:
 19· · · · I don't know.· Jeff?
 20· ·JEFFREY ENTWISLE:
 21· · · · And I'm not positive.· We would have to look at
 22· ·that.
 23· ·JAMES STANG:
 24· · · · Okay.· So if I want to make a contribution to
 25· ·Portfolio A and I called up the Archdiocese and I

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 ·1· ·said, "I have $100,000 I would like to donate.                            I
 ·2· ·would like it to go into the custody account," how
 ·3· ·do I do that?
 ·4· ·JEFFREY ENTWISLE:
 ·5· · · · What typically, for something that small,
 ·6· ·$100,000 --
 ·7· ·JAMES STANG:
 ·8· · · · That's a lot of money to me.
 ·9· ·JEFFREY ENTWISLE:
 10· · · · It's a lot of money to me also.· But remember,
 11· ·that portfolio is longer-term endowment type
 12· ·investments as opposed to the bank -- what we call
 13· ·the bank, but the deposit and loan fund -- which is
 14· ·more of an operational type fund.· More of an
 15· ·operational type account, similar to a DDA account.
 16· · · · But if somebody was going to come and put some
 17· ·funds directly into Portfolio A, that hasn't been
 18· ·done in quite a long time, because most people who
 19· ·are coming into that now are doing so through the
 20· ·Catholic Community Foundation, which is a
 21· ·participant in Portfolio A.· But they would contact
 22· ·me and we would go through the process to do so, if
 23· ·that were -- if it were appropriate for a given
 24· ·case.
 25· ·JAMES STANG:

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 ·1· · · · Mr. Entwisle, are you an officer or director of
 ·2· ·the Catholic Community Foundation?
 ·3· ·JEFFREY ENTWISLE:
 ·4· · · · No.
 ·5· ·JAMES STANG:
 ·6· · · · And are any of the witnesses today officers,
 ·7· ·directors or employees of -- I didn't ask you,
 ·8· ·Mr. Entwisle, if you're an employee.· Are you --
 ·9· ·JEFFREY ENTWISLE:
 10· · · · I am not.· I am not an employee of the Catholic
 11· ·Community Foundation, no.
 12· ·JAMES STANG:
 13· · · · Thank you.· Or any of the witnesses officers,
 14· ·directors, or employees of the Catholic Community
 15· ·Foundation?
 16· ·KATHLEEN ZUNIGA:
 17· · · · No.· This is Ms. Zuniga.
 18· ·FATHER PATRICK CARR:
 19· · · · No.· This is Father Carr.
 20· ·JAMES STANG:
 21· · · · All right.· So what I'm getting from today's
 22· ·testimony is that none of you are familiar with how
 23· ·a donor -- are not familiar with any contracts or
 24· ·documents of money that would -- I'm sorry.                           I
 25· ·apologize.

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 ·1· · · · My understanding is that none of you are
 ·2· ·familiar with how a donor would contract with or
 ·3· ·convey money directly into Portfolio A.· Is that
 ·4· ·(crosstalk) --
 ·5· ·KATHLEEN ZUNIGA:
 ·6· · · · The majority of -- yeah.
 ·7· ·JAMES STANG:
 ·8· · · · I'm sorry.
 ·9· ·KATHLEEN ZUNIGA:
 10· · · · No.· No.
 11· ·JAMES STANG:
 12· · · · Okay.· In the last five years, has any money
 13· ·been deposited into Portfolio A through the
 14· ·Archdiocese?
 15· ·JEFFREY ENTWISLE:
 16· · · · I don't know for sure.
 17· ·JAMES STANG:
 18· · · · Okay.· Hold on for one moment.· These footnotes
 19· ·are sometimes hard to find where they are listed.                              I
 20· ·would ask you to go to -- okay.
 21· · · · So let's talk about the deposit and loan funds
 22· ·for a moment.· Is that an entity under Louisiana
 23· ·law?
 24· ·KATHLEEN ZUNIGA:
 25· · · · No.

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 ·1· ·JEFFREY ENTWISLE:
 ·2· · · · No, it is not.
 ·3· ·JAMES STANG:
 ·4· · · · It is not.· It's potentially a -- it's not.· Is
 ·5· ·there a bank account where the deposit and loan fund
 ·6· ·money is kept?· Well, I know there is.· But can you
 ·7· ·identify where the deposit and loan fund monies go?
 ·8· ·KATHLEEN ZUNIGA:
 ·9· · · · The deposit -- the cash on hand in the deposit
 10· ·and loan fund is maintained in Portfolio B.
 11· ·JAMES STANG:
 12· · · · Right.· And is Portfolio B cash maintained at a
 13· ·particular bank?
 14· ·KATHLEEN ZUNIGA:
 15· · · · Yes.
 16· ·JEFFREY ENTWISLE:
 17· · · · Yes.· Hancock Whitney.
 18· ·JAMES STANG:
 19· · · · Okay.· And is it in one bank account?
 20· ·KATHLEEN ZUNIGA:
 21· · · · Yes.
 22· ·JAMES STANG:
 23· · · · And what is the name -- who owns that bank
 24· ·account?
 25· ·KATHLEEN ZUNIGA:

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 ·1· · · · Archdiocese --
 ·2· ·JAMES STANG:
 ·3· · · · In terms of the documentation.
 ·4· ·KATHLEEN ZUNIGA:
 ·5· · · · It is in the name of the -- it's the
 ·6· ·Archdiocese of New Orleans Portfolio B is the name
 ·7· ·on the account.
 ·8· ·JAMES STANG:
 ·9· · · · Okay.· And do you know who actually opened that
 10· ·account?
 11· ·KATHLEEN ZUNIGA:
 12· · · · I do not.
 13· ·JAMES STANG:
 14· · · · Okay.· Is Portfolio B an entity separate from
 15· ·the Archdiocese of New Orleans?
 16· ·JEFFREY ENTWISLE:
 17· · · · No, it is not.
 18· ·JAMES STANG:
 19· · · · Okay.· And I might have asked to this, and I
 20· ·apologize if I did.· Is Portfolio A an entity
 21· ·separate from the Archdiocese of New Orleans?
 22· ·JEFFREY ENTWISLE:
 23· · · · No, it is not.
 24· ·JAMES STANG:· Okay.· So footnote 4 on page, this is
 25· ·your number -- I can use the number in the Court

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 ·1· ·gave, but page 20 of 1298, if you have a filed copy
 ·2· ·of the document.· If you don't have a filed copy of
 ·3· ·the document, it is page 8 of 66.
 ·4· · · · And footnote 4 says, The operating account for
 ·5· ·the Archdiocese and this account -- which I think is
 ·6· ·your operating account -- is also used for transfers
 ·7· ·in and out of deposited loan funding.
 ·8· · · · So I'm going to ask you a couple of questions
 ·9· ·that, I thought it was important to point you to
 10· ·that footnote.· If I am the parish and I want to
 11· ·make a deposit into the deposit and loan fund and I
 12· ·have a check for, apparently $100,000 was not a lot
 13· ·of money, but let's stay with that.· I have a check
 14· ·for $100,000 and I want to put it into the DLF.· Who
 15· ·do I give that check to?
 16· ·JEFFREY ENTWISLE:
 17· · · · That check would be sent to Walmsley Avenue.
 18· ·JAMES STANG:
 19· · · · I'm sorry.· To who?
 20· ·JEFFREY ENTWISLE:
 21· · · · To the Archdiocese.
 22· ·JAMES STANG:
 23· · · · Okay.· And then what does the Archdiocese --
 24· ·where does the Archdiocese deposit that check?
 25· ·JEFFREY ENTWISLE:

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 ·1· · · · Into our operating account.
 ·2· ·JAMES STANG:
 ·3· · · · Okay.· And is there a practice of how long it
 ·4· ·takes from the deposit of that money and clearing
 ·5· ·into -- let's just say that the check clears the
 ·6· ·parish.· I assume it's going to.· How long does it
 ·7· ·take in general for that money to go from the
 ·8· ·operating account to the account for the deposit and
 ·9· ·loan fund?
 10· ·JEFFREY ENTWISLE:
 11· · · · Depends.
 12· ·JAMES STANG:
 13· · · · And what does it depend on?
 14· ·KATHLEEN ZUNIGA:
 15· · · · It all transfers in and out of -- when you
 16· ·talked about deposit and loan fund, are you talking
 17· ·about, there's the operating account of the
 18· ·Archdiocese and then there is Portfolio B
 19· ·investments -- right? -- which is a highly liquid
 20· ·investment.· So what he is asking is, how long
 21· ·typically before we make transfers.
 22· · · · On a monthly basis -- the deposit and loan fund
 23· ·activity, that account, Portfolio B, fluctuates
 24· ·every day as the operating account does.· Monthly,
 25· ·the deposit within the deposit and loan fund are

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 ·1· ·tracked in a separate software.· And so the
 ·2· ·balancing of the two cash accounts happens -- occurs
 ·3· ·typically on a monthly basis can occur sooner.                            I
 ·4· ·mean, the transfers can go in and out through the
 ·5· ·month.
 ·6· ·JEFFREY ENTWISLE:
 ·7· · · · And portfolio be is a cash management
 ·8· ·instrument also.· So it depends on cash possessions.
 ·9· ·JAMES STANG:
 10· · · · Okay.· When I become a depositor -- when a
 11· ·parish, I should say.· When a parish becomes a
 12· ·depositor in the deposit and loan fund, is there a
 13· ·deposit agreement executed between the parish and
 14· ·the Archdiocese?
 15· ·JEFFREY ENTWISLE:
 16· · · · There is not.
 17· ·JAMES STANG:
 18· · · · Is there any documentation other than the
 19· ·instruments transferring money, like the checks or
 20· ·wires, that evidences the relationship between the
 21· ·parish and the Archdiocese as it relates to the
 22· ·deposit and loan fund?
 23· ·JEFFREY ENTWISLE:
 24· · · · That is part of the services that are included
 25· ·in the parish services agreement.

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 ·1· ·JAMES STANG:
 ·2· · · · So I would find the relationship spelled out in
 ·3· ·the parish services agreement?
 ·4· ·JEFFREY ENTWISLE:
 ·5· · · · Yes.· Yes.
 ·6· ·JAMES STANG:
 ·7· · · · Okay.· Mr. Mintz, I don't recollect if the
 ·8· ·parish service agreement has been attached to any of
 ·9· ·the pleadings filed to date.· Can you tell me
 10· ·whether it has?
 11· ·MARK MINTZ:
 12· · · · I don't believe it has, but we can certainly
 13· ·provide you a copy.
 14· ·JAMES STANG:
 15· · · · Well, you and I have discussed with
 16· ·Mr. Boldissar a document production request.· If you
 17· ·have one easily at hand, I would appreciate seeing
 18· ·it sooner than later.· But we will include that in
 19· ·the document production request as well.
 20· ·MARK MINTZ:
 21· · · · All right.
 22· ·JAMES STANG:
 23· · · · Is there any kind of ordinary course process by
 24· ·which the parish has, say a cover letter or an
 25· ·e-mail or some kind of communication, when it

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 ·1· ·delivers the money to the Archdiocese for the DLF?
 ·2· ·FATHER PATRICK CARR:
 ·3· · · · There could be.· But each parish receives a
 ·4· ·statement on a regular basis showing their loan --
 ·5· ·I'm sorry -- their deposit position with the
 ·6· ·Archdiocese.
 ·7· ·JAMES STANG:
 ·8· · · · Okay.· I was speaking more about as the money
 ·9· ·goes in, but I understand your answer.· So now let's
 10· ·talk about when money comes out of the DLF.
 11· · · · So I am the parish.· I have $100,000 on deposit
 12· ·with the DLF, and I would like to get $20,000 out.
 13· ·Let's put aside for the moment what approvals are
 14· ·necessary for me to make that withdrawal.· I am not
 15· ·asking you whether there are or aren't approval
 16· ·processes for that.· My question really is the
 17· ·mechanics.
 18· · · · So this $20,000 withdrawal has been approved.,
 19· ·is (inaudible) approved, and I want to get my money.
 20· ·How does that work?
 21· ·FATHER PATRICK CARR:
 22· · · · The pastor would send in a request to withdraw
 23· ·that $20,000 from his funds on deposit, and we would
 24· ·send those funds, typically either a wire or an ACH.
 25· ·JAMES STANG:

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 ·1· · · · Okay.· So who is the we in that answer?
 ·2· ·FATHER PATRICK CARR:
 ·3· · · · The Archdiocese.
 ·4· ·JAMES STANG:
 ·5· · · · And the money is sitting at an account in a
 ·6· ·bank that says DLF on it.· Does that money leave the
 ·7· ·DLF account and go into the operating account and
 ·8· ·then go to the parish, or does the money travel in a
 ·9· ·different way?
 10· ·FATHER PATRICK CARR:
 11· · · · The funds that are wired out are being wired
 12· ·out of the operating account.
 13· ·JAMES STANG:
 14· · · · Okay.· And when the funds are wired out of the
 15· ·operating account, does the Archdiocese do that only
 16· ·if it has withdrawn the money first from the DLF
 17· ·account?
 18· ·FATHER PATRICK CARR:
 19· · · · Not necessarily.· So it could just be coming
 20· ·out of the operating account.
 21· ·JAMES STANG:
 22· · · · Okay.· I assume eventually the money leaves the
 23· ·DLF account to, in effect, reimburse the operating
 24· ·account; is that correct?
 25· ·MARK MINTZ:

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 ·1· · · · Mr. Stang, this is Mark.· I want to make sure I
 ·2· ·am at least understanding what you mean by DLF
 ·3· ·account.· Are you referring to Portfolio B with that
 ·4· ·or are you referring to specifically deposit loan
 ·5· ·fund accounts?
 ·6· ·JAMES STANG:
 ·7· · · · Right now, I am specifically referring to
 ·8· ·deposit loan funding.
 ·9· ·MARK MINTZ:
 10· · · · That's right -- I want to try to correct his
 11· ·testimony, to be clear as to what we are talking
 12· ·about.· So Kathleen, do you want to explain that
 13· ·begin?· Because that is, I think, where some of the
 14· ·confusion came in.
 15· ·KATHLEEN ZUNIGA:
 16· · · · Sure.
 17· ·JAMES STANG:
 18· · · · Let me just explain what I thought was
 19· ·happening.· I thought the DLF had its own bank
 20· ·account.· But if I'm wrong about that and it's part
 21· ·of a mix of funds, then you just tell me that and I
 22· ·will understand your answers as amended to that
 23· ·extent.
 24· ·KATHLEEN ZUNIGA:
 25· · · · It is.· It is a hybrid cash management fund.

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 ·1· ·MARK MINTZ:
 ·2· · · · So Portfolio B has the DLF funds in it.
 ·3· ·JAMES STANG:
 ·4· · · · Got it.· Got it.· Okay.· So the operating
 ·5· ·account gives the parish the $20,000 and, at some
 ·6· ·point, Portfolio B sends $20,000 to the operating
 ·7· ·account.· Is that correct?
 ·8· ·FATHER PATRICK CARR:
 ·9· · · · If needed.
 10· ·JAMES STANG:
 11· · · · And who determines the if needed part?
 12· ·FATHER PATRICK CARR:
 13· · · · The cash needs determine that.
 14· ·JAMES STANG:
 15· · · · The cash needs of the operating account?
 16· ·FATHER PATRICK CARR:
 17· · · · Yes.
 18· ·JAMES STANG:
 19· · · · Okay.· So let's turn to a different aspect of
 20· ·the deposit and loan fund operations, and, I mean to
 21· ·state from Portfolio B.· My understanding is, and it
 22· ·has been characterized as a kind of diocesan bank.
 23· · · · So I am the parish and I want to borrow
 24· ·$20,000.· Who do I go to at the Archdiocese to put
 25· ·in that loan application?

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 ·1· ·FATHER PATRICK CARR:
 ·2· · · · There are levels of authority for loans.· For
 ·3· ·any loan request, up to $100,000, that would come to
 ·4· ·me.
 ·5· ·AMANDA GEORGE:
 ·6· · · · Can you say who you are for us?
 ·7· ·FATHER PATRICK CARR:
 ·8· · · · The chief financial officer would come to that
 ·9· ·position.· For loans from $100,000 to $500,000, that
 10· ·will go to the vicar general.· And in loans in
 11· ·excess of $500,000, that would go to the finance
 12· ·council for recommendation to the Archbishop.
 13· ·JAMES STANG:
 14· · · · And does the Archbishop have to consult with
 15· ·the archdiocesan finance committee for loans of that
 16· ·size?
 17· ·FATHER PATRICK CARR:
 18· · · · In excess of $500,000, yes.
 19· ·JAMES STANG:
 20· · · · Okay.· So let's assume we got the approval.                             I
 21· ·assume these applications are done in writing?
 22· ·FATHER PATRICK CARR:
 23· · · · Yes.
 24· ·JAMES STANG:
 25· · · · Is there a form that the parish is required to

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 ·1· ·as a loan application?
 ·2· ·FATHER PATRICK CARR:
 ·3· · · · It depends on the type of project.· If it's --
 ·4· ·in your example, being a $20,000 request, if that
 ·5· ·was for some sort of repair, probably just a letter
 ·6· ·would suffice, or possibly even an e-mail, depending
 ·7· ·on the immediacy of the repair.
 ·8· · · · If it was a larger capital project request, we
 ·9· ·do have a form for capital projects.
 10· ·JAMES STANG:
 11· · · · Okay.· So your loan has been approved.· Do I --
 12· ·does the parish.· I'm sorry, I sometimes use
 13· ·personal pronouns and I shouldn't.· Does the parish
 14· ·sign a promissory note to the Archdiocese for the
 15· ·loan?
 16· ·FATHER PATRICK CARR:
 17· · · · Yes.
 18· ·JAMES STANG:
 19· · · · And is there a set interest rate that is
 20· ·charged to the parish regardless of the amount
 21· ·borrowed?
 22· ·FATHER PATRICK CARR:
 23· · · · There is a set rate that is charged.
 24· ·JAMES STANG:
 25· · · · And who determines that rate?

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 ·1· ·FATHER PATRICK CARR:
 ·2· · · · That rate is determined and approved by the
 ·3· ·finance council.
 ·4· ·JAMES STANG:
 ·5· · · · Okay.· Does the Archdiocese require that all
 ·6· ·loans above a certain dollar amount be secured by
 ·7· ·assets of the parish?
 ·8· ·FATHER PATRICK CARR:
 ·9· · · · No.
 10· ·JAMES STANG:
 11· · · · Who makes the decision on whether or not -- are
 12· ·the loans sometimes secured by assets of the parish?
 13· ·FATHER PATRICK CARR:
 14· · · · No.
 15· ·JAMES STANG:
 16· · · · So all loans from the DLF to parishes are
 17· ·unsecured loans?· Correct?
 18· ·FATHER PATRICK CARR:
 19· · · · Yes.
 20· ·JAMES STANG:
 21· · · · Does the DLF make loans to entities other than
 22· ·parishes?
 23· ·FATHER PATRICK CARR:
 24· · · · Yes.
 25· ·JAMES STANG:

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 ·1· · · · Does that loan approval process mirror the one
 ·2· ·used for parishes?
 ·3· ·FATHER PATRICK CARR:
 ·4· · · · Yes.
 ·5· ·JAMES STANG:
 ·6· · · · And are any of the loans to non- parish
 ·7· ·borrowers secured by assets of the non- borrowers?
 ·8· ·FATHER PATRICK CARR:
 ·9· · · · No.
 10· ·JAMES STANG:
 11· · · · Okay.· I assume that sometimes the parish that
 12· ·is borrowing money would also have a balance on
 13· ·deposit at the DLF; is that correct?· Is that how it
 14· ·is typically?
 15· ·FATHER PATRICK CARR:
 16· · · · It could.· It could.
 17· ·JAMES STANG:
 18· · · · Okay.· Is there a requirement that there be a
 19· ·ratio, a certain ratio, between the loan being
 20· ·requested and the amount on deposit at the DLF?
 21· ·FATHER PATRICK CARR:
 22· · · · There is a policy of 50 percent on deposit for
 23· ·loans, typically for capital projects.
 24· ·JAMES STANG:
 25· · · · Okay.· And does not apply to non-parish

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 ·1· ·borrowers as well?
 ·2· ·FATHER PATRICK CARR:
 ·3· · · · Yes.
 ·4· ·JAMES STANG:
 ·5· · · · And is it the same ratio?
 ·6· ·FATHER PATRICK CARR:
 ·7· · · · Yes.
 ·8· ·JAMES STANG:
 ·9· · · · Is that a hard and fast rule or is that kind of
 10· ·a rule of thumb?
 11· ·FATHER PATRICK CARR:
 12· · · · It is -- it is a policy, but there are
 13· ·exceptions.
 14· ·JAMES STANG:
 15· · · · Does the administration of the deposit and loan
 16· ·fund fault -- does the responsibility for the
 17· ·administration of the DLF fall to any specialized
 18· ·council at the Archdiocese?· I know there is a
 19· ·finance council, so I don't mean that.· Is there
 20· ·like a special DLF committee?
 21· ·FATHER PATRICK CARR:
 22· · · · No.· No, there is not.
 23· ·JAMES STANG:
 24· · · · Okay.· Is there a subcommittee of the finance
 25· ·committee that is charged specifically with

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 ·1· ·responsibility for overseeing the DLF?
 ·2· ·FATHER PATRICK CARR:
 ·3· · · · No, there is not.
 ·4· ·JAMES STANG:
 ·5· · · · Does the finance committee have any
 ·6· ·subcommittee?· Formal subcommittees?
 ·7· ·FATHER PATRICK CARR:
 ·8· · · · Yes, they do.
 ·9· ·JAMES STANG:
 10· · · · Okay.· We will get into that in another forum.
 11· ·We don't need to do that today.
 12· · · · So Father Carr, there is another manual on the
 13· ·website called The Temporalities Manual for
 14· ·Parishes.· Are you familiar with that?
 15· ·FATHER PATRICK CARR:
 16· · · · I have heard of it.· I'm not -- I don't know
 17· ·the details.
 18· ·JAMES STANG:
 19· · · · Okay.· Mr. Entwisle, are you familiar with that
 20· ·particular manual?
 21· ·JEFFREY ENTWISLE:
 22· · · · I do have some familiarity with it.
 23· ·JAMES STANG:
 24· · · · Okay.· That's the archdiocesan accounting
 25· ·system post the accounting systems for the parishes?

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 ·1· ·FATHER PATRICK CARR:
 ·2· · · · No.
 ·3· ·JAMES STANG:
 ·4· · · · Do you have any ability -- does the Archdiocese
 ·5· ·have any ability to, on a real-time basis, go into
 ·6· ·any parish's accounting system and see the activity?
 ·7· ·FATHER PATRICK CARR:
 ·8· · · · We offer accounting assistance to any parishes
 ·9· ·that want to participate in that.· And for those, we
 10· ·would have that ability.
 11· ·JAMES STANG:
 12· · · · How many parishes are there in the Archdiocese?
 13· ·FATHER PATRICK CARR:
 14· · · · 111.
 15· ·JAMES STANG:
 16· · · · Have any take advantage of that program?
 17· ·FATHER PATRICK CARR:
 18· · · · I am not sure about number.
 19· ·JAMES STANG:
 20· · · · I'm going a little bit of bigger than a
 21· ·breadbox with you.· More than half?
 22· ·FATHER PATRICK CARR:
 23· · · · I don't believe so.
 24· ·JAMES STANG:
 25· · · · Okay.· Do you have any sense of -- well, forget

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 ·1· ·that.· Okay.· So under that Temporalities Manual for
 ·2· ·Parishes, it says, The long-term savings of the
 ·3· ·parish are intended to go to the Catholic Community
 ·4· ·Foundation.
 ·5· · · · But the Archdiocese policy manual, section
 ·6· ·17.9, says long-term investments are to go to the
 ·7· ·Archdiocese investment pool.· Can one of you explain
 ·8· ·to me what to me seems a contradictory provision
 ·9· ·between these two manuals?
 10· ·KATHLEEN ZUNIGA:
 11· · · · The Catholic Community Foundation is a
 12· ·separately incorporated foundation.· It is really
 13· ·the development arm of the Archdiocese as a whole.
 14· ·And so what they do is, they look at -- you know,
 15· ·they receive donor advised funds, endowments, things
 16· ·that have restrictions.· So the agreements, when --
 17· ·you know, you will have more restricted funds there.
 18· · · · However, the Catholic Community Foundation
 19· ·invests in the Portfolio A.· They have a significant
 20· ·interest of the amounts on deposit that go into
 21· ·Portfolio A, which is, again, the custody account
 22· ·that is listed in the name of the Archdiocese as a
 23· ·custody account at Whitney.
 24· ·JAMES STANG:
 25· · · · Okay.· The website includes a chart of accounts

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 ·1· ·for parishes.· Father Carr, are you familiar with
 ·2· ·that form?
 ·3· ·FATHER PATRICK CARR:
 ·4· · · · I'm familiar with that, but I don't know the
 ·5· ·details of it.
 ·6· ·JAMES STANG:
 ·7· · · · Mr. Entwisle, are you familiar with that?
 ·8· ·JEFFREY ENTWISLE:
 ·9· · · · Again, I do have some familiarity with it.
 10· ·JAMES STANG:
 11· · · · Okay.· There's a line item in that chart of
 12· ·accounts that says cost for disclosure of the
 13· ·archdiocesan savings account.· That's exactly the
 14· ·words it uses.· Can you explain to me what that
 15· ·account is as compared to the archdiocesan
 16· ·investment pool and as compared to the Catholic
 17· ·Community Foundation?
 18· ·JEFFREY ENTWISLE:
 19· · · · That line is intended to account for those
 20· ·funds that are put on deposit in our bank, in DLFs.
 21· ·JAMES STANG:
 22· · · · Okay.· So that is a DLF line item; is that
 23· ·correct?
 24· ·JEFFREY ENTWISLE:
 25· · · · Yes.

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 ·1· ·JAMES STANG:
 ·2· · · · Okay.· Got it.
 ·3· ·AMANDA GEORGE:
 ·4· · · · Mr. Stang, do you have an idea how many more
 ·5· ·questions you have, or how much longer?· I'm
 ·6· ·checking in because of our recording capabilities.
 ·7· ·I want to make sure we don't exceed them.
 ·8· ·JAMES STANG:
 ·9· · · · All right.· Well, I have a lot more questions.
 10· ·Do you have a time limit?· Because I can prioritize
 11· ·them, believe it or not.
 12· ·AMANDA GEORGE:
 13· · · · I think we have maybe 30-ish minutes left on
 14· ·our recorder.· And so again, I don't mean to cut you
 15· ·off, but that's just the limits of our technology
 16· ·right now.
 17· ·JAMES STANG:
 18· · · · I appreciate that.· Thank you, and I will -- I
 19· ·mean, we will determine at the end of this whether
 20· ·you think it is advisable to have a continued
 21· ·meeting.
 22· ·AMANDA GEORGE:
 23· · · · Okay.
 24· ·JAMES STANG:
 25· · · · But I will try to prioritize my questions so

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 ·1· ·that we make the best use of the time.
 ·2· ·AMANDA GEORGE:
 ·3· · · · Thank you, Mr. Stang.
 ·4· ·JAMES STANG:
 ·5· · · · So let's see.· Where am I?· Okay.· I would like
 ·6· ·you to turn to page 13 of 66 on the schedules, or
 ·7· ·page 25 of 1298, depending on your numbering system.
 ·8· ·Okay?· Is everybody there?
 ·9· · · · Okay.· 14.1, which is on page 13 of 66 says, in
 10· ·reference to mutual funds, 9 schools.· What are the
 11· ·9 schools?
 12· · · · And actually, I will ask the question
 13· ·differently.· Are those 9 schools part of the
 14· ·Archdiocese as a legal entity or are they separately
 15· ·incorporated?
 16· ·FATHER PATRICK CARR:
 17· · · · Okay.· First of all, let me give you the 9
 18· ·schools.· Okay?
 19· ·JAMES STANG:
 20· · · · Okay.
 21· ·FATHER PATRICK CARR:
 22· · · · I will give you the 9 schools first of all.· Do
 23· ·you want the list of them?
 24· ·JAMES STANG:
 25· · · · Actually, why don't you just tell me if they

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 ·1· ·are separately incorporated or not.
 ·2· ·FATHER PATRICK CARR:
 ·3· · · · They are not separately incorporated.
 ·4· ·JAMES STANG:
 ·5· · · · Okay.· And I don't need to -- we will find out
 ·6· ·the names of the 9 schools later.· Because that was
 ·7· ·really what I was trying to figure out.
 ·8· · · · So then I turned to 14.2, and it has high
 ·9· ·schools.· I hope I am pronouncing this correctly,
 10· ·Scholastica Academy.· Is that a separately
 11· ·incorporated entity from the Archdiocese?
 12· ·FATHER PATRICK CARR:
 13· · · · No.
 14· ·JAMES STANG:
 15· · · · Okay.· And 14.4 -- oh, that's the custody
 16· ·account.· Okay.· Got that.· 14.3 says St. Louis
 17· ·Cathedral accounts.· My understanding is that the
 18· ·St. Louis Cathedral parish, if that's the correct,
 19· ·Cathedral parish is not a separately incorporated
 20· ·entity.· Is that correct?
 21· ·FATHER PATRICK CARR:
 22· · · · That's correct.
 23· ·JAMES STANG:
 24· · · · Okay.· I would like you then to scroll down to
 25· ·15.2, which is just lower on the page.· And the

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 ·1· ·footnote to the Holy Trinity Drive Land Corporation
 ·2· ·says that the net equity balance includes a building
 ·3· ·loan from the Archdiocese from the deposit and loan
 ·4· ·fund.· I didn't quite understand what that meant.
 ·5· ·Is the 2,000,549 and change number net of the DLF
 ·6· ·loan or inclusive of the DLF loan?· Because I didn't
 ·7· ·understand what you meant when you said this net
 ·8· ·equity balance includes a building loan.· I wasn't
 ·9· ·sure whether that decreased the number or it was
 10· ·already reflected in the number.
 11· ·KATHLEEN ZUNIGA:
 12· · · · I believe it is net in the number.· It is
 13· ·decreasing the number.
 14· ·JAMES STANG:
 15· · · · So it decreases the number.· So the 2,000,549
 16· ·would be reduced to approximately $2 million because
 17· ·of the loan?
 18· ·KATHLEEN ZUNIGA:
 19· · · · Yes.· However, we are checking the value on
 20· ·that.
 21· ·JAMES STANG:
 22· · · · I understand.· I was just trying to understand
 23· ·the impact of the phrase, net equity balance
 24· ·included.
 25· · · · Okay.· So again, it wasn't very clear to me

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 ·1· ·from your testimony before.· The Holy Trinity Drive
 ·2· ·Land Corporation, obviously the Archbishop is the
 ·3· ·president.· It is a 501(c)(3), so I assume it has no
 ·4· ·shareholders.· Well, does it have shareholders?
 ·5· ·FATHER PATRICK CARR:
 ·6· · · · No, it does not.
 ·7· ·JAMES STANG:
 ·8· · · · I didn't think so.· So did the Archdiocese
 ·9· ·lease the land to Holy Trinity or did Holy Trinity
 10· ·lease the land to the Archdiocese?
 11· ·FATHER PATRICK CARR:
 12· · · · I'm not quite following the question.
 13· ·JAMES STANG:
 14· · · · Well, Holy Trinity Drive land Corporation was
 15· ·set up to facilitate the operation of housing.· Is
 16· ·that correct?
 17· ·FATHER PATRICK CARR:
 18· · · · I'm sorry.· Say that again?
 19· ·JAMES STANG:
 20· · · · What is the business of Holy Trinity Drive Land
 21· ·Corporation.
 22· ·KATHLEEN ZUNIGA:
 23· · · · It leases a parcel of property for the
 24· ·development and operation of the nursing home.
 25· ·JAMES STANG:

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 ·1· · · · Okay.· So is it the tenant under the lease or
 ·2· ·the landlord under the lease?
 ·3· ·KATHLEEN ZUNIGA:
 ·4· · · · The landlord.
 ·5· ·FATHER PATRICK CARR:
 ·6· · · · The landlord.
 ·7· ·JAMES STANG:
 ·8· · · · Okay.· And who transferred the real estate that
 ·9· ·is the subject of the lease to Holy Trinity?
 10· ·FATHER PATRICK CARR:
 11· · · · The Archdiocese.
 12· ·JAMES STANG:
 13· · · · And when did it do that?
 14· ·FATHER PATRICK CARR:
 15· · · · I'm not -- I'm not sure of the date.
 16· ·JAMES STANG:
 17· · · · Can you give me a range of 10 years ago, 5
 18· ·years ago?· That sort of thing?
 19· ·MARK MINTZ:
 20· · · · Mr. Stang, they are looking for it.· Just give
 21· ·us a second.
 22· ·KATHLEEN ZUNIGA:
 23· · · · It was -- so for Holy Trinity, it was June 21,
 24· ·2018.
 25· ·JAMES STANG:

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 ·1· · · · Okay.· And what, if anything, did the
 ·2· ·Archdiocese receive in exchange for that transfer?
 ·3· ·KATHLEEN ZUNIGA:
 ·4· · · · Not -- I don't know.
 ·5· ·JAMES STANG:
 ·6· · · · You started to say nothing, and I'm just
 ·7· ·wondering if maybe it was just a transfer the
 ·8· ·property without consideration.· Am I -- I don't
 ·9· ·mean to put words in your mouth, but did I --
 10· ·KATHLEEN ZUNIGA:
 11· · · · I believe it is -- I believe it was just a
 12· ·property transfer, but I didn't want to say that
 13· ·without certainty.· But I believe it.
 14· ·JAMES STANG:
 15· · · · Okay.· And at the time of the transfer, was the
 16· ·housing facility in existence?
 17· ·KATHLEEN ZUNIGA:
 18· · · · I don't believe.
 19· ·FATHER PATRICK CARR:
 20· · · · It was -- not at that point time, no.
 21· ·JAMES STANG:
 22· · · · So this was essentially part of the development
 23· ·of the facility?
 24· ·FATHER PATRICK CARR:
 25· · · · Correct.

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 ·1· ·JAMES STANG:
 ·2· · · · Okay.· And do you know when that facility got
 ·3· ·its certificate of occupancy?
 ·4· ·FATHER PATRICK CARR:
 ·5· · · · I am not sure of that date.
 ·6· ·JAMES STANG:
 ·7· · · · Okay.· But it was presumably after the transfer
 ·8· ·of the real estate?
 ·9· ·FATHER PATRICK CARR:
 10· · · · Yes.
 11· ·JAMES STANG:
 12· · · · Okay.· Relatively recent development, is what I
 13· ·am gathering.· But okay.
 14· · · · Does the Archdiocese conduct the business of
 15· ·providing housing outside of the Holy Trinity Drive
 16· ·Land Corporation transaction.
 17· ·FATHER PATRICK CARR:
 18· · · · I'm sorry, but I'm not quite following the
 19· ·question.
 20· ·JAMES STANG:
 21· · · · Well, the Archdiocese transfers the property to
 22· ·Holy Trinity so that a housing facility could be
 23· ·developed.· Does the Archdiocese provide housing to
 24· ·the public through any -- in any other manner, other
 25· ·than through Holy Trinity?

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 ·1· ·FATHER PATRICK CARR:
 ·2· · · · The operation on that property is not housing.
 ·3· ·It is a nursing home.
 ·4· ·JAMES STANG:
 ·5· · · · Okay.· I considered that housing, but okay.
 ·6· ·Does the Archdiocese provide any housing at whatever
 ·7· ·level of care outside of the Holy Trinity Drive Land
 ·8· ·Corporation businesses?
 ·9· ·KATHLEEN ZUNIGA:
 10· · · · To its priests.
 11· ·JAMES STANG:
 12· · · · And obviously, I'm not trying to --
 13· ·FATHER PATRICK CARR:
 14· · · · We don't provide housing.· That is a third
 15· ·party operating that.
 16· ·JAMES STANG:
 17· · · · Okay.
 18· ·FATHER PATRICK CARR:
 19· · · · The land corporation is just leasing the land.
 20· ·JAMES STANG:
 21· · · · Other than the facility connected with Holy
 22· ·Trinity, does the Archdiocese provide housing to the
 23· ·public through any other assets that it owns?
 24· ·FATHER PATRICK CARR:
 25· · · · That we own?· That -- no.

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 ·1· ·JAMES STANG:
 ·2· · · · Okay.· St. Tammany Catholic Cemetery, the
 ·3· ·Archdiocese is the president of the corporation.· Do
 ·4· ·you know when that corporation -- are any of you
 ·5· ·officers, directors, or employees of that
 ·6· ·corporation?
 ·7· ·FATHER PATRICK CARR:
 ·8· · · · No.
 ·9· ·JAMES STANG:
 10· · · · Do you know who the chief financial officer is
 11· ·of St. Tammany Catholic Cemetery, if it has one?
 12· ·FATHER PATRICK CARR:
 13· · · · No.
 14· ·KATHLEEN ZUNIGA:
 15· · · · No.
 16· ·JAMES STANG:
 17· · · · Does it have one?
 18· ·FATHER PATRICK CARR:
 19· · · · I don't know.
 20· ·JAMES STANG:
 21· · · · Does the Archdiocese provide accounting
 22· ·services to St. Tammany Catholic Cemetery?
 23· ·FATHER PATRICK CARR:
 24· · · · I'm not sure.
 25· ·JAMES STANG:

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 ·1· · · · Does the Catholic Cemetery have any funds on
 ·2· ·deposit in Portfolio A or Portfolio B?
 ·3· ·KATHLEEN ZUNIGA:
 ·4· · · · I would have to check.· I can't readily answer
 ·5· ·that.· But if they do, it is in the schedule.
 ·6· ·JAMES STANG:
 ·7· · · · Okay.· I would like you to go down to question
 ·8· ·45.· And that this is now on page 35 of 1298 or page
 ·9· ·24 of 66.· And the question is, Has any of the
 10· ·property listed in part seven been appraised by a
 11· ·professional within the last year?· And the answer
 12· ·is no.
 13· · · · My question is:· Has any of the property been
 14· ·appraised by a professional within the last five
 15· ·years?
 16· ·KATHLEEN ZUNIGA:
 17· · · · I don't know.
 18· ·JAMES STANG:
 19· · · · Okay.· This question applies to a long list of
 20· ·furniture, fixtures, and it includes collectibles.
 21· ·Does the Archdiocese maintain any kind of separate
 22· ·insurance endorsement for the articles described
 23· ·from numbers 42.1 through 42.183?
 24· ·FATHER PATRICK CARR:
 25· · · · I'm not sure.· We do have some that we schedule

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 ·1· ·separately.· It's obviously not this full list.· I'm
 ·2· ·not sure which are and are not.
 ·3· ·JAMES STANG:
 ·4· · · · In that separate insurance endorsement, are
 ·5· ·there values associated with the particular insured
 ·6· ·item?
 ·7· ·FATHER PATRICK CARR:
 ·8· · · · I'm not sure.· We would have to look at the
 ·9· ·policy.
 10· ·JAMES STANG:
 11· · · · Okay.· All right.· So I would like you to turn
 12· ·now to question number 71, which is -- I'm just
 13· ·scrolling down, so it will take me a moment.· You
 14· ·can probably turn the pages faster than I can scroll
 15· ·down.
 16· ·MARK MINTZ:
 17· · · · Some of us are on paper and some of us are on
 18· ·computer doing the same thing.
 19· ·JAMES STANG:
 20· · · · And of course, you know, my cursor is now
 21· ·acting up.· So just to give me a moment, please.                             I
 22· ·don't know if this essay go to function.· Let's see
 23· ·if I can pull it down a little faster than that.
 24· ·Let's see, where am I?· Nope, that's obviously not
 25· ·what I was looking for.

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 ·1· ·ROGER STETTER:
 ·2· · · · May I interrupt?· Jim, you are doing a
 ·3· ·wonderful job.· I am Roger Stetter.· I represent
 ·4· ·several survivors.· Can I have two minutes at the
 ·5· ·end?
 ·6· ·JAMES STANG:
 ·7· · · · Sir, you can have two minutes now, as far as I
 ·8· ·am concerned.
 ·9· ·ROGER STETTER:
 10· · · · All right.· Well, I am going to go.· I think
 11· ·these two questions are very, very important.
 12· · · · Number one, will counsel, committee counsel or
 13· ·any counsel for the survivors -- it will probably be
 14· ·through committee counsel -- have the opportunity to
 15· ·learn how the list of so-called credibly accused
 16· ·abusive priests, how it was created and if it is
 17· ·accurate and complete?· And I asked the question
 18· ·because I represent some survivors who alleged that
 19· ·they were abused by priests who are not yet on your
 20· ·list.
 21· ·MARK MINTZ:
 22· · · · Mr. Stetter, this is Mark Mintz, counsel for
 23· ·the Archdiocese.· We will provide information as is
 24· ·required or through the bankruptcy process and will
 25· ·answer questions today specifically about the

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 ·1· ·schedules and financial affairs as we have been
 ·2· ·doing.
 ·3· · · · So, I mean, the short answer to your question
 ·4· ·is, if there is a process that we need to go through
 ·5· ·to determine that through the bankruptcy process, we
 ·6· ·will of course comply with that.
 ·7· ·ROGER STETTER:
 ·8· · · · Thank you.· My next question is, and it was a
 ·9· ·follow-up to Jim's question.· He asked why was this
 10· ·bankruptcy filed, and I think you answered it by
 11· ·saying that the Archdiocese wanted to deal with all
 12· ·of the survivor claims, pre-petition claims, and get
 13· ·them wrapped up.· Is there any reason why the
 14· ·Archdiocese filed this voluntary petition in the
 15· ·midst of a pandemic?
 16· ·MARK MINTZ:
 17· · · · It was the time to file the petition, sir.
 18· ·ROGER STETTER:
 19· · · · The time?· A good time, you say?
 20· ·MARK MINTZ:
 21· · · · Yes.
 22· ·ROGER STETTER:
 23· · · · Okay.· Would you agree that --
 24· ·MARK MINTZ:
 25· · · · It was the time that we needed to file the

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 ·1· ·petition that we had been working on to be able to
 ·2· ·do it.· I'm not sure I understand the relevance
 ·3· ·behind that.
 ·4· ·ROGER STETTER:
 ·5· · · · Well, the relevance is that, would you agree
 ·6· ·that it is appropriate for an attorney to meet with
 ·7· ·an alleged victim before he asserts a claim on
 ·8· ·behalf of that victim?
 ·9· ·MARK MINTZ:
 10· · · · Honestly, sir, I have -- sir, this is Mark
 11· ·Mintz, and I don't mean any offense.· I have no idea
 12· ·what you're talking about.
 13· ·ROGER STETTER:
 14· · · · What I am talking about is the pandemic
 15· ·obviously has a significant impact on your intent to
 16· ·allow all victims to have their day in this
 17· ·proceeding.· And you have filed a bankruptcy
 18· ·petition during the pandemic.· And I am asking you
 19· ·whether or not you are going to take that into
 20· ·consideration, that there is a pandemic, with
 21· ·respect to the establishment of a bar date.
 22· ·AMANDA GEORGE:
 23· · · · This is Amanda George.· Let me interject.
 24· ·Mr. Stetter, if you have that question for
 25· ·Mr. Mintz, he is not under oath.· I would ask for

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 ·1· ·you to separately call Mr. Mintz and discuss that
 ·2· ·with him.· But if you have a question for our
 ·3· ·debtor's representatives here -- that would be
 ·4· ·Father Carr, Ms. Zuniga or Mr. Entwisle -- you can
 ·5· ·direct your questions to them.· Thank you.
 ·6· ·ROGER STETTER:
 ·7· · · · Okay.· I accept that.· I would like to go back
 ·8· ·to my earlier question:· Will we have the
 ·9· ·opportunity -- and this goes to the Archdiocese's
 10· ·representatives, the witnesses who are here today --
 11· ·have the opportunity to learn how your abuse list
 12· ·was created and if it is accurate and complete?
 13· ·FATHER PATRICK CARR:
 14· · · · This is Father Carr.· I don't know.
 15· ·ROGER STETTER:
 16· · · · Okay.· Thank you.· I'm finished.
 17· ·AMANDA GEORGE:
 18· · · · Thank you, Mr. Stetter.· We will go back to
 19· ·Mr. Stang.
 20· ·ROGER STETTER:
 21· · · · Thank you, Mr. Stang.
 22· ·JAMES STANG:
 23· · · · Okay.· You are very welcome.
 24· · · · Father Carr, does the diocesan website contain
 25· ·any information about how a sexual abuse claim is

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 ·1· ·handled when received by the Archdiocese?
 ·2· ·FATHER CARR:
 ·3· · · · I'm not aware.· I haven't been on -- I'm just
 ·4· ·not aware of it.· No.
 ·5· ·JAMES STANG:
 ·6· · · · Okay.· Does the Archdiocese have something,
 ·7· ·have a review board of some sort, that considers
 ·8· ·claims of sexual abuse?
 ·9· ·FATHER CARR:
 10· · · · I am not aware of it.
 11· ·JAMES STANG:
 12· · · · All right.· Are any of the witnesses today
 13· ·members of any review board, any archdiocesan review
 14· ·board, that considers claims of sexual abuse --
 15· ·JEFFREY ENTWISLE:
 16· · · · I am not --
 17· ·JAMES STANG:
 18· · · · -- that is in charge of investigating and
 19· ·determining credibility?
 20· ·FATHER CARR:
 21· · · · No.
 22· ·KATHLEEN ZUNIGA:
 23· · · · No.
 24· ·JEFFREY ENTWISLE:
 25· · · · No.

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 ·1· ·JAMES STANG:
 ·2· · · · Does the Archdiocese have a victims assistance
 ·3· ·coordinator or someone who performs the function of
 ·4· ·interacting with sex abuse survivors who contact the
 ·5· ·Archdiocese?
 ·6· ·KATHLEEN ZUNIGA:
 ·7· · · · Yes.
 ·8· ·FATHER CARR:
 ·9· · · · Yes.
 10· ·JAMES STANG:
 11· · · · And who is that?
 12· ·FATHER CARR:
 13· · · · I don't know the person's name, but they do
 14· ·have one.
 15· ·JAMES STANG:
 16· · · · Do you know if that person has any professional
 17· ·training in psychology or therapy?
 18· ·KATHLEEN ZUNIGA:
 19· · · · No.
 20· ·FATHER CARR:
 21· · · · I'm not aware.
 22· ·KATHLEEN ZUNIGA:
 23· · · · I don't know.
 24· ·JAMES STANG:
 25· · · · Okay.· Father Carr, do you know how long the

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 ·1· ·Archdiocese intends to give creditors to file proofs
 ·2· ·of claim in this case?
 ·3· ·FATHER CARR:
 ·4· · · · I don't know.
 ·5· ·JAMES STANG:
 ·6· · · · I'm going to again assume that the answers are
 ·7· ·the same for the witnesses.· Because Mr. Mintz made
 ·8· ·his statement in reference to the normal practice in
 ·9· ·the district of using 90 days, so I couldn't tell
 10· ·from his comment whether he was going to -- whether
 11· ·the Archdiocese was planning to try to use that 90
 12· ·day period or a shorter one or a longer one.· And
 13· ·that's why I'm asking.
 14· ·MARK MINTZ:
 15· · · · Mr. Stang, this is Mark Mintz, and I appreciate
 16· ·your picking up on that.· What I also said was we
 17· ·wanted to discuss with you as to an appropriate
 18· ·(inaudible).
 19· ·JAMES STANG:
 20· · · · Okay.· Thank you.· All right.· Thank you very
 21· ·much.
 22· · · · So let's go to section 71 of the schedules.
 23· ·This is, it is a long list of -- these are basically
 24· ·notes receivables.· It's on page 55 of 66 or 66 of
 25· ·1298.

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 ·1· · · · Father Carr, can you tell me the status of the
 ·2· ·BP structured settlement claim?· What are the
 ·3· ·terms -- and specifically -- I'm sorry.· I'll try to
 ·4· ·make my question a little clearer:· What are the
 ·5· ·terms of the note receivable that is disclosed?
 ·6· ·FATHER CARR:
 ·7· · · · Let me defer to Jeff Entwisle.
 ·8· ·JEFFREY ENTWISLE:
 ·9· · · · Those are semiannual payments that are still in
 10· ·progress.
 11· ·JAMES STANG:
 12· · · · And what is the balance owing on the $2 million
 13· ·face amount?
 14· ·JEFFREY ENTWISLE:
 15· · · · That that is the amount.
 16· ·JAMES STANG:
 17· · · · Oh.· So as of the petition date, 2 million was
 18· ·owed.· How much has been paid under the structured
 19· ·settlement to the Archdiocese to date?
 20· ·FATHER CARR:
 21· · · · I believe it was 3 million so far.
 22· ·JAMES STANG:
 23· · · · Got it.· And are the payments in equal dollar
 24· ·amounts for the periodic payments?
 25· ·FATHER CARR:

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 ·1· · · · Yes, they are.
 ·2· ·JAMES STANG:
 ·3· · · · And when does this get paid off?
 ·4· ·FATHER CARR:
 ·5· · · · I'm sorry?
 ·6· ·JAMES STANG:
 ·7· · · · What is the due date from the note?
 ·8· ·FATHER CARR:
 ·9· · · · From January and July, I believe.
 10· ·JAMES STANG:
 11· · · · No, no.· But when is it paid off?· I mean, is
 12· ·this a 10 year remaining obligation?· Three year
 13· ·remaining obligation?
 14· ·FATHER CARR:
 15· · · · Two.
 16· ·KATHLEEN ZUNIGA:
 17· · · · Two years.· Two more years remaining.
 18· ·FATHER CARR:
 19· · · · Two years left.
 20· ·JAMES STANG:
 21· · · · Okay.· Thank you.· A number of the loans from
 22· ·the loan and deposit fund are shown as name and
 23· ·address intentionally omitted.· Is there a common
 24· ·reason -- and there are many, many listed that way.
 25· ·Is there a common reason for why the name and

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 ·1· ·address was omitted?
 ·2· ·KATHLEEN ZUNIGA:
 ·3· · · · I believe those were because they were
 ·4· ·individuals.· I think that was it probably, I
 ·5· ·believe.· And I think some of them are (inaudible).
 ·6· ·JAMES STANG:
 ·7· · · · I'm sorry.· I didn't hear the last part of your
 ·8· ·answer.
 ·9· ·KATHLEEN ZUNIGA:
 10· · · · These would have been loans to individual
 11· ·priests.
 12· ·JAMES STANG:
 13· · · · So there is a priest -- I'm looking at 71.4.
 14· ·There is a priest who has been loaned $80,000?
 15· ·KATHLEEN ZUNIGA:
 16· · · · Yes.
 17· ·JAMES STANG:
 18· · · · And what was the purpose of that loan?
 19· ·KATHLEEN ZUNIGA:
 20· · · · I do not know.
 21· · · · · · · (Crosstalk amongst witnesses.)
 22· ·FATHER CARR:
 23· · · · This is Father Patrick Carr.· It was to pay off
 24· ·credit cards.
 25· ·JAMES STANG:

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 ·1· · · · Okay.· Are all of the people whose identities
 ·2· ·have been intentionally omitted priests of the
 ·3· ·Archdiocese?
 ·4· ·FATHER CARR:
 ·5· · · · Yes.· And there is also seminarians on there,
 ·6· ·too.
 ·7· ·JAMES STANG:
 ·8· · · · And do those seminarian obligations reflect
 ·9· ·loans for tuition or for other things?
 10· ·FATHER CARR:
 11· · · · Both.
 12· ·JAMES STANG:
 13· · · · The priest that got the $80,000 loan, what is
 14· ·his annual salary?
 15· ·FATHER CARR:
 16· · · · He is paid according to the priest salary.
 17· ·That is part of the archdiocesan policy.
 18· ·JAMES STANG:
 19· · · · Okay.· What is his annual salary?
 20· ·FATHER CARR:
 21· · · · I can't tell you because I don't know how long
 22· ·he has been a priest.
 23· ·JAMES STANG:
 24· · · · Is there any priest that is paid more than
 25· ·$35,000 a month other than the Archbishop and any

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 ·1· ·vicar?
 ·2· ·FATHER CARR:
 ·3· · · · Do you mean per year?
 ·4· ·JAMES STANG:
 ·5· · · · I'm sorry.· I meant to say 35,000 each year.
 ·6· ·Sorry.
 ·7· ·FATHER CARR:
 ·8· · · · I am not aware of it, no.
 ·9· ·JAMES STANG:
 10· · · · When this loan was made for approximately
 11· ·$80,000, what considerations were taken -- what was
 12· ·taken into consideration regarding his ability to
 13· ·repay this loan?
 14· ·FATHER CARR:
 15· · · · I am not aware of it.· This was before my time,
 16· ·so I don't know the details.
 17· ·JAMES STANG:
 18· · · · Okay.· Well, but if the schedule shows that it
 19· ·is zero on account of -- well, that the doubtful or
 20· ·uncollectible amounts is zero, have any payments
 21· ·been made by this priest against the balance owing?
 22· ·FATHER CARR:
 23· · · · Yeah.· There's been payments.· There's been
 24· ·payments in prior years.
 25· ·JAMES STANG:

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 ·1· · · · Are the periodic, taken as withdrawals from his
 ·2· ·paycheck, or is it as he is able to pay it?
 ·3· ·FATHER CARR:
 ·4· · · · As far as I know, Mr. Stang, I think it is
 ·5· ·random.· It's according to his ability to pay.
 ·6· ·JAMES STANG:
 ·7· · · · Do you know how old this priest is?
 ·8· ·FATHER CARR:
 ·9· · · · Roughly, yes.
 10· ·JAMES STANG:
 11· · · · Can you tell me -- I'm not trying to identify
 12· ·him.· I'm trying to figure out if he will live long
 13· ·enough to pay back $80,000 given his resources.
 14· ·FATHER CARR:
 15· · · · I can give you a range.· I think he is between
 16· ·58 and 62 years old.
 17· ·JAMES STANG:
 18· · · · Okay.· And was the credit card that he used a
 19· ·credit card of the Archdiocese?
 20· ·FATHER CARR:
 21· · · · No.
 22· ·JAMES STANG:
 23· · · · Okay.· Do you know if the debts incurred were
 24· ·in connection with his services as a pastor?
 25· ·FATHER CARR:

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 ·1· · · · This was before.
 ·2· ·JAMES STANG:
 ·3· · · · This was before you came on the scene?
 ·4· ·FATHER CARR:
 ·5· · · · This was before he was -- this was his prior
 ·6· ·history before he was ordained a priest.
 ·7· ·JAMES STANG:
 ·8· · · · Got it.· And do you know if the Archdiocese was
 ·9· ·aware of this liability at the time that it was
 10· ·considering incardinating him to the Archdiocese?
 11· ·FATHER CARR:
 12· · · · I am not aware of that.
 13· ·JAMES STANG:
 14· · · · Okay.· Let's see.· There are a number of
 15· ·accounts or notes receivable due here that have -- I
 16· ·will just give you an example.· 71.17, Christ the
 17· ·King parish.· It is the Archdiocese $538,000, and it
 18· ·looks like this is a total writeoff.· Does Christ
 19· ·the King parish have any money in portfolio a or
 20· ·portfolio B?
 21· ·FATHER CARR:
 22· · · · I don't know for sure.
 23· ·JAMES STANG:
 24· · · · If it did have money in either A or B, does the
 25· ·Archdiocese have a policy regarding setting off

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 ·1· ·those account balances against liabilities that are
 ·2· ·owed?· And I am specifically asking about Christ the
 ·3· ·King; but in general, is there such a policy?
 ·4· ·FATHER CARR:
 ·5· · · · No, there is not.
 ·6· ·JAMES STANG:
 ·7· · · · Is there a policy not to do it?
 ·8· ·FATHER CARR:
 ·9· · · · That's correct.· Any movement of funds would
 10· ·require pastor permission.
 11· ·JAMES STANG:
 12· · · · So of Christ the King parish -- I'm sorry.· Did
 13· ·I get the name right?
 14· ·FATHER CARR:
 15· · · · Yes.· Yes, you did.
 16· ·JAMES STANG:
 17· · · · Okay.· If Christ the King parish tomorrow
 18· ·deposited $1 million with portfolio a or portfolio B
 19· ·on an unrestricted funds -- unrestricted funds -- is
 20· ·it the policy of the Archdiocese to still write off
 21· ·this promissory note?
 22· ·FATHER CARR:
 23· · · · No.
 24· ·JAMES STANG:
 25· · · · I'm sorry.· I thought the answer was that the

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 ·1· ·policy is to not offset.
 ·2· ·FATHER CARR:
 ·3· · · · Right.· But we wouldn't write it off.· We would
 ·4· ·actually, we would meet with the pastor and figure
 ·5· ·something out.
 ·6· ·JAMES STANG:
 ·7· · · · Okay.· I would like you to go down to section
 ·8· ·73.5.
 ·9· ·FATHER CARR:
 10· · · · I'm sorry.· Say that number again, Mr. Stang.
 11· ·JAMES STANG:
 12· · · · 73.5, which is page 62 of 66 or 73 of 1298.
 13· · · · My question is:· Does the Archdiocese have an
 14· ·equity interest in the Catholic Mutual Relief
 15· ·Society of America?
 16· ·KATHLEEN ZUNIGA:
 17· · · · No.
 18· ·JAMES STANG:
 19· · · · Does it have an equity interest -- I'm sorry.
 20· ·I didn't mean to cut you off.
 21· ·FATHER CARR:
 22· · · · This is Father Patrick.· I don't know.· I don't
 23· ·know if we do.· I don't know.
 24· ·JAMES STANG:
 25· · · · Okay.· Do you know if the Archdiocese has an

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 ·1· ·equity interest in the Catholic Mutual Group?
 ·2· ·FATHER CARR:
 ·3· · · · I don't know.
 ·4· ·JAMES STANG:
 ·5· · · · Do you know if it has an equity interest in the
 ·6· ·Catholic Mutual Umbrella Pool?
 ·7· ·FATHER CARR:
 ·8· · · · Yes.· Yes, we do.
 ·9· ·KATHLEEN ZUNIGA:
 10· · · · Yes.
 11· ·JAMES STANG:
 12· · · · Okay.· What is the value -- it may be
 13· ·disclosed, but I didn't write it down.· What is the
 14· ·scheduled value of that interest?
 15· ·FATHER CARR:
 16· · · · I don't have that.
 17· ·JAMES STANG:
 18· · · · Okay.
 19· ·MARK MINTZ:
 20· · · · Mr. Stang, we are pretty sure it's in here.· We
 21· ·will -- again, they are very long.· As we are all
 22· ·going through this, we will try and make sure it is
 23· ·provided to you.
 24· ·JAMES STANG:
 25· · · · Okay.· One of the things that I noticed -- and

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 ·1· ·it's hard not to see it -- the Archdiocese is a
 ·2· ·creditor in a bankruptcy pending in the Western
 ·3· ·District of Michigan that appears associated with
 ·4· ·some payroll service fraud.· Can you tell me what
 ·5· ·the amount of that -- well, I see you have put down
 ·6· ·$631,448 is the amount requested.· Is the same
 ·7· ·amount for seven of the debtors in that proceeding.
 ·8· ·I assume that is all one claim against all seven and
 ·9· ·not 631 times 7; is that correct?
 10· ·FATHER CARR:
 11· · · · That's correct.
 12· ·JAMES STANG:
 13· · · · Okay.· What was the nature of the payroll
 14· ·fraud.
 15· ·JEFFREY ENTWISLE:
 16· · · · It was a third-party payroll provider, and it
 17· ·was alleged that there were improprieties with state
 18· ·and federal payroll taxes.
 19· ·JAMES STANG:
 20· · · · That took your money and didn't pay it over to
 21· ·the governmental authorities?
 22· ·FATHER CARR:
 23· · · · Yep.
 24· ·JAMES STANG:
 25· · · · And who in the Archdiocese was responsible for

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 ·1· ·the oversight, for the handling of payroll?
 ·2· ·FATHER CARR:
 ·3· · · · Each separate entity is responsible for their
 ·4· ·own payroll.
 ·5· ·JAMES STANG:
 ·6· · · · But this is an archdiocesan claim; is that
 ·7· ·correct?
 ·8· ·FATHER CARR:
 ·9· · · · That's correct.
 10· ·JAMES STANG:
 11· · · · Okay.· So the Archdiocese got euphemistically
 12· ·ripped off for $631,000.· I'm not asking about
 13· ·parishes.· I'm not asking about the foundation.
 14· ·This is a claim of the Archdiocese; is that right?
 15· ·FATHER CARR:
 16· · · · The claim is, yes.
 17· ·JAMES STANG:
 18· · · · The Archdiocese is not responsible for the
 19· ·payroll taxes of a given parish; is that correct?
 20· ·FATHER CARR:
 21· · · · That's correct.
 22· ·JAMES STANG:
 23· · · · So the Archdiocese as compared to any other
 24· ·juridical entity within the ecclesiastical
 25· ·Archdiocese, the Archdiocese corporation lost

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 ·1· ·$631,000 to this fraud?
 ·2· ·MARK MINTZ:
 ·3· · · · Mr. Stang, this is Mark Mintz the reason I'm
 ·4· ·jumping in is because -- well, let's be perfectly
 ·5· ·honest is, I was the attorney for the Archdiocese
 ·6· ·with regards to this bankruptcy.· But the first step
 ·7· ·is the proofs of claim and the amounts listed here
 ·8· ·are aggregate amounts for what the Archdiocese did
 ·9· ·cover for certain parishes in certain amounts.· So
 10· ·it is -- these are the claims of it.· They relate to
 11· ·claims of other parishes that were covered by the
 12· ·Archdiocese as well.· There was one contract with
 13· ·IOI that relates to this.
 14· ·JAMES STANG:
 15· · · · Does the Archdiocese have -- let's go back for
 16· ·a moment.
 17· · · · Does the Archdiocese handle the payroll of each
 18· ·parish through a parish services agreement?
 19· ·FATHER CARR:
 20· · · · No.
 21· ·JAMES STANG:
 22· · · · Okay.· When the Archdiocese filed a proof of --
 23· ·and Mr. Mintz, I know you are not a witness but, if
 24· ·you can, since you were the attorney on the matter,
 25· ·I would be happy to hear your explanation, although

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 ·1· ·I appreciate you are not under oath.· But I know
 ·2· ·when you say you are being completely honest, I know
 ·3· ·you are always being honest.
 ·4· · · · Did the Archdiocese file a proof of claim in
 ·5· ·the case?
 ·6· ·MARK MINTZ:
 ·7· · · · The Archdiocese filed a proof of claim, yes.
 ·8· ·JAMES STANG:
 ·9· · · · And did it identify in the proof of claim that
 10· ·it was filing it on behalf of any entity other than
 11· ·the Archdiocese?
 12· ·MARK MINTZ:
 13· · · · The proofs of claim in the case had attachments
 14· ·to it that explained, I believe, what they were
 15· ·being filed on behalf of.· Or who they were being
 16· ·filed on behalf of.
 17· ·JAMES STANG:
 18· · · · Okay.· And is there any agreement between the
 19· ·parish is affected by this fraud and the Archdiocese
 20· ·designating the Archdiocese as an agent of the
 21· ·parishes?
 22· ·MARK MINTZ:
 23· · · · I am not sure.
 24· ·JAMES STANG:
 25· · · · Okay.· Is this bankruptcy in a Chapter 11 or

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 ·1· ·Chapter 7.
 ·2· ·MARK MINTZ:
 ·3· · · · They are all Chapter 11.· They are -- I can't
 ·4· ·even remember the number, but there is Chapter 11 in
 ·5· ·Western District of Michigan all related to it.
 ·6· ·JAMES STANG:
 ·7· · · · Right.· And how long -- oh, the case has been
 ·8· ·pending since 2019.· And the Archdiocese is a member
 ·9· ·of the creditor's committee, from what I understand?
 10· ·MARK MINTZ:
 11· · · · The Archdiocese is a mem -- they are related
 12· ·cases.· The Archdiocese is the chair -- I'm sorry --
 13· ·is the former chairman.· Was on the creditor's -- is
 14· ·still on the creditor's committee for one of the
 15· ·cases, I believe the IOI cases, but not for the
 16· ·other cases.
 17· ·JAMES STANG:
 18· · · · Are there separate committees for each case.
 19· ·MARK MINTZ:
 20· · · · There are separate committees for the IOI case
 21· ·and then a separate committee for Najeeb Khan case.
 22· ·JAMES STANG:
 23· · · · Got it.· And who is counsel -- do both
 24· ·committees have the same committee counsel?
 25· ·MARK MINTZ:

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 ·1· · · · They do not.· IOI counsel is -- IOI committee
 ·2· ·is Ice Miller.· The Najeeb Khan's counsel -- the
 ·3· ·Najeeb Khan committee's counsel is Jones Walker.· We
 ·4· ·no longer -- we had filed the withdrawals, and so --
 ·5· ·you know, to be perfectly clear, we had filed the
 ·6· ·withdrawals that were appropriate for the
 ·7· ·Archdiocese based on that when that was filed.· When
 ·8· ·we were hired by Najeeb Khan.
 ·9· ·JAMES STANG:
 10· · · · I don't know what withdrawals you are referring
 11· ·to.
 12· ·MARK MINTZ:
 13· · · · We withdrew as counsel for the Archdiocese of
 14· ·New Orleans in the IOI case in order to enroll as
 15· ·counsel of the Najeeb Khan committee.
 16· ·JAMES STANG:
 17· · · · Got it.· So your firm is counsel to a
 18· ·creditor's committee in which the Archdiocese is a
 19· ·member and a creditor?
 20· ·MARK MINTZ:
 21· · · · I am counsel to a committee in which the
 22· ·Archdiocese is a creditor.· I am not counsel to a
 23· ·committee in which the Archdiocese is a member.
 24· ·JAMES STANG:
 25· · · · Got it.· Okay.· Thank you.· I would like you to

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 ·1· ·turn to section 75, which is page 64 of 66 and page
 ·2· ·76 of 1298.
 ·3· · · · Is not clear to me whether the claims that are
 ·4· ·listed from 75.1 to 75.6 have actually been
 ·5· ·submitted to the carriers that are listed.· Can you
 ·6· ·tell me -- because they are all listed as unknown,
 ·7· ·it is hard for me to prioritize my question.· Can
 ·8· ·you tell me if the claims for these, if claims have
 ·9· ·been submitted to the carriers for the claims that
 10· ·are listed here?
 11· ·KATHLEEN ZUNIGA:
 12· · · · I do not know.
 13· ·JAMES STANG:
 14· · · · Does the Archdiocese have someone who is
 15· ·responsible for risk management as an in-house
 16· ·employee?
 17· ·KATHLEEN ZUNIGA:
 18· · · · No.
 19· ·JAMES STANG:
 20· · · · Who is responsible for the submission of a
 21· ·claim if the Archdiocese believes it has an insured
 22· ·claimant?
 23· ·JEFFREY ENTWISLE:
 24· · · · That would be me.· Jeff Entwisle.
 25· ·JAMES STANG:

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 ·1· · · · Okay.· So Mr. Entwisle, does risk management
 ·2· ·fall under your portfolio, if you will?
 ·3· · · · That was actually a question mark at the end of
 ·4· ·that.
 ·5· ·JEFFREY ENTWISLE:
 ·6· · · · I did not take that as a question.· I'm sorry.
 ·7· ·Could you ask it again?
 ·8· ·JAMES STANG:
 ·9· · · · Are you the person at the Archdiocese
 10· ·responsible for risk management and --
 11· ·JEFFREY ENTWISLE:
 12· · · · Yes.· Yes.
 13· ·JAMES STANG:
 14· · · · Okay.· Thank you.· We cleared up the bond
 15· ·question.
 16· · · · Father Carr, can you tell me, are you familiar
 17· ·with the property known as the St. John the Baptist
 18· ·Church?
 19· ·FATHER CARR:
 20· · · · Am I familiar with it?
 21· ·JAMES STANG:
 22· · · · Yeah.· I mean, you are aware -- if I said the
 23· ·St. John the Baptist Church, do you know what I am
 24· ·talking about.
 25· ·FATHER CARR:

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 ·1· · · · Yes.
 ·2· ·JAMES STANG:
 ·3· · · · Okay.· Is that a parish?
 ·4· ·FATHER CARR:
 ·5· · · · Which one are you talking about?
 ·6· ·JAMES STANG:
 ·7· · · · Well, I am not sure.· I was told that there was
 ·8· ·a property that someone referred to as the St. John
 ·9· ·the Baptist Church.
 10· ·FATHER CARR:
 11· · · · There's two of them.
 12· ·JAMES STANG:
 13· · · · Okay.· Are both of them -- is one of them not
 14· ·currently occupied for religious purposes?
 15· ·FATHER CARR:
 16· · · · One is -- there's one that is -- they have mass
 17· ·there.
 18· ·JAMES STANG:
 19· · · · Both properties that are referred to by that
 20· ·name conduct masses in the buildings?
 21· ·FATHER CARR:
 22· · · · Yes.
 23· ·JAMES STANG:
 24· · · · Okay.· And is that a weekly mass at each one?
 25· ·FATHER CARR:

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 ·1· · · · Yes.
 ·2· ·JAMES STANG:
 ·3· · · · Okay.· My understanding was, one of the
 ·4· ·properties having that name had been closed or shut
 ·5· ·down and was not operating.· I take it from your
 ·6· ·answer that that information is not correct?
 ·7· ·FATHER CARR:
 ·8· · · · That information is not correct.· They are both
 ·9· ·being operated.· They both have masses every week.
 10· ·JAMES STANG:
 11· · · · Okay.· I'm going to ask you -- let's see.                            I
 12· ·would like you to go to section -- I'm sorry.                            I
 13· ·will get the page number for you in just a minute.
 14· · · · Ms. George, how am I doing? I mean time wise.
 15· ·AMANDA GEORGE:
 16· · · · Let me check.
 17· ·JAMES STANG:
 18· · · · Time wise.
 19· ·AMANDA GEORGE:
 20· · · · All right.· Keep going.
 21· ·JAMES STANG:
 22· · · · All right.· So I would like you to look at --
 23· ·I'm sorry, I'm almost there.· I apologize for my
 24· ·computer problem.
 25· · · · I would like you to look at the claim of --

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 ·1· ·well, let's look at 3.53.· That is on page 926 of
 ·2· ·1298 and 842 of 1157.· 3.53.· And there are a number
 ·3· ·like this.· I'm just, that one just happened to come
 ·4· ·out.
 ·5· · · · This is a list of creditors, and 3.53
 ·6· ·identifies the Archdiocese of New Orleans as a
 ·7· ·creditor.· Can you explain to me -- and there are
 ·8· ·other instances of this, and I'm not going to go
 ·9· ·through each one -- why you are listing the debtor
 10· ·as a creditor?
 11· ·KATHLEEN ZUNIGA:
 12· · · · The decision was made to be as transparent as
 13· ·we could with all of the transactions.· The debtor
 14· ·entity, again, includes the administrative offices,
 15· ·the nine schools, and the two parishes.· And so they
 16· ·are footnoted that, if they are transactions within
 17· ·the debtor entity.
 18· ·JAMES STANG:
 19· · · · So this is -- okay.· I understand.· I thought
 20· ·from your prior answer that that's what perhaps you
 21· ·meant, and now I understand.
 22· · · · 3.54, just go down one or two.· The Archdiocese
 23· ·of New Orleans Indemnity Company, that is the
 24· ·captive insurer; is that correct, Father Carr?
 25· ·FATHER CARR:

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 ·1· · · · Yes.
 ·2· ·JAMES STANG:
 ·3· · · · And it says that there is a revolving line of
 ·4· ·credit, but the amount of the claim is undetermined.
 ·5· ·Does that mean that no draws, as of the petition
 ·6· ·date, there was no draw outstanding on the revolving
 ·7· ·line of credit?
 ·8· ·FATHER CARR:
 ·9· · · · That is correct.
 10· ·JAMES STANG:
 11· · · · And what is the amount that could be borrowed
 12· ·under the revolving line of credit?
 13· ·FATHER CARR:
 14· · · · I don't remember.
 15· ·JAMES STANG:
 16· · · · Has the Archdiocese Indemnity Company informed
 17· ·the debtor whether that revolving line of credit is
 18· ·still available to it on a post-bankruptcy basis?
 19· ·FATHER CARR:
 20· · · · They have not said that it is not.
 21· ·JAMES STANG:
 22· · · · Okay.· Has the Archdiocese ever used that
 23· ·revolving line of credit?
 24· ·FATHER CARR:
 25· · · · I am not sure about that answer.

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 ·1· ·JAMES STANG:
 ·2· · · · Is there a loan agreement between the indemnity
 ·3· ·company and the Archdiocese for the revolving line
 ·4· ·of credit.
 ·5· ·FATHER CARR:
 ·6· · · · There is.
 ·7· ·JAMES STANG:
 ·8· · · · Okay.· I would like you to take a look at
 ·9· ·3.117, which is on page 863 of 1157 and 948 of 1298.
 10· ·MARK MINTZ:
 11· · · · Could you state the number again?
 12· ·JAMES STANG:
 13· · · · I'm sorry.· 3.117.· It is on your numbered
 14· ·pages 863, and on the Court's numbered pages, 947.
 15· ·MARK MINTZ:
 16· · · · Got it.
 17· ·JAMES STANG:
 18· · · · Actually, could you just put a pause or met for
 19· ·a minute?· I want to go back to St. John the
 20· ·Baptist, I may mispronounce the name, on Oretha
 21· ·Castle Haley Boulevard.
 22· · · · Father Carr, is that an active parish?
 23· ·FATHER CARR:
 24· · · · Yes.
 25· ·JAMES STANG:

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 ·1· · · · Okay.
 ·2· ·FATHER CARR:
 ·3· · · · It is an active parish of -- St. Patrick's down
 ·4· ·the street runs the parish.
 ·5· ·JAMES STANG:
 ·6· · · · And does St. Patrick's have a sanctuary?
 ·7· ·FATHER CARR:
 ·8· · · · Does it have a sanctuary?
 ·9· ·JAMES STANG:
 10· · · · Yes.· Is mass performed at the other -- at that
 11· ·building?
 12· ·FATHER CARR:
 13· · · · Yes.
 14· ·JAMES STANG:
 15· · · · And how far away is it from St. John the
 16· ·Baptist on --
 17· ·FATHER CARR:
 18· · · · I would say about a half-mile.
 19· ·JAMES STANG:
 20· · · · Okay.· So I would like you to go back now
 21· ·please to 3.117.· The basis for the claim is an
 22· ·unresolved claim.· What does that mean?· I mean, I
 23· ·know what the words mean.· But what does it mean --
 24· ·what are you trying to convey to us?· Is this a sex
 25· ·abuse claim that is not in litigation?· What does

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 ·1· ·that mean?
 ·2· ·KATHLEEN ZUNIGA:
 ·3· · · · I don't know which this one is.
 ·4· ·JAMES STANG:
 ·5· · · · Well, was the phrase unresolved claim used
 ·6· ·throughout this document to refer to a particular
 ·7· ·kind of claim?
 ·8· ·KATHLEEN ZUNIGA:
 ·9· · · · I don't know.
 10· ·JAMES STANG:
 11· · · · Would the name that is intentionally omitted
 12· ·assist anyone in telling us what this unresolved
 13· ·claim is about?
 14· ·FATHER CARR:
 15· · · · I don't know.
 16· ·JAMES STANG:
 17· · · · Okay.· It's not a trade payable; is that
 18· ·correct?
 19· ·KATHLEEN ZUNIGA:
 20· · · · It is not listed as one, no.
 21· ·JAMES STANG:
 22· · · · I mean, I know it's not listed as a trade
 23· ·payable.· I was just trying to see if maybe there
 24· ·was a trade payable that -- well, they are all
 25· ·listed as disputed, so I guess that's not a

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 ·1· ·distinction.· Okay.· Let's see.
 ·2· · · · At schedule G, which is, I will have to scroll
 ·3· ·down a little more --
 ·4· ·MARK MINTZ:
 ·5· · · · Starting on page 1242 of 1298, for those of
 ·6· ·you ...
 ·7· ·ROGER STETTER:
 ·8· · · · Thank you.
 ·9· ·JAMES STANG:
 10· · · · Okay.· Let's see, I'm sorry.· Here we go.
 11· ·Thank you very much.
 12· · · · At 2.1 -- I'm sorry.· Let's not do that.
 13· · · · At 2.78, which is, on your page, 16 of 55 for
 14· ·this particular schedule, there is a contract with
 15· ·the Gallagher Benefit Services.· A consulting
 16· ·agreement with Gallagher Benefit Services.· Father
 17· ·Carr or Mr. Entwisle, since you do more risk
 18· ·management, can you tell me what this consulting
 19· ·agreement, what they consult about under this
 20· ·consulting agreement?
 21· ·JEFFREY ENTWISLE:
 22· · · · They are our consultant for our self-insured
 23· ·health insurance.
 24· ·JAMES STANG:
 25· · · · And do they provide you consulting services

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 ·1· ·regarding any other risk management that is
 ·2· ·performed for the Archdiocese?
 ·3· ·JEFFREY ENTWISLE:
 ·4· · · · No, I don't believe so.
 ·5· ·JAMES STANG:
 ·6· · · · Okay.· Please scroll down to 2.87.· This is the
 ·7· ·investment management agreement with Harding Loevner
 ·8· ·LP.· Is this an investment management agreement
 ·9· ·regarding one of the portfolios?
 10· ·FATHER CARR:
 11· · · · Yes.
 12· ·JAMES STANG:
 13· · · · And which portfolio does this refer to?
 14· ·FATHER CARR:
 15· · · · A.
 16· ·JAMES STANG:
 17· · · · Okay.· I would like you to go down to 2.105.
 18· · · · Is St. Mary's Academy a school owned by the
 19· ·Archdiocese?
 20· ·FATHER CARR:
 21· · · · No, it is not.
 22· ·JAMES STANG:
 23· · · · Why does the Archdiocese have a contract for
 24· ·consulting services for an entity that it does not
 25· ·own?

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 ·1· ·FATHER CARR:
 ·2· · · · I am not sure.
 ·3· ·JAMES STANG:
 ·4· · · · Okay.· Is St. Elizabeth Ann Seton School owned
 ·5· ·by the Archdiocese?
 ·6· ·FATHER CARR:
 ·7· · · · No, it is not.
 ·8· ·JAMES STANG:
 ·9· · · · Why does the Archdiocese have a consulting
 10· ·agreement for an entity that it does not -- that
 11· ·benefits an entity that it does not own?
 12· ·FATHER CARR:
 13· · · · Again, I'm not sure.
 14· ·JAMES STANG:
 15· · · · Okay.· I would like you to go down to 2.152.                              I
 16· ·noticed that this is an agreement with St. Tammany
 17· ·Parish, and I think that's the same name as the
 18· ·cemetery entity.· I don't know if they are related
 19· ·or not.· But what is this agreement?· I cannot, from
 20· ·the title, understand what a cooperative endeavor
 21· ·agreement is.
 22· ·MARK MINTZ:
 23· · · · Well, one thing I would like -- Mr. Stang, this
 24· ·is Mark Mintz.· Just to clarify for you, St. Tammany
 25· ·Parish is the civil parish north of New Orleans.

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 ·1· ·That can become somewhat -- so that is the name of
 ·2· ·the -- thanks to the fact that we are in Louisiana,
 ·3· ·the word parish also means county.· And so it is
 ·4· ·St. Tammany county governance.
 ·5· ·JAMES STANG:
 ·6· · · · Got it.· Okay.
 ·7· ·MARK MINTZ:
 ·8· · · · But they will answer the question which you
 ·9· ·specifically asked, but I wanted to be clear on
 10· ·that.
 11· ·JAMES STANG:
 12· · · · So Mr. Mintz had mentioned, we are not talking
 13· ·about an incorporated catholic parish.· We are
 14· ·talking about a civil, governmental entity.
 15· ·FATHER CARR:
 16· · · · Correct.
 17· ·JAMES STANG:
 18· · · · Okay.· So can someone tell me what this is?
 19· ·FATHER CARR:
 20· · · · Yeah.· I'm not sure.
 21· ·JAMES STANG:
 22· · · · Okay.· And so let's go to 2.153.· This is an
 23· ·agreement -- this is what looks like a lease between
 24· ·the civil parish in the catholic cemetery for a
 25· ·ground lease.· Can you explain what the

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 ·1· ·Archdiocese's interest is in this ground lease
 ·2· ·agreement and guarantee?· Because on the face of it,
 ·3· ·it looks like the civil parish is leasing property
 ·4· ·to the catholic cemetery, but my understanding is
 ·5· ·that the catholic cemetery is a separate entity.
 ·6· ·What is the relationship of the Archdiocese for this
 ·7· ·particular executory contract?
 ·8· ·FATHER CARR:
 ·9· · · · I'm not sure what exactly this contract is.
 10· ·JAMES STANG:
 11· · · · Okay.· Anyone know what this is about?
 12· · · · · · · · · (No audible response.)
 13· ·JAMES STANG:
 14· · · · Okay.· Same question regarding 2.154.· It
 15· ·appears to be a contract between the civil parish
 16· ·and the catholic cemetery regarding -- well, it's
 17· ·self-evident -- management, marketing, and
 18· ·accounting.· Can anyone tell me what the
 19· ·relationship is of this contract to the Archdiocese?
 20· ·MARK MINTZ:
 21· · · · Mr. Stang, you know, I think that -- I'm going
 22· ·to let the witnesses obviously answer.· We are going
 23· ·to get back to you on these, and it may have been
 24· ·one of the ones that we overly disclosed or talked
 25· ·about at the beginning.· But we are going to run

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 ·1· ·this down.· So thank you for bringing it up.
 ·2· ·JAMES STANG:
 ·3· · · · Okay.· Thank you.· And then on 2.156, we have
 ·4· ·State Street having a participation agreement and
 ·5· ·amendment.
 ·6· · · · Father Carr, does this relate to the management
 ·7· ·of one of the two portfolios?
 ·8· ·FATHER CARR:
 ·9· · · · The first -- I'm not sure which.· We would have
 10· ·to look and see which contract it is, because the
 11· ·State Street has a couple of roles with us.
 12· ·JAMES STANG:
 13· · · · Okay.· I might have missed it, but I don't
 14· ·recollect seeing any reference in the schedules --
 15· ·and you can look at schedule G -- to the parish
 16· ·services agreements.· And if I missed them, can you
 17· ·point out to me where they are?· And if they are not
 18· ·listed, could you tell me why they are not listed?
 19· ·MARK MINTZ:
 20· · · · Mr. Stang, this is Mark Mintz.· It is very
 21· ·possible that we forgot them.· So I will -- that can
 22· ·be part of our amendments.· I am not seeing them in
 23· ·here either, but that doesn't mean that I'm not seen
 24· ·it either -- or that it's not there and I didn't
 25· ·realize it.· But we will give any input we can make.

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 ·1· ·JAMES STANG:
 ·2· · · · Okay.· Ms. George, I have questions
 ·3· ·regarding -- that's all I have, at least on the
 ·4· ·schedules as filed.· I have questions regarding the
 ·5· ·SOFA, but I know you had some technology-related
 ·6· ·time constraints.
 ·7· ·AMANDA GEORGE:
 ·8· · · · How long do you think it will take to ask your
 ·9· ·questions about the SOFA, the statement of financial
 10· ·affairs?· How many questions do you have?
 11· ·JAMES STANG:
 12· · · · I think they're a little more -- well, I hope
 13· ·they all seem focused.· I would say maybe another 30
 14· ·minutes.
 15· ·AMANDA GEORGE:
 16· · · · All right.· And I think by that point we will
 17· ·have exhausted our little disk drive.· So we will
 18· ·need to wrap up by 2:00.· And so, if you think you
 19· ·can do that, Mr. Stang, let's finish up.
 20· ·JAMES STANG:
 21· · · · I will make every effort to.
 22· · · · Father Carr, when did the Archdiocese cease
 23· ·having in person masses as a result of Covid
 24· ·restrictions?
 25· ·FATHER CARR:

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 ·1· · · · It was a little after St. Patrick's Day.
 ·2· ·JAMES STANG:
 ·3· · · · I'm sorry.· I do celebrate it, because my late
 ·4· ·wife was Irish, but can you remind me what date that
 ·5· ·was?
 ·6· ·FATHER CARR:
 ·7· · · · March 17.
 ·8· ·JAMES STANG:
 ·9· · · · Okay.· Thank you.· So I'm going to direct your
 10· ·attention to page one of the, we will call it SOFA,
 11· ·statement of financial affairs, for gross revenue.
 12· ·And so we have got a revenue report through
 13· ·April 30.· Does the Archdiocese -- this is actually
 14· ·perhaps best put to Mr. Entwisle.· Does the
 15· ·Archdiocese keep account of revenue on a daily
 16· ·basis?
 17· ·JEFFREY ENTWISLE:
 18· · · · I'm not sure how to answer that.
 19· ·JAMES STANG:
 20· · · · Well, I will put it this way:· I'm trying to
 21· ·figure out how much revenue was received between
 22· ·March 17 when masses stopped and April 30.
 23· ·JEFFREY ENTWISLE:
 24· · · · I don't know that answer.
 25· ·JAMES STANG:

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 ·1· · · · Is that an answer that we could get from the
 ·2· ·books and records of the Archdiocese?
 ·3· ·JEFFREY ENTWISLE:
 ·4· · · · Possibly.
 ·5· ·KATHLEEN ZUNIGA:
 ·6· · · · Revenue related to what though?
 ·7· ·JAMES STANG:
 ·8· · · · Revenue.· I mean, I don't know.· It's
 ·9· ·whatever -- if I asked you to break down the
 10· ·$52,077,000, could you tell me how much came in
 11· ·between March 17 and April 30?
 12· ·KATHLEEN ZUNIGA:
 13· · · · Yes.
 14· ·JAMES STANG:
 15· · · · Okay.· Now, I know your monthly operating
 16· ·reports are not due yet, but do you know how much
 17· ·revenue you received for the month of May?
 18· ·KATHLEEN ZUNIGA:
 19· · · · I do not.
 20· ·JAMES STANG:
 21· · · · Okay.· And when does the Archdiocese close its
 22· ·books for the month, a given month?· How many days
 23· ·after the end of the month does the Archdiocese
 24· ·close its books for the month?
 25· ·KATHLEEN ZUNIGA:

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 ·1· · · · There's not a set schedule.· There is with the
 ·2· ·monthly operating reports.· But, you know, I'd say
 ·3· ·within 15 days.
 ·4· ·JAMES STANG:
 ·5· · · · Okay.· So I would like you now to turn to
 ·6· ·question two, which is on page 4.· Page 14 of 656,
 ·7· ·page 4 on the form.· I am looking at the first line
 ·8· ·item.· It says July 1, 2019 to April 30, 2020,
 ·9· ·approximately $495,000 for rents, royalties,
 10· ·proceeds, blah, blah, blah.
 11· · · · And this is for, as I understand it -- let's
 12· ·see, if I scroll down to the footnote -- for the
 13· ·administrative office.· Did the administrative
 14· ·offices receive any interest on its accounts for
 15· ·this period?· Because I don't see interest income
 16· ·listed like it is on some of the other line items.
 17· ·KATHLEEN ZUNIGA:
 18· · · · Are you referring to the rents and royalties
 19· ·proceeds from sales of assets?· That line item?
 20· ·Because there are interest --
 21· ·JAMES STANG:
 22· · · · Yes.· I don't see it listed -- well, if I go
 23· ·down a few, I see interest income for, I think
 24· ·probably it's one of the schools.· I'd have to go
 25· ·down to the footnotes.· But at least this

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 ·1· ·operating -- this administrative office number does
 ·2· ·not reflect any.· In the title of description of
 ·3· ·sources of revenue, it doesn't say interest income.
 ·4· ·Some of the other line items do.· And so I was
 ·5· ·wondering if interest income is included in the
 ·6· ·$495,000.
 ·7· ·KATHLEEN ZUNIGA:
 ·8· · · · No.· That was really just the base -- what was
 ·9· ·included was the description.· It is not interest
 10· ·income.
 11· ·JAMES STANG:
 12· · · · Okay.· Was there interest income earned by the
 13· ·administrative offices for this period?
 14· ·KATHLEEN ZUNIGA:
 15· · · · Yes.
 16· ·JAMES STANG:
 17· · · · I'm sorry.· I didn't hear you.
 18· ·KATHLEEN ZUNIGA:
 19· · · · Yes.
 20· ·JAMES STANG:
 21· · · · And where would I find that reported on the
 22· ·schedules -- statement of financial affairs?
 23· ·KATHLEEN ZUNIGA:
 24· · · · The Archdiocese, it is probably included in the
 25· ·SOFA 1.1 in the revenue from business.· Because

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 ·1· ·the ...
 ·2· ·JAMES STANG:
 ·3· · · · I'm going to take that as we will figure that
 ·4· ·out.· Is that fair?
 ·5· ·KATHLEEN ZUNIGA:
 ·6· · · · Yes.· I can confirm that.
 ·7· ·JAMES STANG:
 ·8· · · · Okay.· Thank you.· I'm going to just put this
 ·9· ·to whoever the right person is.· For fiscal year
 10· ·2020, what has been the rate of return including
 11· ·unrealized gains on portfolio a?
 12· ·FATHER CARR:
 13· · · · I don't know that answer right now.
 14· ·JAMES STANG:
 15· · · · How about the same question for portfolio B?
 16· ·FATHER CARR:
 17· · · · Again, I don't know the answer right now.
 18· ·JAMES STANG:
 19· · · · Okay.· I assume that is something that could be
 20· ·discerned from the reports from the bank as it's
 21· ·aggregated the accounts?
 22· ·FATHER CARR:
 23· · · · Right.· That's correct.
 24· ·JAMES STANG:
 25· · · · Okay.· I would like you to scroll down to 3.51,

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 ·1· ·which is creditors who have received, I believe this
 ·2· ·is the 90 day payments.· And there are a number of
 ·3· ·people here whose names and addresses are
 ·4· ·intentionally omitted.· Can you tell me if there is
 ·5· ·a common reason why the names of these creditors
 ·6· ·have been omitted from the schedule -- from the
 ·7· ·statement of financial affairs?
 ·8· ·KATHLEEN ZUNIGA:
 ·9· · · · I'm trying to locate them.
 10· ·MARK MINTZ:
 11· · · · Mr. Stang, again, this is Mr. Mintz.· I'm not
 12· ·under oath.· I can tell you in general, many of
 13· ·these, and I'm going to let the people under oath
 14· ·say it, were for school related payments in order to
 15· ·keep us from naming especially minors who may need
 16· ·to have gotten some payments or provide individual
 17· ·information that was not needed to give specific
 18· ·information, we did admit at that point.· We will be
 19· ·happy to provide you or -- you know, we didn't want
 20· ·to publicly put people's addresses, especially if
 21· ·they were minors.
 22· ·JAMES STANG:
 23· · · · Okay.· So a lot of these might be victim
 24· ·support payments?
 25· ·MARK MINTZ:

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 ·1· · · · For example.· Or they could have been related
 ·2· ·to school payments of some sort through the schools.
 ·3· ·However they worked on giving money back to a
 ·4· ·student or something like that.
 ·5· ·JAMES STANG:
 ·6· · · · Okay.· But if it was a payment to a school as
 ·7· ·opposed to an individual, that would have been
 ·8· ·disclosed, I would assume?
 ·9· ·MARK MINTZ:
 10· · · · Correct.
 11· ·KATHLEEN ZUNIGA:
 12· · · · Yes.
 13· ·JAMES STANG:
 14· · · · Okay.· I would like you to look at 3.238 on
 15· ·page 46, and then there are a few more that go on to
 16· ·the next page.· I'm not great at math, but I totaled
 17· ·up the payments to Catholic Mutual Group to be
 18· ·approximately $1.9 million.· And I would note that
 19· ·some of these sums are rounded.· For example, one of
 20· ·them is for $556,000 as opposed to 3.240 which is
 21· ·down to a penny.· Actually, 240 and 241 of the exact
 22· ·same amounts.· What do these payments relate to?
 23· ·FATHER CARR:
 24· · · · I'm not sure without looking up documentation
 25· ·on it.

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 ·1· ·JAMES STANG:
 ·2· · · · Would these be premium payments of some sort,
 ·3· ·or deductible payments, or self-insured retention
 ·4· ·payments?
 ·5· ·FATHER CARR:
 ·6· · · · Not self-insured retention payments, no.
 ·7· ·JAMES STANG:
 ·8· · · · Okay.· All right.· I would like you to look at
 ·9· ·3.775.· This is a payment to -- I will find the page
 10· ·for you in a minute.
 11· ·MARK MINTZ:
 12· · · · Page 146 of 656.
 13· ·JAMES STANG:
 14· · · · Actually, it's -- yes.· Thank you.· This is a
 15· ·payment to the Hard Rock Hotel Universal in Orlando
 16· ·for $10,760.· Why did the Archdiocese owe an amount
 17· ·of that size to a hotel in Orlando?
 18· ·KATHLEEN ZUNIGA:
 19· · · · That was on one of the high schools relating to
 20· ·a school trip.
 21· ·JAMES STANG:
 22· · · · Would that be a high school that was owned by
 23· ·the Archdiocese.
 24· ·KATHLEEN ZUNIGA:
 25· · · · Yes.

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 ·1· ·JAMES STANG:
 ·2· · · · Okay.· I would like you to go to 3.786, which
 ·3· ·is just down a page or two.· There is a payment to
 ·4· ·the Hilton New Orleans Riverside for almost $19,000.
 ·5· ·What did this relate to?
 ·6· ·FATHER CARR:
 ·7· · · · Oh, it related to the priests -- we have a
 ·8· ·priest convention every year, and we rent out a
 ·9· ·hotel for all of the priests to have a priest
 10· ·convention.
 11· ·JAMES STANG:
 12· · · · So this would have been for conference rooms?
 13· ·FATHER CARR:
 14· · · · It would have been -- not only for conference
 15· ·rooms for hotel rooms and -- the whole thing.
 16· ·JAMES STANG:
 17· · · · Okay.· Would those be priests serving in the
 18· ·diocese?
 19· ·FATHER CARR:
 20· · · · Only serving in the diocese, yes.
 21· ·JAMES STANG:
 22· · · · Okay.· I would like you to go down to 3.1500.
 23· ·That is -- let's see if someone beats me to it.
 24· ·MARK MINTZ:
 25· · · · Resto Group?

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 ·1· ·JAMES STANG:
 ·2· · · · Yes.
 ·3· ·MARK MINTZ:
 ·4· · · · On page 267.
 ·5· ·JAMES STANG:
 ·6· · · · Yes.· The total payments to Resto Group come to
 ·7· ·about, I don't know, I think it is in excess of
 ·8· ·$15,000.· What is the Resto Group?
 ·9· ·FATHER CARR:
 10· · · · I don't know.
 11· ·JAMES STANG:
 12· · · · Okay.· I looked at this address up on Google
 13· ·maps, and it doesn't look like a business, at least
 14· ·on the street level.· I saw some references to an
 15· ·entity called the Resto Group that was a restaurant
 16· ·operation.· Does that refresh anyone's recollection?
 17· ·I'm not saying it's the same entity, but there is a
 18· ·restaurant group business called the Resto Group.
 19· ·KATHLEEN ZUNIGA:
 20· · · · Yeah, I think --
 21· ·JAMES STANG:
 22· · · · No?
 23· ·MARK MINTZ:
 24· · · · We will get back to you, Mr. Stang.
 25· ·JAMES STANG:

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 ·1· · · · Thank you.· 3.1538, this is a payment -- we are
 ·2· ·on page 273 of 656.· This is a $50,000 payment to an
 ·3· ·architectural firm.· You don't identify it as such
 ·4· ·but I looked them up.· Why is the Archdiocese
 ·5· ·engaging an architectural firm?
 ·6· ·FATHER CARR:
 ·7· · · · Don't know specifically what project this might
 ·8· ·be.
 ·9· ·JAMES STANG:
 10· · · · Okay.
 11· ·KATHLEEN ZUNIGA:
 12· · · · I think this is related to one of the high
 13· ·schools, but I don't really ...
 14· ·JAMES STANG:
 15· · · · And would that be at high school owned by the
 16· ·Archdiocese?
 17· ·KATHLEEN ZUNIGA:
 18· · · · Yes.· If you give me a minute, I can try to see
 19· ·if I can figure out.
 20· ·MARK MINTZ:
 21· · · · We will get back to you, Mr. Stang, on it.
 22· ·JAMES STANG:
 23· · · · Okay.· Father Carr, are there any Catholic high
 24· ·schools in the Archdiocese that are not owned by the
 25· ·Archdiocese?

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 ·1· ·FATHER CARR:
 ·2· · · · Yes.· That's -- yes.
 ·3· ·JAMES STANG:
 ·4· · · · Okay.· I would like you to take a look at
 ·5· ·4.282.· And I think I may know the answer to this,
 ·6· ·but I just want to check.· This is on page 390 of
 ·7· ·656.· It shows a transfer to the Archdiocese --
 ·8· ·4.282 for the transfer to the Archdiocese on
 ·9· ·accounts of Archbishop Hannan High School.· Is just
 10· ·another instance of, in effect, an intracompany
 11· ·transfer?
 12· ·KATHLEEN ZUNIGA:
 13· · · · Yes.
 14· ·JAMES STANG:
 15· · · · Okay.· Let's see.· Please turn to 4.619.· Does
 16· ·the Archdiocese provide any accounting services or
 17· ·support to the Catholic Community Foundation?
 18· ·FATHER CARR:
 19· · · · Payroll support.
 20· ·JAMES STANG:
 21· · · · What about other accounting support?
 22· ·KATHLEEN ZUNIGA:
 23· · · · No.
 24· ·FATHER CARR:
 25· · · · Not that I can think of.

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 ·1· ·JEFFREY ENTWISLE:
 ·2· · · · They have their own accounting.
 ·3· ·JAMES STANG:
 ·4· · · · Okay.· Why did the Archdiocese of New Orleans
 ·5· ·of the Catholic Community Foundation approximately
 ·6· ·$5,000?
 ·7· ·FATHER CARR:
 ·8· · · · I'm not sure.
 ·9· ·JAMES STANG:
 10· · · · Okay.· I would like you to scroll down the page
 11· ·to 4.625.· Châteaux de Notre Dame.· What is Châteaux
 12· ·de Notre Dame?
 13· ·FATHER CARR:
 14· · · · It is a nursing home, assisted living facility.
 15· ·JAMES STANG:
 16· · · · And is it a separate legal is from the
 17· ·Archdiocese?
 18· ·FATHER CARR:
 19· · · · Yes, it is.
 20· ·JAMES STANG:
 21· · · · And what does the Archdiocese owe it money?
 22· ·KATHLEEN ZUNIGA:
 23· · · · I don't know.
 24· ·JAMES STANG:
 25· · · · And it is listed as an affiliate relationship

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 ·1· ·to the debtor.· What is the basis for the affiliate
 ·2· ·relationship designation?
 ·3· · · · I heard someone say something, but I wasn't
 ·4· ·sure if it was directed to me.
 ·5· ·FATHER CARR:
 ·6· · · · The charges for Châteaux would be for some
 ·7· ·retired priests that are living over there.
 ·8· ·JAMES STANG:
 ·9· · · · Okay.
 10· ·FATHER CARR:
 11· · · · Housing costs.
 12· ·JAMES STANG:
 13· · · · Got it.· Please turn to 4.960, which is page
 14· ·477 on the form and page 487 on the docketing
 15· ·numbering.· What is -- I'm sorry.· I will wait until
 16· ·you get there.
 17· ·MARK MINTZ:
 18· · · · All right.· This is the Mater Dolorosa?
 19· ·JAMES STANG:
 20· · · · Yes.· What is Mater Dolorosa Apartments?
 21· ·FATHER CARR:
 22· · · · That is an elderly living facility.
 23· ·JAMES STANG:
 24· · · · And can I assume that payments from the
 25· ·Archdiocese to the apartments is likewise for

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 ·1· ·residential costs of retired priests?
 ·2· ·FATHER CARR:
 ·3· · · · Yes, sir.
 ·4· ·JAMES STANG:
 ·5· · · · Or personnel?· Okay.
 ·6· ·FATHER CARR:
 ·7· · · · Yes.
 ·8· ·JAMES STANG:
 ·9· · · · All right.· I would like you to look at section
 10· ·nine of the SOFA.· Let's see.· These are payments --
 11· ·these are gifts and donations.· I noticed -- and I
 12· ·hope you can just take my word for it.· I noticed,
 13· ·for example, that Notre Dame Seminary got a gift of
 14· ·$20,000 as reported on your statement of financial
 15· ·affairs.· Notre Dame Seminary has a custodial
 16· ·account balance, according to the schedules, of
 17· ·$3.5 million.· Why did the Archdiocese give 20 grand
 18· ·to an entity that has $3.5 million on deposit?· And
 19· ·I can direct you to -- these are alphabetical, if it
 20· ·helps you, but the entry doesn't really tell you
 21· ·much in terms of the gift of donation.· It just
 22· ·tells you that it was a gift of donation.
 23· · · · My question is:· Why would it have --
 24· ·FATHER CARR:
 25· · · · We don't know --

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 ·1· ·JAMES STANG:
 ·2· · · · -- made a gift to an entity that has
 ·3· ·$3.5 million on hand?
 ·4· ·FATHER CARR:
 ·5· · · · We don't know that.· We can't answer that.
 ·6· ·JAMES STANG:
 ·7· · · · All right.· Project Lazarus got collective
 ·8· ·donations as recorded of approximately -- my notes
 ·9· ·look like they say $56,000.· It has funds on deposit
 10· ·in the custodial account of $1.4 million.· Why did
 11· ·the Archdiocese make a gift of $56,000 to an entity
 12· ·that has $1.4 million in its bank account?
 13· ·FATHER CARR:
 14· · · · Again, I can't answer that.· I don't know.
 15· ·JAMES STANG:
 16· · · · Okay.· I would like you to -- we are almost
 17· ·done.· I would like you to look at 9.142, which is
 18· ·on page 547 of the form and page 557 of the document
 19· ·number.· It shows a donation of $120,000 to a
 20· ·Catholic Archdiocese of Nassau Foundation in Coral
 21· ·Gables, Florida.· And actually, there is another
 22· ·donation, the next down, but it is only for about
 23· ·$10,000.· Why did this Archdiocese make a donation
 24· ·of almost $130,000 to a Florida foundation?
 25· ·FATHER CARR:

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 ·1· · · · I don't know.
 ·2· ·KATHLEEN ZUNIGA:
 ·3· · · · We do know.
 ·4· ·JEFFREY ENTWISLE:
 ·5· · · · That was a pass through donation.· It was
 ·6· ·collected here and then sent to them.
 ·7· ·KATHLEEN ZUNIGA:
 ·8· · · · For a disaster relief fund.
 ·9· ·JAMES STANG:
 10· · · · When you say pass through, was this a second
 11· ·collection?
 12· ·FATHER CARR:
 13· · · · Yes.
 14· ·JEFFREY ENTWISLE:
 15· · · · That's a good way to describe it.
 16· ·JAMES STANG:
 17· · · · Okay.· Let's see.· I would like you to go down
 18· ·to 9.145.· Why did the Archdiocese make a gift to
 19· ·the catholic cemetery of $68,000?
 20· ·FATHER CARR:
 21· · · · That was a land transfer.
 22· ·JAMES STANG:
 23· · · · And why did the Archdiocese transfer -- well,
 24· ·it was a land transfer.· How did you come up with a
 25· ·value of $67,841.07?

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 ·1· ·FATHER CARR:
 ·2· · · · I would have to look back and see how the
 ·3· ·valuation was determined.· But it was a transfer to
 ·4· ·St. Tammany Catholic Cemetery for the property where
 ·5· ·the third party is operating a cemetery and a
 ·6· ·funeral home.
 ·7· ·JAMES STANG:
 ·8· · · · And had that property been used by the cemetery
 ·9· ·for operations prior to the gift and prior to the
 10· ·transfer?
 11· ·FATHER CARR:
 12· · · · I don't remember the timing of when they got
 13· ·started, when they started operating.· No.
 14· ·JAMES STANG:
 15· · · · Okay.· This is a little tongue-in-cheek, but I
 16· ·want to find the appraiser who got a land value down
 17· ·to 7 cents.· Maybe that's the one you will be
 18· ·hiring.
 19· · · · Okay.· I would like you to scroll down to 10.2,
 20· ·please, which is -- these are losses.· Can you tell
 21· ·me what happened in this auto collision that
 22· ·occurred a $132,000 property loss?· Did somebody
 23· ·drive into a building?
 24· ·FATHER CARR:
 25· · · · I don't know the answer to that.

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 ·1· ·JAMES STANG:
 ·2· · · · Okay.· Well, it looks like you got paid most of
 ·3· ·it.· But that just struck me.· I see, 10.2, there is
 ·4· ·an address.· I don't know, is Howard Avenue building
 ·5· ·the address for the chancery?
 ·6· ·FATHER CARR:
 ·7· · · · No.
 ·8· ·JAMES STANG:
 ·9· · · · What operation occurs there?
 10· ·FATHER CARR:
 11· · · · We have a building located over there.
 12· ·JAMES STANG:
 13· · · · Yeah.· But what happens there?
 14· ·KATHLEEN ZUNIGA:
 15· · · · There are several offices within the
 16· ·administrative offices that are housed there.                            I
 17· ·know HR is housed there.· Other industries are
 18· ·housed there.
 19· ·JAMES STANG:
 20· · · · Do any entities, do any businesses unrelated to
 21· ·the Archdiocese, operate out of that property?
 22· ·FATHER CARR:
 23· · · · Yes.
 24· ·JAMES STANG:
 25· · · · And when I say Archdiocese, I'm using the term

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 ·1· ·in a very broad ecclesiastical sense.
 ·2· ·FATHER CARR:
 ·3· · · · Yes.
 ·4· ·KATHLEEN ZUNIGA:
 ·5· · · · No.· Wait a minute.
 ·6· ·FATHER CARR:
 ·7· · · · Wait.· I'm sorry.
 ·8· ·JAMES STANG:
 ·9· · · · In other words, like the foundation might be
 10· ·there --
 11· ·KATHLEEN ZUNIGA:
 12· · · · Mr. Stang, I want you to --
 13· ·MARK MINTZ:
 14· · · · Hold on one second, Mr. Stang.· Just not talk
 15· ·over.· I want you to ask the question again to
 16· ·Father Carr, because I'm not 100 percent sure he
 17· ·heard that point.· Because I think you were using
 18· ·the word Archdiocese very broad there, so I want to
 19· ·be --
 20· ·JAMES STANG:
 21· · · · Right.· I am using the term Archdiocese very
 22· ·broadly to include, for example, Catholic Charities
 23· ·or the foundation.· Are there any businesses
 24· ·unrelated to the Archdiocese --
 25· ·FATHER CARR:

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 ·1· · · · No.
 ·2· ·JAMES STANG:
 ·3· · · · -- at 1000 Howard Avenue?· Okay.· 10.2 says off
 ·4· ·and dir, which I assume means officer and director,
 ·5· ·hyphen LBI.· What does LBI stand for?
 ·6· ·KATHLEEN ZUNIGA:
 ·7· · · · Liability?
 ·8· ·MARK MINTZ:
 ·9· · · · Really?
 10· ·KATHLEEN ZUNIGA:
 11· · · · I don't know.· I don't know.· Director, LBI?                              I
 12· ·don't know.
 13· ·JAMES STANG:
 14· · · · Is this claim related to the payroll fraud
 15· ·claim that the Archdiocese has?
 16· ·FATHER CARR:
 17· · · · I'm not sure.
 18· ·JAMES STANG:· Okay.
 19· ·AMANDA GEORGE:
 20· · · · Mr. Stang, I am just coming in to let you know
 21· ·to start wrapping it up, because we are about to
 22· ·lose our audio recording.
 23· ·JAMES STANG:
 24· · · · Coming in?· You haven't been here the whole
 25· ·time?

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 ·1· ·AMANDA GEORGE:
 ·2· · · · Oh, I've been here.
 ·3· ·JAMES STANG:
 ·4· · · · I am actually just about done.
 ·5· ·AMANDA GEORGE:
 ·6· · · · Thank you.
 ·7· ·JAMES STANG:
 ·8· · · · Just scroll down -- I only have two or three
 ·9· ·more questions.
 10· ·AMANDA GEORGE:
 11· · · · Great.
 12· ·JAMES STANG:
 13· · · · Section 19, does the Archdiocese maintain a
 14· ·safe on any of its premises?· Be it the Howard
 15· ·Avenue or the chancery, is there a safe with a
 16· ·combination lock on it?
 17· ·FATHER CARR:
 18· · · · Yes.
 19· ·JAMES STANG:
 20· · · · And do those safes contain anything other than
 21· ·files related to Canon 489, which is -- I assume,
 22· ·Father Carr, do you know what I mean, what I'm
 23· ·referring to when I say Canon 489?
 24· ·FATHER CARR:
 25· · · · I do not.

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 ·1· ·JAMES STANG:
 ·2· · · · Canon 489 provides that the Bishop shall
 ·3· ·maintain control over any documents that -- and
 ·4· ·these are my words it -- relate to scandal.· Some
 ·5· ·people refer to these as perpetrator files or abuse
 ·6· ·files.· They are not exclusively that, but those
 ·7· ·files would certainly fall under the protections of
 ·8· ·Canon 489.
 ·9· · · · So do these safes contain any documents that
 10· ·would be protected under Canon 489?
 11· ·FATHER CARR:
 12· · · · I don't know.
 13· ·JAMES STANG:
 14· · · · What is in the safes at these premises?
 15· ·FATHER CARR:
 16· · · · Again, I don't know what's in there.
 17· ·JAMES STANG:
 18· · · · Does the diocese maintain an inventory of the
 19· ·contents of the safes?
 20· ·FATHER CARR:
 21· · · · Not to the best of my knowledge.
 22· ·JAMES STANG:
 23· · · · Would that be something that would fall within
 24· ·the province of the archdiocesan archivist?
 25· ·FATHER CARR:

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 ·1· · · · I'm not sure.
 ·2· ·JAMES STANG:
 ·3· · · · Okay.· Does the Bishop maintain any locked
 ·4· ·files or drawers that are under his exclusive
 ·5· ·control?
 ·6· ·FATHER CARR:
 ·7· · · · I don't know the answer to that.
 ·8· ·JAMES STANG:
 ·9· · · · Father Carr, do you maintain any locked
 10· ·cabinets that are under your exclusive control?
 11· ·FATHER CARR:
 12· · · · No.
 13· ·JAMES STANG:
 14· · · · Okay.· And then, just one more category and
 15· ·then I am done.· And I appreciate everyone's
 16· ·patience today.
 17· · · · I am looking at section 21, I will specifically
 18· ·say 21.45.· This is on page 597 of 656.· There are
 19· ·entries here for Catholic Community Foundation, and
 20· ·they go on from 21.42 through 21.123.· There are
 21· ·over 80 injuries.· At just a glance, they are all
 22· ·for portfolio a.· Why is there a separate listing of
 23· ·the statement of financial affairs for the Catholic
 24· ·Community Foundation for these specific amounts?                             I
 25· ·mean, why are they being reported that way?

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 ·1· ·KATHLEEN ZUNIGA:
 ·2· · · · So the Catholic -- the donations, these are
 ·3· ·funds that were set up at the Catholic Community
 ·4· ·Foundation.· Many of them have custodial funds or
 ·5· ·endowment funds by agencies or third parties that
 ·6· ·they put on deposit with the Catholic Community
 ·7· ·Foundation.· The Catholic Community Foundation then
 ·8· ·took those funds and invested them in portfolio a.
 ·9· ·JAMES STANG:
 10· · · · Okay.· So somewhere in the books and records of
 11· ·the foundation, I would see in effect the
 12· ·parenthetical that would identify who the donor was?
 13· ·KATHLEEN ZUNIGA:
 14· · · · Yes.
 15· ·JAMES STANG:
 16· · · · Okay.· Those are all of the questions that I
 17· ·have on the debtor's statements and schedules as
 18· ·filed, and I appreciate the time US Trustees
 19· ·afforded the committee to ask these questions.
 20· ·AMANDA GEORGE:
 21· · · · Thank you so much, Mr. Stang.· As I said
 22· ·earlier, what I'm going to do is, probably sometime
 23· ·later today or over the weekend, I will file a
 24· ·proceeding memo detailing some of the items that the
 25· ·US Trustees still needs and some of the amendments

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 ·1· ·that we discussed.· So just be on the lookout for
 ·2· ·that.· Otherwise, we can conclude our meeting of
 ·3· ·creditors.
 ·4· ·JAMES STANG:
 ·5· · · · Ms. George, can I interrupt for a second?
 ·6· ·AMANDA GEORGE:
 ·7· · · · Yes.
 ·8· ·JAMES STANG:
 ·9· · · · I apologize to you, but someone e-mailed me
 10· ·something and it pertains to what you were just
 11· ·saying.
 12· · · · I expect, because I have spoken with Mr. Mintz,
 13· ·that we are going to have a flow of information
 14· ·between the committee in the Archdiocese.· And
 15· ·today's questions should not reflect anything other
 16· ·than the fact that it gives us an opportunity.
 17· ·Mr. Mintz says, and he said today and he said in a
 18· ·phone call, that he expects to have good
 19· ·communications with us, and we hope the same is true
 20· ·from the committee to the Archdiocese.
 21· · · · But if the schedules are going to get amended,
 22· ·I would ask that the US Trustee put this into a
 23· ·holding date and, if we are able to get
 24· ·clarifications from the Archdiocese for whatever is
 25· ·going to be amended, we would give as much notice as

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 ·1· ·possible to the US Trustee the fact that we don't
 ·2· ·need the hearing to be -- the meeting to be
 ·3· ·convened, at least not with any questions coming
 ·4· ·from the committee.· But if these are going to get
 ·5· ·amended and we don't have another meeting to ask
 ·6· ·questions if we don't otherwise have answers, I
 ·7· ·don't think that's a good result.· But it is your
 ·8· ·meeting.· Obviously, I will leave it to you.
 ·9· ·AMANDA GEORGE:
 10· · · · What I will do, Mr. Stang, is chat with our US
 11· ·Trustee and we will make a determination on that
 12· ·front.· But I can't give you a response right this
 13· ·moment.
 14· ·JAMES STANG:
 15· · · · Okay.· Thank you for considering.
 16· ·AMANDA GEORGE:
 17· · · · Sure.· And if there is anybody still on the
 18· ·line that would like a copy of the audio recording,
 19· ·again, please call me at (504)589-4092, or e-mail me
 20· ·at Amanda.B.George@US DOJ.gov.· I would like to
 21· ·thank all of the parties for your participation
 22· ·today.· I think you for your patience and endurance.
 23· ·Thank you very much.· That does conclude our meeting
 24· ·of creditors.
 25· · · · · · · · ·(Meeting is concluded.)

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 ·1· · · · · · · · · · ·REPORTER'S PAGE
 ·2· · · · · · ·I, Lesley H. Crochet, Certified Court
 ·3· ·Reporter No. 20079, in and for the State of
 ·4· ·Louisiana, the officer, as defined in Rule 28 of the
 ·5· ·Federal Rules of Civil Procedure and/or Article
 ·6· ·1434(B) of the Louisiana Code of Civil Procedure,
 ·7· ·before whom this proceeding was taken, do hereby
 ·8· ·state on the Record:
 ·9· · · · · · ·That due to the interaction in the
 10· ·spontaneous discourse of this proceeding, dashes
 11· ·(--) have been used to indicate pauses, changes in
 12· ·thought, and/or talkovers; that same is the proper
 13· ·method for a Court Reporter's transcription of
 14· ·proceeding, and that the dashes (--) do not indicate
 15· ·that words or phrases have been left out of this
 16· ·transcript;
 17· · · · · · ·That any words and/or names which could
 18· ·not be verified through reference material have been
 19· ·denoted with the phrase "(spelled phonetically)."
 20
 21
 22
 23· · · · · · · · · · · ·________________________________
 24· · · · · · · · · · · ·Lesley H. Crochet, CCR No. 20079
 25

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 ·1· · · · · · · ·COURT REPORTER'S CERTIFICATE
 ·2· · I, Lesley Harris Crochet, certified court reporter
 ·3· ·in and for the State of Louisiana, do hereby certify
 ·4· ·that the foregoing 227 page transcript of the 341
 ·5· ·hearing of The Roman Catholic Church of the
 ·6· ·Archdiocese of New Orleans, held on May 29, 2020,
 ·7· ·was prepared and transcribed by me and it is a true
 ·8· ·and correct transcript to the best of my ability and
 ·9· ·understanding; that the transcript has been prepared
 10· ·in compliance with transcript format guidelines
 11· ·required by statute or by rules of the board, that I
 12· ·am informed about the complete arrangement,
 13· ·financial or otherwise, with the person or entity
 14· ·making arrangements for deposition services; that I
 15· ·have acted in compliance with the prohibition on
 16· ·contractual relationships, as defined by Louisiana
 17· ·Code of Civil Procedure Article 1434 and in rules
 18· ·and advisory opinions of the board; that I have no
 19· ·actual knowledge of any prohibited employment or
 20· ·contractual relationship, direct or indirect,
 21· ·between a court reporting firm and any party
 22· ·litigant in this matter nor is there any such
 23· ·relationship between myself and a party litigant in
 24· ·this matter.· I am not related to counsel or to the
 25· ·parties herein, nor am I otherwise interested in the

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 ·1· ·outcome of this matter.
 ·2· · · · · · ·WITNESS my hand and official seal this 7th
 ·3· ·day of June, 2020.
 ·4
 ·5
 ·6· · · · · · · · · · · ·____________________________
 ·7· · · · · · · · · · · ·Lesley H. Crochet, CCR
 ·8· · · · · · · · · · · ·Louisiana License No. 20079
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